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   1                        UNITED STATES DISTRICT COURT

   2                       CENTRAL DISTRICT OF CALIFORNIA

   3                                       ---

   4           HONORABLE FERNANDO L. AENLLE-ROCHA, JUDGE PRESIDING

   5                                       ---

   6

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   8     PAVEL FUKS,                     )
                                         )
   9                                     )
                                         )
  10                      Plaintiff,     )
                                         ) CV NO. 19-1212
  11               VS                    )
                                         )
  12     YURI VANETIK,                   )
                                         )
  13                                     )
                           Defendant.    )
  14     ________________________________)

  15

  16                    Reporter's Transcript of Proceedings
                               COURT TRIAL - DAY TWO
  17                          Los Angeles, California
                           WEDNESDAY, SEPTEMBER 22, 2021
  18                                  8:00 A.M.

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                           ANNE KIELWASSER, CRR, RPR, CSR
  24                       Federal Official Court Reporter
                            UNITED STATES DISTRICT COURT
  25                       CENTRAL DISTRICT OF CALIFORNIA
                              anne.kielwasser@gmail.com
Case 8:19-cv-01212-FLA-JDE Document 91 Filed 11/02/21 Page 2 of 180 Page ID #:531

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            1   WEDNESDAY, SEPTEMBER 22, 2021                            8:00 A.M.

            2                                   ~ ~ ~

            3                          COURT TRIAL - DAY TWO

13:37:48    4                                   ~ ~ ~

08:10:54    5                 COURT CLERK:    Calling SA CV 19-1212.     Pavel Fuks

08:11:05    6   versus Yuri Vanetik.

08:11:07    7                      Counsel, please state your appearances for

08:11:13    8   the record.

08:11:13    9                 MR. LOMAS:   Good morning, Your Honor.      John Lomas,

08:11:17   10   and Joseph Ashby on behalf of plaintiff.

08:11:19   11                 MR. HAMILTON:   Good morning, Your Honor.       John

08:11:23   12   Hamilton on behalf of Yuri Vanetik.

08:11:27   13                 THE COURT:   Good morning, everyone.

08:11:27   14                      I appreciate the flexibility with respect to

08:11:27   15   the schedules.     We're ready to resume the trial.       Parties and

08:11:31   16   counsel are present.

08:11:32   17                      I see Mr. Fuks is essentially back on the

08:11:37   18   witness stand via remote technology.        The interpreter is

08:11:39   19   here.   So, we're ready to continue, and we can resume with

08:11:43   20   cross-examination.

08:11:47   21                      Mr. Hamilton.

08:11:50   22                 MR. HAMILTON:   Yes, Your Honor, thank you.

08:11:53   23                 WITNESS, PAVEL FUKS, PREVIOUSLY SWORN

08:11:53   24                       CROSS-EXAMINATION (RESUMED)

08:11:53   25   BY MR. HAMILTON:
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                                                                                      5


08:11:57    1   Q.       Good evening, Mr. Fuks, and thank you again for

08:12:01    2   appearing or staying up late to provide testimony for us

08:12:05    3   today.

08:12:15    4   A.       Good evening.    Of course.

08:12:18    5   Q.       Yesterday I was showing you Exhibit 13, and I'm going

08:12:21    6   to push that back up on the screen for you now.

08:12:35    7                      Do you see where Mr. Vanetik is talking about

08:12:41    8   an engagement contract in that text message?

08:12:52    9   A.       What is "engagement" exactly?

08:13:06   10   Q.       Do you remember speaking on March 20, 2016 with Mr.

08:13:12   11   Vanetik regarding any kind of contract?

08:13:23   12                THE INTERPRETER:     I'm sorry, what was the date

08:13:25   13   again?

08:13:25   14                MR. HAMILTON:    March 20, 2016.

08:13:37   15                THE PLAINTIFF:    No, I was only talking about

08:13:43   16   e-mails, and I was supposed to connect him with Gennady's

08:13:49   17   assistant, Olga.

08:13:51   18   BY MR. HAMILTON:

08:13:51   19   Q.       And why were you supposed to connect him with

08:13:56   20   Gennady's assistant, Olga?

08:14:00   21   A.       Because Gennady Kernes, being the mayor, he had no

08:14:20   22   time for it, and so I connected him with Olga, and they

08:14:25   23   confirmed that they had received the e-mail.

08:14:27   24   Q.       And do you have any understanding what Mr. Vanetik and

08:14:31   25   Olga were supposed to discuss?
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                                                                                       6


08:14:41    1   A.      No.

08:14:44    2   Q.      Did you meet with Mr. Vanetik in Rome at some time?

08:14:58    3   A.      I believe that I did.      Although I do not recall

08:15:06    4   accurately, but possibly I did.

08:15:10    5   Q.      Do you have any remembrance what the purpose of -- for

08:15:15    6   meeting Mr. Vanetik in Rome?

08:15:29    7   A.      We simply spoke, exchanged information.         Nothing very

08:15:35    8   important.    He happened to have some time before he flew out,

08:15:40    9   and so did I.    So we met and spoke.

08:15:44   10   Q.      Isn't it accurate that you met Mr. Vanetik in Rome to

08:15:47   11   discuss the contract, which is referenced in Exhibit 13

08:15:52   12   that's on your screen?

08:15:58   13   A.      No, I have never discussed any contract with Mr.

08:16:15   14   Vanetik other than purchase of tickets.

08:16:18   15   Q.      Did you discuss any other business with Mr. Vanetik

08:16:22   16   when you met him in Rome?

08:16:26   17   A.      No.

08:16:33   18   Q.      Was attending the 2017 presidential inaugural

08:16:45   19   important to you?

08:16:55   20   A.      Well, I wanted, of course, to see it, being such an

08:17:02   21   important event.

08:17:03   22   Q.      When did you first speak with Mr. Vanetik regarding

08:17:08   23   the 2017 inauguration?

08:17:12   24   A.      I do not recall exactly when.

08:17:22   25   Q.      Do you know what you first discussed with Mr. Vanetik
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                                                                                        7


08:17:27    1   regarding the 2017 inauguration?

08:17:31    2   A.      No.

08:17:42    3   Q.      You would agree with me there is no written agreement

08:17:45    4   between you and Mr. Vanetik regarding your attendance at the

08:17:51    5   2017 inauguration; is that correct?

08:18:17    6   A.      No.   The reason there is some -- only our

08:18:20    7   correspondence on WhatsApp and also the fact that I

08:18:24    8   transferred the money and that we have discussed what the

08:18:28    9   money was for.

08:18:48   10                      And I want to once again reiterate that Mr.

08:18:52   11   Vanetik told me, that the funds had to be transferred for

08:18:56   12   some type of a service because the tickets to the inaugural

08:19:02   13   events actually are not sold but Mr. Vanetik's friends,

08:19:06   14   various congressmen, et cetera, would give them to him.           And

08:19:10   15   that's it.

08:19:11   16   Q.      Isn't it accurate that you did not pay Mr. Vanetik

08:19:16   17   personally for anything related to the inauguration?

08:19:21   18   A.      Payment was made by a company belonging to me.          I, as

08:19:46   19   the physical person, did not make the payment, but it was

08:19:50   20   made by my company.

08:19:51   21   Q.      And isn't it accurate that Mr. Vanetik never promised

08:19:56   22   you that you'd meet Donald Trump at the 2017 inauguration?

08:20:16   23   A.      No, not meeting as such but taking -- having a picture

08:20:38   24   taken was discussed for which Mr. Vanetik requested an

08:20:43   25   additional $350,000, and I said no, it's not necessary, he'll
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                                                                                      8


08:20:48    1   be there at the inauguration, and that will be good enough.

08:20:55    2   Q.      And isn't it also accurate that Mr. Vanetik advised

08:21:00    3   you that you cannot attend certain inaugural events because

08:21:06    4   you're a foreigner?

08:21:22    5   A.      No.   I do not recall such a thing.

08:21:31    6   Q.      I'm going to have you look at Exhibit 9 now.

08:21:51    7   A.      I don't see anything.      Now I do.

08:22:17    8   Q.      Mr. Fuks, can you read what's on your screen?

08:22:24    9   A.      Maybe ask the interpreter.

08:22:32   10   Q.      Okay.   Did --

08:22:36   11                      Have you ever seen this document before, Mr.

08:22:43   12   Fuks?

08:22:43   13   A.      I do not recall.

08:22:45   14   Q.      Did Mr. Vanetik ever send you any kind of program of

08:22:53   15   the events you were scheduled to attend?

08:22:57   16   A.      I do not believe so.

08:23:09   17   Q.      And looking at Exhibit 9, isn't it accurate that Mr.

08:23:14   18   Vanetik e-mailed this to you?

08:23:30   19   A.      I do not recall.     I would have to see the specific

08:24:06   20   e-mail, but I was only interested in the events on the 19th.

08:24:12   21   These other things were extras that Mr. Vanetik had offered,

08:24:16   22   and I was not interested in them.

08:24:19   23   Q.      Did you ever tell Mr. Vanetik you were not interested

08:24:23   24   in them?

08:24:26   25   A.      Of course.
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                                                                                      9


08:24:32    1   Q.      Okay, and what was your --

08:24:38    2   A.      He had asked me to come earlier, but I had told him

08:24:44    3   that I can't, and I would only be there on the 19th.           And

08:24:55    4   those events that I actually was interested in were all on

08:25:00    5   the 19th, the 20th, the 21st and the 22nd.

08:25:05    6   Q.      And can you describe to us what events you were

08:25:08    7   interested in during those dates?

08:25:26    8   A.      Well, we have --

08:25:34    9                      Well, the reason our correspondence, wherein

08:25:39   10   all of those things are mentioned, but the first thing that

08:25:42   11   was discussed was the cabinet ball concerning which Mr.

08:25:47   12   Vanetik said that we got screwed.

08:25:50   13   Q.      Anything else?

08:25:52   14   A.      Well, then there was the red carpet event, the

08:26:15   15   inauguration, itself, the fireworks and the --

08:26:22   16                      There is our correspondence, and I already

08:26:25   17   testified to this.

08:26:27   18   Q.      Do you remember attending an event at the Carpenters'

08:26:32   19   Union building?

08:27:16   20   A.      There was that event.      There is the event that I

08:27:35   21   mentioned before where Vanetik took us into an office

08:27:47   22   building, and then there was the event with the people from

08:27:51   23   Texas, and there was the third time of the Trump Hotel where

08:27:55   24   we simply looked at the view.       And --

08:27:58   25                      But, maybe, if you could tell me specifically
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                                                                                     10


08:28:00    1   what this e-mail was, maybe I could say something.          What

08:28:07    2   was -- what building was this?       Was this where the people

08:28:18    3   from Texas were, or was this where we took pictures?

08:28:21    4   Q.      It was the Carpenters' Union building in which you

08:28:25    5   could have viewed the President's swearing in.

08:28:42    6   A.      Yes, we took pictures there after the event was

08:28:53    7   actually over, even the chairs that people had sat on had

08:28:58    8   been removed.

08:29:01    9   Q.      What made you unhappy with that event?

08:29:50   10   A.      I was not satisfied by the fact that this wasn't

08:29:53   11   really an event.    This was the remainder of the aftermath of

08:29:59   12   an event.   We were walking among cleaning ladies cleaning up

08:30:03   13   after it.   It seemed more like a small excursion to go up on

08:30:20   14   a balcony and look at the Capital.

08:30:22   15   Q.      Where did you allege you actually watched President

08:30:26   16   Trump's swearing-in from?

08:30:42   17   A.      From the bar of the hotel.

08:30:44   18   Q.      Which hotel?

08:30:45   19   A.      The one that I was living at [SIC], D.C., maybe?           No,

08:30:58   20   I don't really remember where it was.

08:31:00   21   Q.      What hotel were you staying at for the inauguration?

08:31:13   22   A.      I don't recall the name of it.       If it's important, I

08:31:17   23   could call my assistant and find out.

08:31:20   24   Q.      Was it the Mandarin Oriental?

08:31:29   25   A.      I do not recall.
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                                                                                     11


08:31:36    1   Q.      Mr. Fuks, did you bring anyone with you to Washington,

08:31:40    2   D.C. for the inauguration?

08:31:51    3   A.      Yes, I came with a friend of mine.

08:31:53    4   Q.      What's his name?

08:31:59    5   A.      Vitaliy -- K-H-O-M-O --

08:32:24    6                       K-H-O-M --

08:32:35    7                       It was contained actually in my

08:32:41    8   correspondence with Mr. Vanetik so you could look it up.

08:32:45    9               THE COURT:     Can we just get a spelling of the

08:32:48   10   name?

08:32:50   11               THE INTERPRETER:     K-H-O-M-U-T-E-M-M-E-K.

08:33:18   12                       K-H-O-M-U-T-I-N-N-I-K.

08:33:29   13               THE WITNESS:     Yes.

08:33:30   14   BY MR. HAMILTON:

08:33:30   15   Q.      Did Mr. Khomutinnik bring anyone else with him?

08:33:43   16   A.      Yes, he had his wife with him, she also had some

08:33:48   17   business she came for apparently.

08:33:50   18   Q.      What's her name?

08:33:53   19   A.      Svitlana.

08:33:55   20   Q.      And who was Mr. Khomutinnik?

08:34:14   21   A.      Mr. Khomutinnik, he was a businessman.        He was a

08:34:18   22   people's deputy at one time, now he's a businessman.

08:34:20   23   Q.      And at the time of the inauguration, was he -- did he

08:34:24   24   play any role in the Ukrainian government?

08:34:50   25   A.      No, he was invited to the inauguration.        There was a
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                                                                                      12


08:34:54    1   meeting at some hotel where there were other representatives

08:34:57    2   from the Ukraine and where they met with Mr. Trump.          But it

08:35:11    3   wasn't a government delegation, it was a group in which he

08:35:15    4   was included.

08:35:16    5   Q.      And was the VIP program that Mr. Vanetik was supposed

08:35:25    6   to create, was that also for Mr. Khomutinnik?

08:35:46    7   A.      Yes, I got two tickets for myself and for him.         He

08:36:01    8   simply invited me.     He took me there in his plane, and I said

08:36:07    9   I would get the invitation.

08:36:10   10   Q.      You flew to Washington, D.C. on Mr. Khomutinnik's

08:36:16   11   private plane, right?

08:36:21   12   A.      Yes.

08:36:22   13   Q.      Did Mr. Khomutinnik pay you for setting up the program

08:36:27   14   with Mr. Vanetik?

08:36:35   15   A.      Me?    No.

08:36:37   16   Q.      Isn't it accurate that Mr. Vanetik had to pay certain

08:36:46   17   third parties to set up the program for you?

08:36:50   18   A.      I do not know.

08:37:02   19   Q.      Do you know if the events that you attended cost money

08:37:05   20   to attend?

08:37:15   21   A.      What events?

08:37:18   22   Q.      I believe you talked about the Texas event and another

08:37:22   23   event where you claim people -- the maids were cleaning up

08:37:27   24   afterwards.    Those two events, do you know if they cost money

08:37:32   25   to attend those?
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                                                                                    13


08:37:34    1   A.      I do not know.

08:37:48    2   Q.      Isn't it accurate that you left after one day?

08:37:58    3   A.      I -- just a moment.     The one with the Texans, I

08:38:16    4   checked later, and there were -- the tickets for that were

08:38:19    5   being sold, and I believe it might have been either 1000 or

08:38:24    6   maybe 1500, but that is not precise.        I don't have an

08:38:31    7   accurate recollection.

08:38:36    8   Q.      Isn't it accurate that you left after one day in

08:38:39    9   Washington, D.C.?

08:38:46   10   A.      I don't recall the exact date.

08:38:49   11   Q.      Okay.   How many days did you stay in Washington, D.C.?

08:38:57   12   A.      I believe I stayed for two or three days because

08:39:19   13   throughout that time Yuri was promising that things would

08:39:24   14   change and that we would end up attending events, but then I

08:39:30   15   realized that it was all fraudulent, and I left.

08:39:32   16   Q.      Did you have any discussions with Mr. Vanetik during

08:39:50   17   that time?

08:39:50   18   A.      We did communicate somewhat.       There were times when he

08:39:54   19   was not picking up his phone.       There are other times when he

08:39:58   20   did pick it up.    So, we did communicate, yes.

08:40:02   21   Q.      Were there any events left on the program after you

08:40:06   22   left Washington, D.C.?

08:40:23   23   A.      None of the events promised by Mr. Vanetik had

08:40:30   24   remained.

08:40:32   25   Q.      When you left Washington, D.C., you took
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                                                                                    14


08:40:38    1   Mr. Khomutinnik's private plane and went skiing in Aspen; is

08:40:56    2   that correct?

08:40:56    3   A.      Yes, he offered me this trip to Aspen for a few days

08:41:06    4   although I intended to go to New York, so, I went.

08:41:10    5   Q.      How many days did you stay in Aspen?

08:41:14    6   A.      I do not recall.

08:41:19    7   Q.      More than a week?

08:41:21    8   A.      No, no.

08:41:24    9   Q.      And after Aspen, where did you go next?

08:41:31   10   A.      I don't remember.

08:41:35   11   Q.      At any other times when you had conversations with Mr.

08:41:42   12   Vanetik in Washington, D.C., did you make any threats against

08:41:45   13   him?

08:41:59   14   A.      I don't remember.     I could have said some things when

08:42:13   15   I was simply angry, but no such thing as a threat.

08:42:18   16   Q.      You didn't tell Mr. Vanetik that you would have him

08:42:21   17   killed, during a discussion in Washington, D.C.?

08:42:34   18   A.      I have never said such things, ever.

08:42:40   19   Q.      And how did you leave it with Mr. Vanetik when you

08:42:48   20   left Washington, D.C.?

08:43:00   21   A.      Yuri apologized saying "I got screwed.        I will

08:43:15   22   straighten things out, and you will get your money back."

08:43:22   23   That's it.   Yes.   And after that I was the whole time waiting

08:43:28   24   and waiting and waiting.      And so I said to Yuri:      Please give

08:43:50   25   me the contacts of the people that you dealt with and we paid
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                                                                                    15


08:43:55    1   them money to, and I will deal with them with my attorneys,

08:43:59    2   and he said, yes, great idea, I will do that, but he never

08:44:04    3   did.

08:44:07    4   Q.      Mr. Fuks do you know an individual named, first name

08:44:13    5   Sayhan Agaev?    And I'll spell it for you.      First name

08:44:15    6   S-A-Y-H-A-N, last name A-G-I-V-E [SIC].

08:44:21    7   A.      No.

08:44:26    8   Q.      Do you know anybody from Chechnya named Sayhan who's

08:44:37    9   related or had some connection to Yuri Vanetik?

08:44:48   10   A.      No.

08:45:08   11   Q.      Mr. Fuks, isn't it true that the Ukrainian government

08:45:15   12   recently issued sanctions against you, freezing all your

08:45:17   13   personal and corporate assets?

08:45:32   14   A.      They did sanction me, yes, that's true.

08:45:36   15   Q.      And isn't it also accurate that Russia has an arrest

08:45:43   16   warrant out for you?

08:45:46   17   A.      No.   The Court revoked it.

08:45:54   18   Q.      At one time there was?

08:45:56   19   A.      At a certain moment, yes.      It did exist.    There was a

08:46:45   20   moment when I was on the list in 2018 of 100 top Ukraine

08:46:51   21   businessman and politicians, and the Russian government

08:46:56   22   sanctioned all of them, and they also dug up two old criminal

08:47:02   23   cases and tried to prosecute me, but the Court demonstrated

08:47:06   24   that it was all fake.

08:47:19   25                     I ended up on the same list with all the
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08:47:23    1   members of the Ukrainian government with the Prime Minister,

08:47:28    2   with the internal security people, all the people in the

08:47:32    3   government.     So, for me it was actually an honor.

08:47:42    4   Q.      Were you ever denied entry into Mexico?

08:47:49    5   A.      Yes.    Because I have not obtained a visa.       I have been

08:48:15    6   told before that when they didn't need a visa, but it turned

08:48:21    7   out that one had to fill out one electronically, and I did

08:48:25    8   not do that.

08:48:26    9   Q.      Your complaint alleges that you watched the inaugural

08:48:30   10   in a lobby of a hotel, but you don't know the name of the

08:48:34   11   hotel; is that correct?

08:48:47   12   A.      I don't -- I -- I don't recall it, but I will notify

08:48:55   13   my attorney of it.     But after my testimony, I will call and

08:49:02   14   ask my assistant.     I was in Washington just one time, and

08:49:21   15   that's why I don't recall.      If you had asked me about New

08:49:25   16   York, I would certainly be able to tell you what hotels I

08:49:30   17   stayed in.

08:49:32   18                  MR. HAMILTON:   Move to strike, Your Honor,

08:49:34   19   nonresponsive.

08:49:36   20                  THE COURT:   Give me a moment.   Hold on, Counsel.

08:49:43   21                       What is it you're moving to strike?

08:49:45   22                  MR. HAMILTON:   Well, just the language about if

08:49:48   23   you asked me about visiting New York.

08:49:50   24                  THE COURT:   Okay, all right.    That motion is --

08:49:52   25   the objection is sustained, and the motion to strike the one
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08:49:56    1   sentence about New York is stricken, is granted and stricken.

08:50:15    2   BY MR. HAMILTON:

08:50:15    3   Q.      Mr. Fuks, have you ever heard of a business called BTA

08:50:26    4   Bank?

08:50:26    5   A.      I have heard of this bank, of course.

08:50:31    6   Q.      Does that bank, BTA Bank, have a fraud judgment

08:50:36    7   against you in the sum of €52 million.

08:50:51    8   A.      No, I won the Court case, and we signed mutual

08:50:59    9   agreement.     We did have a court case with them, but we came

08:51:09   10   to a mutual agreement.

08:51:16   11                  MR. HAMILTON:   Your Honor, I have no further

08:51:18   12   questions of this witness.

08:51:19   13                  THE COURT:   All right.   Redirect?

08:51:45   14                           REDIRECT EXAMINATION

08:51:45   15   BY MR. LOMAS:

08:51:49   16   Q.      Good evening, Mr. Fuks.

08:51:51   17                       You mentioned watching the inauguration from

08:51:54   18   the bar of a hotel.     Was that the hotel that you were staying

08:51:58   19   at while you were in Washington, D.C.?

08:52:10   20   A.      Yes.

08:52:10   21   Q.      Counsel for the defendant asked you -- do you recall

08:52:17   22   he asked you about threats, and your response was you might

08:52:20   23   have said some things in anger to Mr. Vanetik.

08:52:24   24                       Why would -- why would you be --

08:52:25   25                       What were you angry about at the time?
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08:52:46    1   A.      Well, after we got wet basically for nothing, we were

08:53:07    2   turned around at the first checkpoint, I'm sure I might have

08:53:11    3   said something like:     Yuri, what an asshole you are, you

08:53:15    4   really screwed us.     Or something like that.

08:53:19    5   Q.      When you said you got wet, was that --

08:53:21    6                     Why did you get wet?

08:53:27    7   A.      It was raining.

08:53:29    8   Q.      And you were -- why were you out in the rain?

08:53:48    9   A.      Because Yuri had told us to go on foot.        He said the

08:53:52   10   congressmen's car is busy right now, you might have to wait

08:53:57   11   too long.

08:53:57   12   Q.      Were you supposed to get a ride that day to the

08:54:00   13   inauguration event?

08:54:21   14   A.      Yes, a car was supposed to pick us up.        I don't recall

08:54:25   15   exactly whether it was 8:00 or 9:00 a.m., they were supposed

08:54:28   16   to take us there, and we would remain there with others until

08:54:31   17   the inauguration.

08:54:32   18   Q.      And was it Mr. Vanetik who was supposed to arrange for

08:54:37   19   the car to pick you up and take you?

08:54:40   20   A.      Yes, of course.

08:54:44   21   Q.      Prior to paying Mr. Vanetik the $200,000 for the

08:54:53   22   inauguration event tickets, did Mr. Vanetik ever tell you

08:54:56   23   that you would not be able to attend any of the events,

08:54:59   24   particular events?

08:55:15   25   A.      No.
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08:55:15    1   Q.      Prior to you leaving for Washington, D.C. to attend

08:55:19    2   the inauguration, did Mr. Vanetik ever tell you that you

08:55:23    3   would not be able to go to any of the events that you had

08:55:27    4   purchased tickets to?

08:55:44    5   A.      No.

08:55:45    6   Q.      And prior to leaving for Washington, D.C. to attend

08:55:48    7   the inauguration, did Mr. Vanetik ever tell you that you

08:55:51    8   would not be able to attend any particular event?

08:55:55    9   A.      No.

08:56:06   10   Q.      When you were first discussing inauguration events and

08:56:14   11   tickets with Mr. Vanetik, did you rely on the information

08:56:18   12   that Mr. Vanetik told you?

08:56:20   13   A.      Well, he -- because he had told us that he was friends

08:57:05   14   with the Bush family, that he knew various senators.          He sent

08:57:09   15   us lots and lots of photographs.       So we understood later

08:57:12   16   these were just photos at various inauguration events that

08:57:18   17   anyone could have taken.

08:57:19   18   Q.      So, based on what he told you about his relationship

08:57:24   19   with the Bush family and these photographs, did you

08:57:27   20   understand Mr. Fuks [SIC] to have knowledge about

08:57:31   21   inauguration events and tickets?

08:57:35   22                 THE COURT:   You said "Mr. Fuks."

08:57:38   23                 MR. LOMAS:   I'm sorry, strike that.     I'll reask

08:57:41   24   the question.

08:57:42   25   BY MR. LOMAS:
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08:57:43    1   Q.        Based on this information that you were just

08:57:45    2   describing about the relationship between Mr. Vanetik and the

08:57:49    3   Bush family and these photographs of Mr. Vanetik, did you

08:57:52    4   understand or believe Mr. Vanetik had knowledge about

08:57:58    5   inauguration events and tickets?

08:58:02    6   A.        Yes, that's exactly right.

08:58:27    7   Q.        And then did you rely on the information that Mr.

08:58:32    8   Vanetik provided you when you decided to buy the inauguration

08:58:36    9   event tickets?

08:58:48   10   A.        Yes.

08:58:48   11   Q.        Were you relying on Mr. Vanetik to provide you further

08:58:53   12   details and information about this schedule?

08:59:06   13   A.        Yes.

08:59:06   14   Q.        Were you relying on Mr. Vanetik to provide -- excuse

08:59:11   15   me -- strike that.

08:59:13   16                         Were you relying on Mr. Vanetik to provide

08:59:15   17   you information about where to go and when for these events?

08:59:32   18   A.        Of course.    That was his responsibility.    For this he

08:59:40   19   charged the money.

08:59:46   20   Q.        We talked before about the $200,000 payment.       The

08:59:51   21   $200,000 that was wired from a BEM Global account to an

08:59:56   22   Odyssey Management account, was that payment made on behalf

08:59:59   23   of you?

09:00:14   24                    THE INTERPRETER:   I'm sorry, what was the question

09:00:16   25   again?
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                                                                                    21


09:00:18    1   BY MR. LOMAS:

09:00:18    2   Q.      Was the payment that was wired from a BEM account to

09:00:22    3   an Odyssey Management account made on behalf of you?

09:00:26    4   A.      Of course.

09:00:29    5   Q.      And was that payment being made to Mr. Vanetik?

09:00:39    6   A.      Yes, Mr. Vanetik offered this company that this was to

09:00:54    7   whom to pay the money.

09:00:56    8   Q.      Mr. Fuks, did you arrive in Washington, D.C. the day

09:01:05    9   before the Trump inauguration?

09:01:14   10   A.      Yes, we came, I believe, on the 19th, probably during

09:01:26   11   the daytime, because in the evening we was supposed to be at

09:01:29   12   that cabinet ball or whatever it was called.

09:01:31   13   Q.      And was that the same day that you attended the Texas

09:01:37   14   Boots event?

09:01:44   15   A.      I believe so.       He shoved some tickets at us and said,

09:01:55   16   yes, go there.

09:02:14   17                  (Discussion off the record.)

09:02:18   18                  MR. LOMAS:    Excuse me one moment.

09:02:19   19   BY MR. LOMAS:

09:02:45   20   Q.      Okay, Mr. Fuks, do you see what's been marked as

09:02:49   21   Exhibit 9 on the screen?

09:02:55   22   A.      Yes.

09:02:55   23   Q.      Okay.    This is --

09:02:57   24                       Well, actually -- strike that.

09:03:00   25                       All right, Mr. Fuks, do you see now --
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09:03:03    1                      I flipped to the second page of this

09:03:05    2   document.     Do you see this section here concerning inaugural

09:03:11    3   concert and fireworks?

09:03:24    4   A.      Yes.

09:03:24    5   Q.      And below here this says:      "Ticket required for

09:03:28    6   special viewing areas."      Were you given any tickets to these

09:03:33    7   special viewing areas for this inaugural concert and

09:03:36    8   fireworks?

09:03:39    9   A.      No.

09:03:48   10   Q.      This next entry here, Thursday, January 19, 5:00 p.m.

09:03:56   11   to 8:00 p.m. Red White and Western 58th Inaugural Reception

09:04:02   12   and Celebration, were you provided any tickets to this event?

09:04:22   13   A.      No.

09:04:23   14   Q.      This next event here, Montana Celebration, Cocktail

09:04:30   15   Reception, the Lofts, were you provided any tickets or access

09:04:35   16   to this event?

09:04:52   17   A.      No.

09:04:53   18   Q.      The next one, Presidential Inaugural Ball at the

09:04:59   19   Gaylord National Resort & Convention Center, a red carpet

09:05:04   20   event, were you provided any ticket for this event?

09:05:19   21   A.      No.

09:05:19   22   Q.      And the next event here on this document, Parade VIP

09:05:26   23   Tickets, were you provided any tickets for this event?          Were

09:05:31   24   you provided Parade VIP tickets?

09:05:38   25   A.      No.
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                                                                                      23


09:05:39    1   Q.        Presidential Swearing-In is the next event listed

09:05:47    2   here, and at the end of this description it says:          "Tickets

09:05:51    3   will determine your location."

09:05:52    4                         Were you provided any tickets to the

09:05:55    5   Presidential Swearing-In?

09:06:07    6   A.        No.

09:06:07    7   Q.        Going down there, there is an event, Friday, January

09:06:19    8   20, 8:00 p.m. to 11:00 p.m., inaugural celebrate -- Official

09:06:27    9   Inaugural Ball.       Do you see this?

09:06:34   10   A.        Yes.

09:06:34   11   Q.        The last sentence here says:     Inaugural Ball, VIP

09:06:40   12   Access.    Were you provided any inaugural ball VIP access?

09:06:51   13   A.        No.

09:06:51   14   Q.        Were you provided any tickets or access to the

09:06:55   15   inaugural ball at all?

09:06:58   16   A.        No.

09:07:01   17   Q.        These last two items on this -- for Saturday, January

09:07:08   18   21st, were you provided any tickets to either of these

09:07:12   19   events?

09:07:14   20   A.        No.

09:07:20   21   Q.        Mr. Fuks, you were asked about the -- a sanction in

09:07:37   22   Ukraine.    Could you explain the circumstances concerning

09:07:41   23   that?

09:07:44   24                    THE INTERPRETER:   Pardon me.   What in the Ukraine?

09:07:49   25                    MR. LOMAS:   The sanctions.
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09:07:54    1                 THE WITNESS:   Well, the ones -- the Russian ones I

09:08:02    2   explained, correct.

09:08:04    3   BY MR. LOMAS:

09:08:04    4   Q.      Correct.    So, I'm asking about the one that you

09:08:06    5   mentioned.    He asked you about a Ukrainian --

09:08:10    6   A.      No, I don't actually know what this was for.         I have

09:08:23    7   applied to the Ukrainian Supreme Court, and I'm waiting for a

09:08:29    8   response.

09:08:29    9   Q.      So, you've been -- to date have you been begin any

09:08:32   10   indication what the issue was?

09:08:43   11   A.      No.

09:08:43   12   Q.      And did you have an agreement with Mr. Vanetik for VIP

09:08:57   13   inauguration access?

09:09:10   14                      I'm going to strike that question.

09:09:11   15                      Mr. Fuks, did you have an agreement with Mr.

09:09:16   16   Vanetik to purchase a VIP inauguration ticket package.

09:09:32   17                 THE COURT:   Didn't we cover this on direct?

09:09:34   18                 MR. LOMAS:   We did, but there was a question on

09:09:36   19   cross that was --

09:09:38   20                 THE COURT:   All right, go ahead.

09:09:41   21                 MR. LOMAS:   So I was just trying to -- yeah.

09:09:43   22                      You can answer.

09:09:48   23                 THE PLAINTIFF:   Yes, that did take place.

09:09:49   24   BY MR. LOMAS:

09:09:49   25   Q.      And so, did you have any other agreements with Mr.
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                                                                                     25


09:10:00    1   Vanetik?

09:10:00    2   A.      No.

09:10:19    3                 MR. LOMAS:   Okay, I have no further questions.

09:10:22    4   Thank you.

09:10:22    5                 THE COURT:   Recross?

09:10:24    6                 MR. HAMILTON:    No further questions, Your Honor.

09:10:26    7                 THE COURT:   All right, I may have a question or

09:10:27    8   two, and let me direct this to counsel.

09:10:30    9                      What's the scope of damages that plaintiff

09:10:34   10   will be seeking?

09:10:36   11                 MR. LOMAS:   The recovery of the $200,000.      We did

09:10:41   12   make a request for the travel costs which he estimated at

09:10:47   13   $20,000, but really the focus is $200,000.

09:10:52   14                 THE COURT:   So, will you be asking for the cost

09:10:55   15   associated with travel?

09:10:56   16                 MR. LOMAS:   The hotel cost that he described is

09:10:58   17   approximately $20,000, but we've asked for it and we'll --

09:11:02   18                      We didn't ask for it, but -- yes.       But not

09:11:04   19   the airline cost of course because that was not something

09:11:07   20   that he incurred.

09:11:09   21                 THE COURT:   Okay, all right.    So, let me ask Mr.

09:11:11   22   Fuks a couple of questions.

09:11:12   23                      Mr. Fuks, with respect to the hotel, how many

09:11:16   24   nights did you spend in Washington, D.C. at a hotel?

09:11:20   25                 THE PLAINTIFF:   I believe it was three.
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09:11:28    1               THE COURT:    And why did it cost $20,000 to stay at

09:11:37    2   a hotel for three nights?

09:11:50    3               THE PLAINTIFF:     It's an approximate amount.       I had

09:11:55    4   two suites and the only suites remaining were very expensive

09:12:05    5   ones because there weren't any others available.          One can

09:12:10    6   check whether it was one or two.

09:12:12    7               THE COURT:    And did you leave the hotel with an

09:12:16    8   invoice?

09:12:24    9               THE PLAINTIFF:     Yes, I think so.     I don't remember

09:12:33   10   exactly, but if it's necessary, I will find it and I will

09:12:38   11   forward it to my attorney today or tomorrow.

09:12:43   12               THE COURT:    Mr. Fuks --

09:12:47   13               THE PLAINTIFF:     It's also possible that the

09:12:57   14   $20,000 would be the total, including amounts I spent on --

09:13:02   15   for transportation and restaurants and things like that.

09:13:11   16               THE COURT:    And did you keep records of all of

09:13:13   17   those expenses?

09:13:23   18               THE PLAINTIFF:     Record?   What type of record?

09:13:27   19               THE COURT:    When you go to a restaurant, you get a

09:13:29   20   receipt, a car service presumably would supply you with a

09:13:35   21   receipt after a payment.

09:13:43   22               THE PLAINTIFF:     Yes, the restaurant I paid by

09:13:47   23   card, of course.    But in the case of a hotel, let's say, my

09:13:58   24   assistant would reserve it ahead of time and also prepaid,

09:14:04   25   but that would also -- might also happen with transportation.
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09:14:14    1   And I just signed for the extras, like whatever food was

09:14:18    2   ordered, drinks, et cetera.

09:14:22    3               THE COURT:    All right, have you traveled to the

09:14:24    4   United States for any other presidential inaugurations?

09:14:33    5               THE PLAINTIFF:     No, that was my first time.

09:14:37    6               THE COURT:    And why did you -- why was it

09:14:39    7   important for you to attend President Trump's inauguration?

09:14:47    8               THE PLAINTIFF:     It was simply very interesting.        I

09:15:05    9   mean, Trump was a very famous real estate developer, and it

09:15:11   10   was an opportunity to go, so I decided to go.

09:15:17   11               THE COURT:    All right, any other questions by

09:15:19   12   counsel, either plaintiff or defense?

09:15:21   13               MR. HAMILTON:     No.

09:15:24   14               MR. LOMAS:    Not from plaintiff.

09:15:25   15               MR. HAMILTON:     No, Your Honor.

09:15:27   16               THE COURT:    All right.

09:15:29   17                      Ready to move on to your next witness?        Do we

09:15:32   18   need to take a break with respect to this connection here.

09:15:36   19               MR. LOMAS:    Well, no, actually plaintiff rests.

09:15:39   20   We have no further witnesses.

09:15:41   21               THE COURT:    Oh, I see.

09:15:42   22               MR. LOMAS:    The only other witness that we had

09:15:44   23   identified was a potential rebuttal witness only.          That was

09:15:52   24   Mr. Matt Keelen.

09:15:52   25               THE COURT:    A Mr. --
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09:15:54    1               MR. LOMAS:    Matthew Keelen.      So, we identified him

09:15:55    2   only as a potential rebuttal witness, not in our direct, not

09:16:00    3   our opening case.

09:16:02    4               THE COURT:    I see.    Okay.

09:16:10    5                     All right, defense, are you ready to proceed

09:16:13    6   with your presentation of evidence?

09:16:14    7               MR. HAMILTON:     Yes, Your Honor.

09:16:15    8               THE COURT:    All right.

09:16:17    9               MR. HAMILTON:     We call Yuri Vanetik.

09:16:17   10               THE COURT:    You're going to call Mr. Vanetik.          All

09:16:17   11   right.

09:16:24   12                     And what are we doing with the electronic

09:16:26   13   connection here with the plaintiff.         Is he staying on?

09:16:27   14               MR. LOMAS:    He may stay on to observe so, but he

09:16:30   15   doesn't need to --

09:16:32   16               THE COURT:    But it's all going to be in English I

09:16:35   17   take it, right?    Are we continuing to use the Russian

09:16:38   18   interpreter?

09:16:39   19               MR. LOMAS:    No, he's not going to have the Russian

09:16:42   20   interpreter.    Since he finished testifying, he would like, if

09:16:45   21   it's possible, to have his wife, she speaks English, to help

09:16:48   22   him listen and translate if necessary just to observe.          Is

09:16:52   23   that an issue?

09:16:53   24               THE COURT:    Well, he's a party.      So I don't have

09:16:55   25   an issue with him participating by video.        I just -- I know
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09:17:02    1   that the defense has some witnesses that will be testifying

09:17:06    2   remotely.   So, I'm not sure --

09:17:08    3               MR. LOMAS:    Oh, yes, if we --

09:17:10    4               THE COURT:    -- I don't know how that will work.

09:17:12    5               MR. LOMAS:    Understood.    If we can't accommodate,

09:17:13    6   that's fine, if there can only be one connection or one party

09:17:18    7   that's connected.     I sort of assumed that we could be

09:17:20    8   multiple parties, that he could be in.        But if that's not --

09:17:20    9   if that's not -- we can -- we can --

09:17:23   10                     He does not need to -- to continue listening

09:17:25   11   if that's the issue.

09:17:26   12               THE COURT:    All right.    Well, it's possible to

09:17:27   13   keep him on, we'll keep him on.

09:17:27   14               MR. LOMAS:    Okay.

09:17:32   15               THE COURT:    So, is the Russian interpreter --

09:17:35   16                     Are the two sides done with using the Russian

09:17:38   17   interpreter, or will he continue to be needed for trial?

09:17:41   18               MR. HAMILTON:     No.   One very short witness, Your

09:17:50   19   Honor, Sayhan Agaev would need the Russian interpreter, and I

09:17:54   20   was going to suggest after lunch he'd be the first witness,

09:17:56   21   maybe ten minutes on, and then we'll be done with the Russian

09:17:59   22   interpreter, and he can beat the traffic.

09:18:03   23               THE COURT:    Okay.     I'm assuming you got the

09:18:05   24   message, but we're going to go until 2:00 o'clock and we'll

09:18:08   25   take an abbreviated lunch break.       So it will probably be no
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09:18:12    1   more than about 30 minutes, okay?       So, just to maximize our

09:18:17    2   trial time today.

09:18:17    3               MR. LOMAS:    Now, we would -- we may reserve the

09:18:23    4   right to recall Mr. Fuks for rebuttal if there's anything

09:18:25    5   that comes up in their defense, but --

09:18:25    6               THE COURT:    He's a party.     So, you're welcome

09:18:27    7   to --

09:18:27    8               MR. LOMAS:    So that's the only reason we're

09:18:31    9   dismissing the translator but --

09:18:32   10               THE COURT:    All right, I'm going to ask the

09:18:34   11   interpreter to step down from the witness stand so that we

09:18:35   12   have the use of the witness stand.

09:18:45   13                     And then, plaintiff, I know some exhibits

09:18:48   14   were identified during Mr. Fuks's testimony.         At the moment,

09:18:54   15   I believe only 1, 2 and 3 are admitted?

09:18:57   16               MR. LOMAS:    Correct.

09:19:00   17               THE COURT:    I'm going to assume that you

09:19:01   18   intentionally did not move to admit the others.

09:19:06   19               MR. HAMILTON:     That's correct, Your Honor.

09:19:15   20               THE PLAINTIFF:     What about me?

09:19:17   21               MR. LOMAS:    Could I ask you to translate, Mr.

09:19:21   22   Interpreter?

09:19:28   23               (Discussion off the record.)

09:19:35   24               THE PLAINTIFF:     But if not, I can be free to go?

09:19:39   25               MR. LOMAS:    Yes.
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09:19:42    1                 THE PLAINTIFF:   Well, thank you very much.        Thank

09:19:47    2   you very much to the Court.      Thanks to all.     Thank you.

09:19:54    3                 THE COURT:   All right, the plaintiff has rested.

09:19:56    4   Defense?

09:20:05    5                 THE DEFENDANT:   Shall I go --

09:20:09    6                 THE COURT:   You may go around the back.

09:20:09    7                 MR. HAMILTON:    Your Honor, I was just going to use

09:20:11    8   the exhibit book, because we don't have that many with Mr.

09:20:15    9   Vanetik, but if you want me to publish them --

09:20:17   10                 THE COURT:   Well, I have a copy.

09:20:19   11                 MR. HAMILTON:    I'm just asking the Court's

09:20:22   12   preference.

09:20:25   13                 THE COURT:   It's up to you, Counsel.

09:20:25   14                 MR. HAMILTON:    Okay.

09:20:28   15                 THE COURT:   I have them here.    So, if you don't

09:20:31   16   want to electronically publish them in the courtroom, that's

09:20:35   17   fine.   I assume everyone is working off the same set of

09:20:39   18   exhibits.

09:20:39   19                 MR. HAMILTON:    Yes, Your Honor.

09:20:40   20                 THE COURT:   All right, let's have Mr. Vanetik

09:20:42   21   sworn in.

09:20:43   22                 COURT CLERK:    Please stand before me and raise

09:20:46   23   your right hand.

09:20:46   24                      Do you swear or affirm that the testimony

09:20:46   25   you're about to give in the case now before this Court will
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                                                                                    32


09:20:46    1   be the truth, the whole truth and nothing but the truth, so

09:20:49    2   help you God?

09:20:49    3                THE DEFENDANT:    I do.   I do.

09:20:54    4                COURT CLERK:    Thank you.

09:20:55    5                      You may be seated in the witness stand.

09:20:58    6                THE DEFENDANT:    Thank you.

09:21:04    7                COURT CLERK:    Please state and spell your full

09:21:05    8   name for the record, and please project into the microphone.

09:21:10    9                THE DEFENDANT:    May I take off the mask?

09:21:12   10                THE COURT:    Yes.   Well, you heard my admonition

09:21:15   11   yesterday.   So if you're fully vaccinated, you may remove the

09:21:18   12   mask to testify.

09:21:19   13                THE DEFENDANT:    Yes, thank you.

09:21:21   14                      Yuri Vanetik, Y-U-R-I, last name

09:21:28   15   V-A-N-E-T-I-K.

09:21:30   16                    DEFENDANT, YURI VANETIK, SWORN

09:21:30   17                             DIRECT EXAMINATION

09:21:31   18   BY MR. HAMILTON:

09:21:32   19   Q.      Good morning, Mr. Vanetik.

09:21:33   20   A.      Good morning.

09:21:34   21   Q.      Mr. Vanetik, did you go to college?

09:21:37   22   A.      I did.

09:21:37   23   Q.      And where did you go to college?

09:21:40   24   A.      Undergrad UC Berkley.

09:21:43   25   Q.      When did you graduate?
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                                                                                     33


09:21:45    1   A.      In '91.

09:21:47    2   Q.      Did you receive any honors?

09:21:50    3   A.      I did.    I graduated with highest honors.      I was the

09:21:55    4   valedictorian and commencement speaker in my major.          I was

09:22:04    5   valedictorian in my major.

09:22:05    6   Q.      What was your major?

09:22:07    7   A.      It was legal studies which was political philosophy

09:22:10    8   and history.

09:22:12    9   Q.      After college, did you attend any higher education?

09:22:16   10   A.      Yes.

09:22:17   11   Q.      And can you describe that to us?

09:22:19   12   A.      I was a researcher in philosophy at Oxford, extra

09:22:26   13   college, then I went to law school, University of California

09:22:37   14   Hastings.   And then I was -- I graduated from Anderson in

09:22:47   15   their executives business program, UCLA.

09:22:49   16   Q.      Anything else?

09:22:51   17   A.      Various courses and executives education like Stanford

09:22:57   18   Directors' College and various programs.        There were quite a

09:23:00   19   few of them along the way.

09:23:02   20   Q.      Did you receive any honors at the institutions you

09:23:05   21   just mentioned?

09:23:06   22   A.      No, other than UC Berkley, no.       I mean, I've had like

09:23:14   23   juris prudence awards or various other things, but nothing

09:23:16   24   that are considered truly, truly substantive.

09:23:20   25   Q.      After you graduated from Hastings, did you ever work
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                                                                                    34


09:23:24    1   for a law firm?

09:23:26    2   A.      Yeah -- yes.

09:23:27    3   Q.      Who was that?

09:23:28    4   A.      It was at the time Kirkpatrick & Lockhart which

09:23:33    5   subsequently became K&L Gates.

09:23:35    6   Q.      And where were they located?

09:23:37    7   A.      I was -- there were -- they were a national firm at

09:23:41    8   the time.   I was in New York and then in Pittsburgh.

09:23:44    9   Q.      Were you a member of the Pennsylvania Bar?

09:23:47   10   A.      Yes.   Still am.

09:23:48   11   Q.      And did you specialize in any area of work?

09:23:53   12   A.      I wouldn't say specialize.      I did transactional work,

09:23:58   13   securities work, mostly.

09:23:59   14   Q.      And how long did you work for Kirkpatrick & Lockhart?

09:24:07   15   A.      I believe around two years.

09:24:10   16   Q.      And after you left Kirkpatrick & Lockhart, where were

09:24:21   17   you employed next?

09:24:22   18   A.      I was with a technology startup called College

09:24:29   19   Station, and then I was also -- I was a partner in a firm

09:24:36   20   called Igrocolor (phonetically spelled) Vanetik, which was a

09:24:38   21   small law firm.

09:24:38   22   Q.      Where was that located?

09:24:40   23   A.      That was in D.C. and in Newport Beach, actually, Costa

09:24:45   24   Mesa, in Orange County.

09:24:48   25   Q.      What kind of law did they practice?
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09:24:51    1   A.      Mostly advising directors of public companies on

09:24:55    2   surveying and representing independent directors, you know,

09:24:59    3   that was the majority of the practice.

09:25:00    4   Q.      Had -- as we sit here today, you've been the directors

09:25:05    5   of any companies?

09:25:06    6   A.      I have been director of multiple companies over the

09:25:10    7   years, some publicly traded, mostly private, some nonprofits.

09:25:15    8   Q.      Can you give me some examples of what companies you've

09:25:18    9   been a director on?

09:25:19   10   A.      Informant Sync (phonetically spelled) which is a

09:25:21   11   technology company, Miracles for Kids which is a charity

09:25:26   12   based in Orange County that provides financial assistance to

09:25:30   13   children that have terminal or serious illness.         Delta

09:25:38   14   Petroleum, oil and gas company that was publically traded at

09:25:42   15   one point, and quite a few others.

09:25:45   16   Q.      Have you had any political appointments or other

09:25:49   17   government appointments?

09:25:50   18   A.      Yes.

09:25:50   19   Q.      And can you describe those?

09:25:52   20   A.      I was appointee --

09:25:54   21                     I was appointed by Arnold Schwarzenegger to

09:25:57   22   be the California lottery commissioner.        I was also the

09:26:00   23   California Criminal Justice counsel for four years, and I was

09:26:04   24   appointed by State Senate to the Economy Strategy Commission

09:26:08   25   which was shut down right after I was confirmed.
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09:26:10    1                     So, those were the state appointments, and

09:26:13    2   then I've been active for almost 20 years with NRCC, RNC,

09:26:21    3   RGA, various Republican clubs or groups.

09:26:24    4   Q.       Were you ever associated in any way with the San

09:26:30    5   Bernardino Special Services Bureau?

09:26:32    6   A.       I'm currently at reserve there.

09:26:35    7   Q.       What is that?   Describe that to us.

09:26:38    8   A.       Well, you -- you go through a reserve academy,

09:26:43    9   typically, and there are three levels, there's three, Level

09:26:46   10   two, level one is the same thing as, you know, a full-time

09:26:50   11   officer, and then you volunteer your time with agency that

09:26:53   12   decides to take you on.      That's the paradigm.

09:26:56   13   Q.       Describe what you would do on just a day-to-day of

09:27:01   14   volunteering out there?

09:27:02   15   A.       You know, recently mostly working at the range and

09:27:06   16   providing some informal strategic legal advice on certain

09:27:12   17   matters.   That's mostly what I've been doing in the recent

09:27:15   18   years.   Before that, when there is an event and they need

09:27:18   19   extra people, I would volunteer for patrol or, you know, any

09:27:22   20   kind of assistance, so on-call stuff.

09:27:25   21                     You have to put in technically about 20 hours

09:27:28   22   a month.

09:27:29   23   Q.       Are you familiar with an individual named Pavel Fuks?

09:27:41   24   A.       Sadly, yes.

09:27:43   25   Q.       And how many times have you met Mr. Fuks?
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                                                                                    37


09:27:45    1   A.        I met him twice.

09:27:47    2   Q.        When was the first time?

09:27:49    3   A.        The first time I met him in Rome, I think first

09:27:54    4   quarter of 2016, and the second time was, I checked, it was

09:28:00    5   on the 20th of January 2017.

09:28:04    6   Q.        Where was that?

09:28:05    7   A.        It was in Washington, D.C.

09:28:11    8   Q.        And how did you first meet Mr. Fuks?

09:28:15    9   A.        I was introduced to him, technically, through

09:28:23   10   controversial now deceased mayor of the second largest City

09:28:24   11   in Ukraine, and I met the mayor through several business

09:28:28   12   people in Ukraine that I know well, and then the mayor

09:28:31   13   indicated that Mr. Fuks was his close confident/friend and he

09:28:35   14   would be handling, you know, all logistics and technical

09:28:39   15   matters if we -- if we do any business together.

09:28:41   16   Q.        Who was mayor Kernes?

09:28:47   17   A.        He was a controversial figure.     Well, allegedly he had

09:28:53   18   a criminal past which generally doesn't shock people in that

09:28:58   19   part of the world, and he was controversial because of his

09:29:00   20   social media presence, because of his strong stance on,

09:29:04   21   initially, supporting Russia and subsequently not supporting

09:29:09   22   Russia.    But he was considered somebody that was, you know,

09:29:12   23   very diligent in dealing with city issues.

09:29:16   24                      So, you know, he had his detractors.       He had

09:29:19   25   a lot of enemies.     He's also had people that truly supported
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                                                                                     38


09:29:24    1   him.

09:29:24    2   Q.      How did you know Mayor Kernes?

09:29:27    3   A.      A person named Aleck Sinonof (phonetically spelled)

09:29:29    4   and Alec Ukichock (phonetically spelled), two business people

09:29:33    5   quite successful in Ukraine, introduced me to him, and the

09:29:38    6   telos of the introduction was to help him because he was

09:29:40    7   under siege and he needed access to U.S. attorneys, to human

09:29:46    8   rights group, you know, he needed a support infrastructure in

09:29:50    9   the west, and he also wanted to, in tandem with that, start

09:29:51   10   to rebuild his image, because he lost his visa, and he was

09:29:56   11   gravely ill, and he needed to -- he wanted to become an

09:30:00   12   access U.S. medical systems, U.S. doctors.         So, it was, you

09:30:04   13   know, there were a lot of issues, and they asked me if I

09:30:07   14   would meet with them.

09:30:09   15   Q.      Now, you indicate you first met Mr. Fuks in Rome

09:30:15   16   around March 2016, did you have any discussions with Mr.

09:30:20   17   Fuks?

09:30:20   18   A.      Yes, multiple discussions that he and I had, I mean,

09:30:28   19   substantive discussions were solely with him.         There were

09:30:33   20   quite a few people that were in attendance, and I was

09:30:33   21   there --

09:30:35   22                     I flew out specifically to meet with them.

09:30:39   23   Pavel Fuks handled the engagement.       They wanted to hire me.

09:30:39   24   I wasn't going to just fly out to Rome to hang out with them.

09:30:39   25   I wasn't that enthralled.      And he kind of stepped in and
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09:30:49    1   handled that role and then, to answer your question, there

09:30:53    2   were certain festivities when we were there, we went to

09:30:57    3   dinner and walked around and talked, but when it came to

09:30:59    4   talking shop, it was Pavel that was apparently obligated to

09:31:08    5   address the business aspects of our meeting.

09:31:10    6   Q.      Okay, and what were --

09:31:12    7                     Can you describe the business aspects of the

09:31:14    8   meeting?

09:31:14    9   A.      I -- in a way I already did.       To get -- to be more

09:31:20   10   specific, he said we wants to, you know, we would like for

09:31:22   11   you to manage a campaign for us to, A, identify, you know,

09:31:28   12   why the mayor lost his U.S. visa and what the problems are

09:31:33   13   that he has in the U.S.      I said, you know, we'd have to hire

09:31:37   14   immigration attorneys initially to do that.

09:31:39   15                     And then they explained to me -- in fact, it

09:31:42   16   was all Mr. Fuks, that ironically in some ways, the mayor's

09:31:48   17   human rights, his rights were being systematically violated.

09:31:52   18   He survived an assassination attempt and was in profound pain

09:31:57   19   and was in a wheelchair, crippled, and while, you know, he

09:32:00   20   was in that state, there were multiple criminal cases that

09:32:03   21   were aggressively pursued by the Ukrainian government which

09:32:09   22   at that point was by President Poroshenko and his cabinet,

09:32:14   23   and they wanted to -- what we discussed with Mr. Fuks, and

09:32:17   24   that discussion, you know, escalated after we parted ways in

09:32:21   25   Rome, was to determine, assess the criminal cases, assess
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09:32:25    1   what the violations are, and then from there recommend a

09:32:29    2   strategy, a plan, and implement it to -- to call attention to

09:32:35    3   his plight with human rights groups and with lawyers and

09:32:40    4   perhaps with other activist in the west, not just U.S.

09:32:46    5   Q.      And after Mr. Fuks left Rome, did you have any

09:32:52    6   subsequent discussions with him regarding your retention?

09:32:56    7   A.      Yes, yes.

09:32:57    8   Q.      And when was the first one, and what was it about?

09:33:02    9   A.      I would submit to you it was probably within a week,

09:33:07   10   and, you know, Mr. Fuks communicated to us that time was of

09:33:12   11   essence, and I indicated to him that he needed to, you know,

09:33:16   12   as crude as that sounded, I said you need to take care of the

09:33:19   13   initial bill.    Because he never paid for the trip and the

09:33:23   14   meetings that we had in Rome, and that didn't bother me as

09:33:26   15   much because I have enough experience working with East

09:33:29   16   Europeans.

09:33:30   17                       Is that okay that I'm elaborating or --

09:33:33   18                THE COURT:   Just answer the question.       If there is

09:33:35   19   an objection, I will address it.

09:33:37   20                THE PLAINTIFF:    Thanks.   I feel like I'm talking

09:33:41   21   too much.

09:33:42   22                       So, I -- I'm sorry, what was the question?

09:33:50   23   BY MR. HAMILTON:

09:33:50   24   Q.      Let me give you a new question.

09:33:55   25                       Was Mr. Fuks talking about hiring you or the
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09:34:04    1   company you worked with?

09:34:05    2   A.        He talked about hiring me in whatever capacity made

09:34:10    3   the most sense, and I said it would be through Odyssey

09:34:13    4   Management which was a consulting company that I became a

09:34:16    5   partner in.    It was an essence a startup.      And we were going

09:34:23    6   to handle various consulting projects of this type through

09:34:25    7   that entity.

09:34:26    8                      And I sent him a contract.      There were

09:34:33    9   several renditions of it.      Ultimately, even though we started

09:34:37   10   work and against tacit objections of my partners and I

09:34:37   11   encouraged them that this is how, you know, things sometimes

09:34:46   12   happen in Eastern Europe and I encouraged them that, you

09:34:48   13   know, these are people that have the resources to pay us, and

09:34:51   14   that the mayor is a fascinating individual.

09:34:53   15                      So, we started doing work, and then

09:34:56   16   ultimately Pavel Fuks did enter into an agreement which we

09:35:01   17   saw, and I think that --

09:35:05   18                      So, we were -- recalling your question -- we

09:35:08   19   were in constant -- not constant but in systemic

09:35:11   20   communications, and we communicated via cell phone calls, via

09:35:15   21   WhatsApp, via Telegram, I believe Signal, and he would

09:35:20   22   also -- which is also not that unusual, he would switch

09:35:23   23   phones.    So he had several phones where he would say:         Now

09:35:27   24   this one is no longer functional.       And I guess that's also

09:35:31   25   not that unusual in that part of the world.
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09:35:34    1   Q.      You mentioned Odyssey.      Were you the only employee of

09:35:37    2   Odyssey?

09:35:37    3   A.      No.

09:35:37    4   Q.      Who were the other employees?

09:35:39    5   A.      Eric Rogers and Stewart Weingarten.        And I wouldn't

09:35:43    6   call us employees.     We were partners.     Stewart was

09:35:47    7   operational for the most part even though he did bring in

09:35:51    8   some clients, and Eric brought in clients from other

09:35:56    9   industries, medical industry, also real estate, and I -- you

09:35:58   10   know, I had clients during the time that the business was

09:36:00   11   functioning from Eastern Europe and EurAsia.

09:36:05   12   Q.      What of -- was there anything that Odyssey specialized

09:36:13   13   in?

09:36:13   14   A.      I would say -- I would say doing feasibility studies,

09:36:17   15   due diligence, market entry analysis.        You know, I'm -- I'm

09:36:22   16   tempted to say, from my standpoint, political advocacy, but

09:36:27   17   that really was more me than, you know, what the objective

09:36:30   18   was with that business.

09:36:31   19   Q.      Is Odyssey still active?

09:36:46   20   A.      No.

09:36:46   21   Q.      And why was it closed?

09:36:48   22   A.      It was a number of circumstances.       It was, I believe,

09:36:52   23   kind of the beginning of Covid, business had dropped off.

09:36:55   24   Eric wanted to do -- get back into the medical industry, and

09:37:01   25   Stewart was losing interest, and we just decided to
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09:37:04    1   disengage very amicably.      Just -- the timing made sense.

09:37:11    2               THE COURT:    Counsel, let's just take a brief

09:37:13    3   break, okay?

09:37:14    4               MR. HAMILTON:     Certainly, Your Honor.

09:37:16    5               THE COURT:    All right.     It will be about ten

09:37:17    6   minutes or so.

09:37:20    7               COURT CLERK:     All rise.

10:05:39    8               (Recess taken.)

10:05:40    9               THE COURT:    All right, we're back on the record.

10:05:41   10   Witness is on the stand.      Counsel are present.

10:05:45   11                      So, Mr. Hamilton, you may continue with your

10:05:51   12   examination.

10:05:53   13               MR. HAMILTON:     Thank you, Your Honor.

10:06:00   14   BY MR. HAMILTON:

10:06:01   15   Q.      Mr. Vanetik, can you provide us some names of the

10:06:06   16   clients of Odyssey Management?

10:06:07   17   A.      By way of recollection --

10:06:15   18               THE COURT:    Can you get closer to the mic, please?

10:06:18   19   Make sure we can hear you.

10:06:19   20               THE PLAINTIFF:     I apologize.

10:06:21   21                      As I recall, one was informants which was a

10:06:26   22   technology company in the insurance industry.         The other one

10:06:31   23   was Kona Partners.     That's a company developing projects,

10:06:38   24   real estate projects in Hawaii.       One of the -- another client

10:06:49   25   was -- I'm trying to remember -- it was another real estate
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10:06:56    1   project for student housing, and I'm trying to remember the

10:07:04    2   name of the client.     And also Ganaddy Kernes Human Rights

10:07:15    3   Project as we referred to it.       These are some examples.

10:07:18    4   Q.      And what is the Kernes Human Rights project?

10:07:21    5   A.      That was the project that we discussed in Rome

10:07:24    6   initially, and subsequently, after my visit, we started

10:07:29    7   working on the project and worked on it, as I recall, through

10:07:37    8   the beginning of November of 2016.

10:07:41    9   Q.      When you say "we discussed in Rome," who is "we"?

10:07:47   10   A.      That was to some extent, Mayor Kernes and I, but for

10:07:53   11   the most part, Pavel Fuks and I.

10:07:59   12               THE COURT:    If I may, Counsel.

10:08:00   13                     Mr. Vanetik, how did you get involved in that

10:08:02   14   project?   How did it come to pass.

10:08:05   15               THE PLAINTIFF:     Of course.    I was introduced to

10:08:08   16   the mayor through two individuals.       One is Oleg Sinonof

10:08:17   17   (phonetically spelled) and the other one is Oleg Urichak

10:08:21   18   (phonetically spelled), I've known Urichak for a very long

10:08:25   19   time.   They're both business people in Ukraine.        And they

10:08:29   20   contacted me, and I recall that because they were on this

10:08:34   21   island in Greece where a lot of people, you know, from the

10:08:40   22   Slavic world go where religious -- it's called AFOMI

10:08:44   23   (phonetically spelled) and it's only for men and you pray.

10:08:46   24                     At any rate, they said there's an interesting

10:08:51   25   opportunity to -- to help this mayor who was in trouble and
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10:08:54    1   who was highly controversial and they thought that there

10:08:58    2   could be something that I could get involved with.

10:09:02    3                       They initially pitched me on the project, and

10:09:05    4   I, you know, I had some discussions.        I did some, you know,

10:09:09    5   Google searching.     I didn't go that deep.     And after that, I

10:09:14    6   had a conversation with Gennady, and then Pavel Fuks

10:09:21    7   contacted me.     So that was, Your Honor, the genesis of that

10:09:24    8   relationship.

10:09:27    9                  THE COURT:   Go ahead, Counsel.

10:09:28   10                  MR. HAMILTON:   Thank you, Your Honor.

10:09:29   11   BY MR. HAMILTON:

10:09:30   12   Q.      Mr. Vanetik, was there ever an agreement created

10:09:34   13   regarding the Kernes project?

10:09:36   14   A.      There were -- there were two agreements.        One was an

10:09:42   15   agreement for me to fly out and provide a consultation and

10:09:47   16   meet in Rome, and subsequently there was an agreement that I

10:09:50   17   drafted, that I provided to Pavel Fuks, and subsequently he

10:09:58   18   executed it.

10:09:59   19                       We were already doing work at the time, and I

10:10:01   20   had to push him a little bit to get it signed.         I said we

10:10:04   21   can't keep going unless we have something in writing.

10:10:07   22   Q.      Let's talk the first agreement of you flying to Rome,

10:10:11   23   was that written?

10:10:12   24   A.      Yes.

10:10:12   25   Q.      Okay.    And how much was --
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10:10:16    1                       Was it between you, or was it Odyssey and

10:10:18    2   Kernes?

10:10:19    3   A.        It was Odyssey from the very beginning.      It was

10:10:23    4   between Odyssey and Pavel Fuks, individual.

10:10:27    5   Q.        And how much was Odyssey to be paid under the initial

10:10:33    6   contract to your flight to Rome?

10:10:36    7   A.        It was $65,000, and it was for my trip to Rome,

10:10:43    8   providing consultation and doing a strategy memo.          So, it

10:10:47    9   included everything, kind of a flat fee retainer.

10:10:53   10   Q.        Okay.   And were you ever paid on --

10:10:57   11                       Was Odyssey ever paid for that contract?

10:11:00   12   A.        No.

10:11:01   13   Q.        Now, let's talk about the second contract.       You said

10:11:05   14   you -- you, individually drafted a second contract?

10:11:09   15   A.        Yes.

10:11:09   16   Q.        Okay, and if you'd turn to Exhibit 10, please.

10:11:14   17   A.        I don't think the exhibits are marked in this book.

10:11:17   18   Q.        Yes, there are tabs.

10:11:20   19   A.        Oh, I'm sorry, apologies.    Yes, I see it.

10:11:25   20   Q.        At the top it says:    "Odyssey Pavlo Fuks confidential

10:11:28   21   consulting agreement."     Is that what you have in front of

10:11:31   22   you?

10:11:31   23   A.        Yes.

10:11:37   24   Q.        And have you seen this document before?

10:11:39   25   A.        Yes.
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10:11:39    1   Q.       And who drafted it?

10:11:41    2   A.       I did.

10:11:42    3   Q.       You drafted the entire agreement?

10:11:49    4   A.       Yes.

10:11:49    5   Q.       And when was it prepared?

10:11:51    6   A.       I imagine sometime -- I think at least the initial

10:11:55    7   draft of it, sometime August of 2016.        I'm just guessing,

10:12:03    8   around that time.

10:12:04    9   Q.       And where was it prepared?

10:12:05   10   A.       I prepared it probably at Odyssey's office in Newport

10:12:12   11   Beach.

10:12:12   12   Q.       And what was the purpose of Exhibit 10, the consulting

10:12:17   13   agreement?

10:12:18   14   A.       Well, Mr. Hamilton, as I started explaining earlier,

10:12:24   15   it was in essence for us to review thousands of pages of

10:12:30   16   translates and review thousands of pages of criminal cases

10:12:34   17   that were -- some were ongoing, some were getting ready for

10:12:40   18   trial and identify human rights violations.

10:12:45   19                     I made contact with human rights groups that

10:12:48   20   would take on someone as controversial as Gennady Kernes.

10:12:52   21   You know, that was the majority of it.

10:12:56   22                     Pavel deliberately wanted to keep it abroad

10:12:58   23   so we could provide other services, and, you know, I guess

10:13:03   24   I'm elaborating more now, but the idea behind the project was

10:13:07   25   that we would do some core work to prepare it for, what I
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10:13:12    1   would truly say subcontractors, and I explained that it would

10:13:16    2   be bigger -- you know, it would be big firms, it would be

10:13:20    3   probably some large law firms.       It would be engaging, you

10:13:22    4   know, perhaps some advocacy firms that have access to the

10:13:25    5   human rights nonprofit world.

10:13:28    6                      Like, there is one called human rights

10:13:30    7   foundation which I was familiar with and I got them engaged.

10:13:35    8   They were affiliated with Kote (phonetically spelled)

10:13:39    9   Brothers network, and because of that connection, I knew some

10:13:41   10   of the people that were there.

10:13:43   11                      So that's -- that was the scope.       The scope

10:13:46   12   was very broad.    It was, you know, one of the bigger

10:13:49   13   contracts that -- that I had proposed.

10:13:51   14   Q.      Okay.    Who at Odyssey worked on this agreement?

10:13:57   15   A.      It was mostly me and Eric Rogers and a person named

10:14:07   16   Collin Breeze (phonetically spelled) who was hired as a

10:14:10   17   subcontractor.    You know, I'm trying to remember, we hired

10:14:12   18   some other people.     We also used Latham & Watkins in Orange

10:14:17   19   County to do some research.      So, we kind of jumped into it.

10:14:20   20   But ultimately there was a couple of people, and I kind of

10:14:23   21   spearheaded it.

10:14:24   22   Q.      What did Mr. Rogers do?

10:14:28   23   A.      He was just identifying, you know, various issues

10:14:31   24   related to human rights violations.       He was working with the

10:14:34   25   translators.    He was doing whatever I directed him.
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10:14:37    1   Q.      Did Mr. Fuks have any input into drafting the Exhibit

10:14:46    2   10 agreement?

10:14:52    3   A.      I suspect that indirectly, yes, because he said he saw

10:14:56    4   it, and he said he sent it to attorneys, and I'm not sure if

10:14:58    5   it was his or Kernes's.      I do know that a man named Gorchinco

10:15:04    6   (phonetically spelled) who I communicated with and who

10:15:05    7   supplied a great deal of information was one of Kernes's main

10:15:09    8   lawyers, and he, as I recall, reviewed this document as well.

10:15:15    9   Q.      If you look at 1.3 on page 1 of Exhibit 10, it says:

10:15:23   10   "Compensation."    How was the compensation determined for the

10:15:27   11   agreement?

10:15:29   12   A.      We discussed numbers, the type of --

10:15:33   13                     You know, we discussed the numbers,

10:15:35   14   obviously, with Mr. Fuks.      Then we discussed among ourselves

10:15:42   15   as the three principals, we discussed, you know, what kind of

10:15:45   16   profit margins we're going to have here, what our expenses

10:15:48   17   will be.

10:15:49   18                     We also looked at the fact that we would not

10:15:50   19   be able to take on other projects that would be smaller, and

10:15:56   20   we looked at industry standards, and we kind of mapped it out

10:16:00   21   and came up with -- it's not an exact science -- came up with

10:16:06   22   the retainer that's in paragraph 1.3.

10:16:09   23   Q.      Did the agreement ever get sent to Mr. Fuks?

10:16:13   24   A.      Yes.

10:16:13   25   Q.      And how did it get sent to Mr. Fuks?
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10:16:16    1   A.      Well, first, as I recall in multiple ways, through

10:16:22    2   telegram, through WhatsApp, through e-mail, and probably sent

10:16:29    3   by me and perhaps people in our office as well, and -- yes --

10:16:34    4   yeah.

10:16:34    5   Q.      You can confirm you sent it to Mr. Fuks?

10:16:37    6   A.      100 percent.

10:16:43    7   Q.      Did Mr. Fuks ever sign it?

10:16:46    8   A.      I believe so.    He sent it back with the signature.

10:16:50    9   Q.      Who did he send it to?

10:16:51   10   A.      To me.

10:16:52   11   Q.      And after you received it back with his signature, did

10:16:57   12   you have any conversations with Mr. Fuks?

10:17:00   13   A.      At that point I had less conversations with Mr. Fuks

10:17:06   14   because we were operational, so we were dealing more with

10:17:09   15   Mr. Gorchinco and a series of other people that were working

10:17:12   16   with the mayor.

10:17:13   17   Q.      Did Mr. Fuks ever call you back after signing the

10:17:23   18   agreement and saying:     You've got a green light?

10:17:28   19   A.      Yeah, he was saying we have a, to use your term, green

10:17:32   20   light, in the very beginning, as soon as we started work.

10:17:35   21   This was probably like April of 2016.        And, you know,

10:17:42   22   subsequently the only conversations that I recall were about

10:17:46   23   getting paid, and -- and I had some friction with Eric and

10:17:50   24   Stewart because I had to convince them that it's not, you

10:17:55   25   know, it's not unusual to -- to have, you know, delays in
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10:17:59    1   getting paid and to kind of work through the challenges when

10:18:02    2   you're dealing with East Europeans.

10:18:07    3   Q.      You indicated you had some discussions with

10:18:11    4   Mr. Gorchinco.    What was discussed?

10:18:14    5   A.      The discussions we had were basically operational,

10:18:21    6   meaning, what the goals were, what the timing was, when the

10:18:25    7   first trial was going to start, what they needed the most.

10:18:30    8   You know, why this was happening, who his enemies were.

10:18:35    9                      So, we were basically doing a deep dive into

10:18:38   10   this insane quagmire that Gennady Kernes was trying to fight,

10:18:47   11   get his way out of.

10:18:49   12   Q.      How long did Odyssey work on the project that's

10:18:55   13   contemplated in Exhibit 10?

10:18:58   14   A.      I would say at least four months, at least four months

10:19:05   15   of, like, hardcore.

10:19:08   16   Q.      Okay.    And why did -- why did Odyssey stop working on

10:19:18   17   it?

10:19:19   18   A.      Well, two reasons -- three reasons.        One is, we

10:19:25   19   noticed that suddenly it became less of a priority without

10:19:28   20   explanations for the Kernes team.       Two, Mr. Fuks became

10:19:32   21   inaccessible, and we started reminding that there should be a

10:19:38   22   payment made.

10:19:40   23                      I think those were the two main reasons.        And

10:19:45   24   then the third is, you know, my partners in this, you know,

10:19:50   25   small consulting company, were getting frustrated because we
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                                                                                    52


10:19:55    1   were going out of pocket in addition to our time.

10:19:58    2   Q.      Did Odyssey ever receive compensation for the

10:20:05    3   agreement in Exhibit 10?

10:20:08    4   A.      It started to with the payment that seems to be the

10:20:14    5   core of controversy in this case.

10:20:17    6   Q.      And who did it receive payment from?

10:20:20    7   A.      A company called BEM Global.

10:20:25    8   Q.      How much did it receive?

10:20:28    9   A.      $200,000.

10:20:30   10               MR. HAMILTON:     Your Honor, we would request to

10:20:32   11   move Exhibit 10 into evidence.

10:20:34   12               THE COURT:    Any objection?

10:20:37   13               MR. LOMAS:    Yes, Your Honor.     I mean, it's

10:20:42   14   still -- we have no --

10:20:43   15                       We heard testimony earlier from Mr. Fuks that

10:20:45   16   this is not his signature, and so, I mean, we're -- we object

10:20:51   17   to the authenticity of the document.

10:20:59   18               THE COURT:    All right, the objection is overruled.

10:21:03   19   The exhibit is admitted.

10:21:07   20               (Exhibit No. 10 received in evidence.)

10:21:10   21   BY MR. HAMILTON:

10:21:11   22   Q.      Mr. Vanetik, if you can turn to Exhibit 2, please, in

10:21:14   23   your exhibit book.     The first page is a November 21st, 2016

10:21:24   24   e-mail from you.

10:21:25   25   A.      Yes, I see it.
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10:21:33    1   Q.       And look at both pages of Exhibit 2, please.

10:21:57    2   A.       Okay.

10:21:58    3   Q.       And that's an e-mail you sent on or about November 21,

10:22:09    4   2016?

10:22:09    5   A.       Yes.

10:22:09    6   Q.       And why did you send the e-mail?

10:22:16    7   A.       I sent it for Odyssey to get paid on the invoice --

10:22:21    8   well, on its old contract but a new invoice to help

10:22:26    9   facilitate the payment.      That was a request from a guy

10:22:30   10   named -- a man named Pavlof (phonetically spelled) who I

10:22:34   11   didn't know had an affiliation with Mr. Fuks.         I assumed -- I

10:22:38   12   assumed there was at least some.

10:22:46   13   Q.       And if you look at page 2, did you create that

10:22:49   14   invoice?

10:22:50   15   A.       I did, yes.

10:22:52   16   Q.       And what was the invoice for?

10:22:57   17   A.       The invoice was for the work that was already done for

10:23:02   18   the Kernes human rights project.

10:23:05   19   Q.       The invoice says "earn retainer."      What was your

10:23:14   20   understanding of that?

10:23:17   21   A.       My understanding was that -- I wanted to emphasize

10:23:20   22   that it's nonrefundable in the sense that it relates to work

10:23:25   23   that was already performed.      So, at the time that's how I at

10:23:27   24   the time wanted to characterize it, and I emphasized that to

10:23:33   25   Pavel.
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10:23:34    1   Q.      Pavel, you mean Mr. Fuks?

10:23:36    2   A.      Yes.

10:23:36    3   Q.      And on page 2, the invoices to BEM Global, who was

10:23:43    4   that?

10:23:44    5   A.      When someone named Mr. Pavlof (phonetically spelled)

10:23:48    6   contacted me via text and said that he would be the one

10:23:52    7   making a payment, I talked to him, and he told me to make the

10:23:56    8   invoice out to this company, and then I coordinated with him,

10:24:01    9   the description so that he would be able to work with his

10:24:05   10   bank.

10:24:06   11                        I told him what I wanted it to say, and he

10:24:10   12   was generally okay with it.      He made perhaps some corrections

10:24:13   13   or asked some questions, but -- but I don't know who BEM

10:24:17   14   Global is other than Mr. Fuks's testimony.

10:24:21   15   Q.      And did Odyssey receive payment for the invoices?

10:24:28   16   A.      Yes.

10:24:30   17   Q.      And when was that?

10:24:31   18   A.      I'm assuming immediately, I'm assuming within two

10:24:35   19   days, you know, probably middle of November.

10:24:38   20   Q.      After Odyssey received this payment of $200,000, did

10:24:43   21   it do anything else on the project?

10:24:45   22   A.      No.    No.   Because, you know, Mr. Fuks explained to me

10:24:51   23   when he resurfaced that that project was no longer a

10:24:56   24   priority, and he had, you know, another ask, if you will.

10:25:01   25   Q.      Okay.   And when did he resurface?
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10:25:04    1   A.      My recollection was in December, but based on the

10:25:10    2   invoice, I'm assuming that he resurfaced late November.

10:25:15    3   Again, this is almost five years ago.

10:25:19    4   Q.      And what was the -- you just used the term "ask" that

10:25:25    5   Mr. Fuks wanted?

10:25:26    6   A.      Yeah.   He told me -- he asked me about the

10:25:29    7   inauguration, and I told him that I wasn't planning on being

10:25:32    8   there, that I had other plans, and then I generally advised

10:25:36    9   him against attending -- depending on his agenda, you know,

10:25:40   10   and I said to him, basically, that I've been to a few, and I

10:25:44   11   said it's generally just a party, but lots of, lots of things

10:25:50   12   happening and, you know, you can't really do anything that's

10:25:55   13   meaningful or substantive, is what I told him.

10:26:00   14                      And then he, you know, his ask was, to come

10:26:04   15   back to my phrase, and he said that he understands, and he

10:26:08   16   has a very important -- either a friend or a client, a man

10:26:14   17   named Vitaliy Khomutynnik and his wife Svitlana, and he

10:26:20   18   wanted to get them to attend the inauguration and have a nice

10:26:26   19   experience, have a VIP experience.

10:26:32   20   Q.      Okay.   And did you agree to assist Mr. Fuks in that?

10:26:35   21   A.      I did with the caveat that I said I can put together a

10:26:41   22   nice program for you with the help of, you know, various

10:26:44   23   people that I know.     It would be a private program, but I

10:26:49   24   said you need to start paying your bill.

10:26:51   25                      And he asked me, you know, he would ask me
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10:26:55    1   what the cost of the program was and then kind of calculate

10:26:59    2   that in his head it seemed and offered to start paying and

10:27:03    3   said:   I would pay $200,000.     And then he promised to make

10:27:07    4   further payments next year.

10:27:09    5   Q.      And what --

10:27:10    6                     The $200,000 is the --

10:27:10    7                     Strike that.

10:27:15    8                     Look at Exhibit 3, please.       Have you seen

10:27:21    9   Exhibit 3 before?

10:27:26   10   A.      I've seen it before, yes, during -- I mean, when I was

10:27:30   11   looking at exhibits, I mean, I know what it is.         I guess

10:27:34   12   confirmational wire.

10:27:36   13   Q.      And the $200,000 is the -- you're talking about right

10:27:40   14   now, is reference to Exhibit 3, payment to Odyssey?

10:27:46   15   A.      Yes.

10:27:46   16   Q.      And besides the -- if we go back to 2, besides the

10:27:54   17   200, in this invoice, was Odyssey owed any other money by Mr.

10:28:00   18   Fuks?

10:28:00   19   A.      Yes, yes, as per contract, as per contract, and there

10:28:06   20   was another contract which I couldn't locate.         That was the

10:28:10   21   one for the trip to Rome.

10:28:11   22   Q.      Can you give us an estimate of how much --

10:28:18   23   A.      Yes, it was exactly $65,000.

10:28:22   24   Q.      And has that ever been paid?

10:28:24   25   A.      No.
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10:28:30    1   Q.      Was Odyssey involved in assisting Mr. Fuks with the

10:28:33    2   inauguration?

10:28:35    3   A.      No, only by way of facilitating some payments, that's

10:28:40    4   it.

10:28:41    5   Q.      And can you describe what payments they made?

10:28:44    6   A.      Yes.    A payment of $40,000 to the Keelen Group, and

10:28:50    7   then a payment of $25,000 to Meadow Wood Management LLC, also

10:28:56    8   doing business as Meadow Wood PR.

10:29:01    9   Q.      And those were the two companies that were involved in

10:29:05   10   putting the program together for the inauguration?

10:29:08   11   A.      Yes, as was I personally.

10:29:13   12   Q.      Who owns Meadow Wood PR?

10:29:19   13   A.      Oksana Chernaykskaya (phonetically spelled).         There

10:29:24   14   may be other owners but Oksana is the -- either the sole

10:29:29   15   owner of the main principal.

10:29:30   16   Q.      And where is that company located?

10:29:32   17   A.      I believe it's registered either in Wyoming or

10:29:38   18   Montana, but it's located in Newport Beach.         It's basically a

10:29:41   19   small consulting company.      I think she shut it down.

10:29:44   20   Q.      Are you a principal in Meadow Wood PR?

10:29:51   21   A.      No.

10:29:54   22   Q.      And what did Meadow Wood PR do in relation to the

10:29:58   23   inaugural?

10:29:58   24   A.      Well, in relation to the Khomutynnik slash Fuks'

10:30:06   25   inaugural program, Oksana, in December, based on direction
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10:30:10    1   from Keelen and myself and perhaps others, would make phone

10:30:15    2   calls and due diligence and determine what would be the ideal

10:30:20    3   events for Vitaliy and Svitlana Khomutynnik.

10:30:25    4   Q.      Is Meadow Wood still active?

10:30:29    5   A.      I don't know.

10:30:35    6   Q.      And you mentioned the Keelen Group.        What is the

10:30:39    7   Keelen Group?

10:30:39    8   A.      Keelen Group is a small but respected lobby firm, a PR

10:30:44    9   lobby firm in Washington, D.C., mostly focusing on Republican

10:30:51   10   side of things, and its owned by, as I understand it, by Matt

10:30:57   11   and Jennifer Keelen, and I believe it now merged, I read a

10:31:04   12   press release it merged with another advocacy firm.

10:31:08   13   Q.      Are you a principal at the Keelen Group?

10:31:11   14   A.      No.

10:31:11   15   Q.      And what did the Keelen Group do in relations to the

10:31:17   16   inaugural program for Mr. Fuks?

10:31:19   17   A.      So, the Keelen Group presented various options, and we

10:31:24   18   approved some and rejected others and did further diligence.

10:31:29   19   One of the options, as I recall for some reason the Montana

10:31:36   20   delegation event was something that we liked.         They had an

10:31:39   21   event at their office which is a historic building with, you

10:31:44   22   know, a small group of people and a high ratio of

10:31:49   23   politicians.

10:31:49   24                     We -- we thought that was a -- a good fit.

10:31:51   25   And they also provided an interesting venue for the swearing
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10:31:55    1   in.    And if I may elaborate, in some ways, talking about

10:32:04    2   inauguration tickets is misleading.       Yes, there are some

10:32:07    3   events that have tickets, and there is the official swearing

10:32:12    4   in ceremony and there are official inaugural events, but then

10:32:17    5   you have various politicians, various embassies, various

10:32:21    6   states that have their own programs and their own events for

10:32:24    7   their constituents, for their donors.        And it's truly

10:32:30    8   overwhelming and that characterizes -- and I know I'm going

10:32:34    9   too fast -- and I know that characterizes, you know, all of

10:32:37   10   our inaugurations.

10:32:41   11                     So, it's a matter of being credentialed or a

10:32:45   12   matter of just being on the list, often you don't get actual

10:32:49   13   tickets per se, and the actual swearing in was --

10:32:55   14                     It's an interesting event, many of the others

10:32:58   15   are kind of open to a lot of people, and there is an energy

10:33:04   16   there, but you don't feel like you're treated in a special

10:33:08   17   way.

10:33:09   18                     What Matt Keelen had proposed, the

10:33:14   19   Carpenters' Union, they rented I think the fifth or sixth

10:33:18   20   floor in a mid rise that overlooked the actual inauguration,

10:33:22   21   and I would submit had the best view you could possibly have

10:33:25   22   of the ceremony, because you had really two other options.

10:33:29   23   One option was to be in the crowd with rain and porta

10:33:35   24   potties, and it was -- it's horrible, I thought, I mean I

10:33:38   25   shouldn't say that, but I think for people that consider
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10:33:41    1   themselves VIP, I think it would be not the most pleasant

10:33:45    2   experience.

10:33:45    3                     And the other one of course would be to stand

10:33:48    4   next to the President, and that's a very select group, and

10:33:51    5   it's virtually impossible to do that even for mega donors.

10:33:56    6   So, I thought it was truly unique experience.

10:33:58    7                     There were probably 70, 80 people.        There was

10:34:03    8   great food, and they had at deck.       I mean it felt like you

10:34:07    9   were, you know, overlooking the whole thing, and it was a

10:34:10   10   close-up.

10:34:10   11                     So that's something that Matt offered up to

10:34:13   12   me, and invited a -- after I confirmed and paid for it -- for

10:34:16   13   a -- well, Odyssey paid for it -- for Vitaliy and Svitlana.

10:34:23   14   I was able to bring a few friends as well just as my guests.

10:34:27   15   Q.      Did Mr. Fuks also attend that?

10:34:29   16   A.      Yes, he did.

10:34:30   17   Q.      And did he ever tell you about his displeasure in

10:34:36   18   attending that?

10:34:36   19   A.      He did multiple times.

10:34:40   20   Q.      And what did he say the problem was?

10:34:42   21   A.      He said various things.      He said the problem was that

10:34:47   22   the Texas Ball wasn't the one where Trump was, and that, you

10:34:54   23   know, besides expletives he said he was going to shoot me in

10:34:59   24   the face and blow up my family.       He was very colorful.

10:35:02   25   Q.      I just want you to center in on the inaugural at the
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10:35:11    1   Carpenters' Union building.      Did he tell you a displeasure

10:35:17    2   when he was there about that event?

10:35:19    3   A.      No.

10:35:21    4   Q.      And can you briefly describe what you did for Mr. Fuks

10:35:27    5   regarding the inaugural?

10:35:29    6   A.      Well, what I did is, after he -- after we received the

10:35:34    7   payment, you know, I contact various people.         I contacted

10:35:38    8   Kevin McCarthy's office and Ed Royce's office, and I

10:35:42    9   contacted Matt and a man named Monti Warner (phonetically

10:35:46   10   spelled) and other people in D.C. and I said I want to create

10:35:50   11   a private program, you know, if somebody can truly, you know,

10:35:52   12   take one of these people as their guest, and you know, the

10:35:55   13   chance was very slim, into an official event, you know, I

10:35:59   14   said let's take a look at that.

10:36:02   15                     But I -- I focused on creating a program that

10:36:05   16   would be personal, where there would be access, and there

10:36:09   17   would be a good atmosphere as opposed, you know, to something

10:36:14   18   where you would just have a lot of noise.

10:36:16   19                     Because I have some cultural awareness and

10:36:22   20   understand what, you know, Vitaliy Khomutynnik is considered

10:36:24   21   a billionaire in -- in Ukraine, and that's a -- that's a big

10:36:26   22   deal there.    And, you know, I felt that, you know, that I --

10:36:31   23   I knew what he would enjoy.      And I also, to be completely

10:36:35   24   frank, wanted to see if I can, you know, establish some

10:36:38   25   relationship with him because I've heard positive things
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10:36:41    1   about him.

10:36:42    2                     So, I -- I did mostly coordinating, in

10:36:45    3   coordinating with, you know, all the people that I described,

10:36:48    4   and with Oksana, and -- and we put together what I thought

10:36:55    5   was a pretty decent program.

10:36:57    6   Q.      And did Mr. Fuks ever pay you for your services for

10:37:02    7   the inaugural?

10:37:03    8   A.      No.

10:37:04    9   Q.      Anyone pay you for your services?

10:37:08   10   A.      No.

10:37:09   11   Q.      Did you ever ask for payment from Mr. Fuks?

10:37:20   12   A.      No.

10:37:21   13   Q.      And why not?

10:37:22   14   A.      Not for that, because our arrangement was that he

10:37:27   15   would start paying, and this would be something that I would

10:37:32   16   do for him, for him to start paying what he owed to Odyssey.

10:37:35   17   Q.      If he paid you the $200,000 on the Odyssey bill, you

10:37:39   18   agreed to do work on the inauguration?

10:37:41   19   A.      Yes.   I said I'll do my best to come up with a good

10:37:45   20   program for Vitaliy and Svitlana.       He was -- initially he was

10:37:50   21   a facilitator.    It wasn't clear he was coming, then he said

10:37:56   22   he would be.

10:37:57   23   Q.      Can you look at Exhibit 5, please.

10:38:10   24   A.      Yeah, I see it.

10:38:12   25   Q.      Have you seen it before?
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10:38:14    1   A.      Yes.

10:38:16    2   Q.      And that is an e-mail you sent?

10:38:20    3   A.      Yes.

10:38:21    4   Q.      And who did you send it to?

10:38:23    5   A.      To Matt Keelen.

10:38:24    6   Q.      And can you describe why you sent it.

10:38:29    7   A.      I believe I wanted for him to see -- to fit it into

10:38:34    8   what he was doing and to show him that these three people --

10:38:37    9                     At that point I knew that Mr. Fuks wanted to

10:38:41   10   attend some of these things, or I -- I sent it to him -- so I

10:38:46   11   purchased three tickets for them.       These were VIP tickets,

10:38:50   12   and it looks like they were $2500 per ticket for the Texas

10:38:55   13   ball.

10:38:55   14   Q.      And who generally would be at a Texas ball

10:38:58   15   inauguration?

10:38:59   16   A.      Generally each state had its -- would have its own,

10:39:04   17   and generally would be the -- the people from that state that

10:39:09   18   are, you know, pro President.       And there are some states,

10:39:15   19   depending on the inauguration, that are high profile.

10:39:20   20                     Here in New York and Texas, there were

10:39:22   21   probably others that stood out because there was a -- a talk

10:39:25   22   of the President being there, and they were -- they were

10:39:30   23   more -- more -- uh more prominent.       And we determined at that

10:39:35   24   time -- again, almost five years ago -- that this was --

10:39:38   25   would be a good fit, as part of the overall five day -- five
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10:39:42    1   or six-day program.

10:39:43    2   Q.      Do you specifically remember any of the congressmen or

10:39:50    3   senators that attended this?

10:39:52    4   A.      I didn't attend it, but I -- I'm assuming that Ted

10:39:58    5   Cruz, I'm assuming that, you know, various -- virtually all

10:40:01    6   of the Republican politicians from Texas attended.          I

10:40:06    7   believe -- I'm not sure, but I believe Mike Pompeo was there

10:40:10    8   as well.   And the key thing was doing the VIP, you know, at

10:40:14    9   all of these events.

10:40:16   10                  MR. HAMILTON:   Your Honor, request to move Exhibit

10:40:19   11   5 into evidence.

10:40:19   12                  THE COURT:   Any objection?

10:40:20   13                  MR. LOMAS:   No objection.

10:40:21   14                  THE COURT:   All right, 5 is admitted.

10:40:24   15                  (Exhibit No. 5 received in evidence.)

10:40:25   16   BY MR. HAMILTON:

10:40:26   17   Q.      Can you look at Exhibit 6, please.

10:40:29   18   A.      Sure.

10:40:38   19   Q.      Have you seen Exhibit 6?

10:40:40   20   A.      Yes.

10:40:40   21   Q.      And is that an e-mail you sent?

10:40:42   22   A.      Yes, yes, and I believe that Matt told me that I could

10:40:47   23   get a discount by contacting whoever the person was that was

10:40:51   24   involved, and they obviously said no.

10:40:56   25   Q.      Do you know an individual named Chris Keleher
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10:41:00    1   (phonetically spelled), that's referenced here?

10:41:02    2   A.      No, no.    I just contacted him based on Matt's

10:41:05    3   referral, and I wanted to apprise Matt of the fact that I

10:41:08    4   tried and I was told that, you know, it -- it is what it is.

10:41:35    5                  MR. HAMILTON:   Your Honor, request to move Exhibit

10:41:39    6   6 in evidence.

10:41:40    7                  MR. LOMAS:   No objection.

10:41:42    8                  THE COURT:   All right, 6 is admitted.

10:41:43    9                  (Exhibit No. 6 received in evidence.)

10:41:44   10   BY MR. HAMILTON:

10:41:45   11   Q.      I'll have you look at Exhibit 7 now, please.

10:41:48   12   A.      Okay.

10:41:48   13   Q.      Have you seen Exhibit 7 before?

10:41:51   14   A.      Yes.

10:41:52   15   Q.      And can you describe what Exhibit 7 is, please.

10:41:58   16   A.      Exhibit 7 is communication from Matt Keelen to me,

10:42:06   17   that asked about the payments for another client that I --

10:42:08   18   that he had worked on, unrelated, and also asked for payments

10:42:14   19   for inaugural that he did for Vitaliy, Svitlana and I guess

10:42:24   20   Fuks.

10:42:25   21   Q.      Did you ever pay Mr. Keelen for the inaugural work?

10:42:29   22   A.      I personally didn't.     Odyssey did.

10:42:32   23   Q.      And how much did they pay him?

10:42:34   24   A.      40,000.

10:42:37   25   Q.      Was there eventually a program put together for Mr.
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10:42:59    1   Fuks and his guests?

10:43:00    2   A.      Yes, eventually, yes.

10:43:02    3   Q.      Okay.   And can you just briefly describe it to me.

10:43:05    4   A.      Initially, Mr. Fuks had sent me a copy of the official

10:43:13    5   inaugural program, if I could just preface everything with

10:43:17    6   that, and I had explained to him that some of the events may

10:43:21    7   be accessible but fundamentally I circled that it said that

10:43:25    8   no foreigners are allowed unless they're bona fide guests,

10:43:28    9   and I have sent it to him I believe via WhatsApp and maybe

10:43:34   10   some other ways, and then he came back and said that he

10:43:38   11   wanted to attend an event with Trump because his friends

10:43:41   12   there would walk him over to Trump, and he would talk to him

10:43:45   13   and get pictures, et cetera, et cetera.

10:43:47   14                     And he asked me about pictures separately if

10:43:50   15   there is a way to do it, and I said not during the

10:43:54   16   inauguration, it would be insane, I mean it's possible but

10:43:57   17   there's no way to actually set it up to allocate time for it

10:44:01   18   that would -- would be Herculean task.

10:44:03   19                     And then based on that we would send him

10:44:06   20   drafts, one or two drafts of the program that ultimately

10:44:09   21   became the program for Vitaliy and Svitlana, and I think

10:44:17   22   that's a more accurate way of describing it.         Again, Mr. Fuks

10:44:22   23   was somebody who was arranging it, if you will.

10:44:23   24                     So, describing the program, it was -- as I

10:44:25   25   said before, there was a New York event.        There was some
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10:44:28    1   conventional events where we attempted to have a VIP angle to

10:44:32    2   them or some angle that would be more personal, and there

10:44:36    3   were events that were maybe not well publicized but were

10:44:42    4   small, and had a lot of interesting people, either major

10:44:43    5   donors or people that are interested in Eastern Europe or,

10:44:49    6   you know, or are politician so that you know, Vitaliy and

10:44:55    7   Svitlana could snap pictures.       I -- I --

10:44:58    8                      Fuks told me that's really all they wanted to

10:44:59    9   do, and I said that's really all you can do, because you

10:45:00   10   can't really do much.     It's irrational to try to do something

10:45:04   11   that's substantive during those events.

10:45:06   12   Q.      And did you ultimately provide Mr. Fuks with the

10:45:11   13   proposed program of the inauguration that everyone prepared

10:45:15   14   for him and his guests?

10:45:18   15   A.      Yes.    I believe it was sent to him multiple times from

10:45:30   16   both Oksana and myself.      I don't know if Matt contacted him

10:45:36   17   directly.

10:45:42   18   Q.      I'm going to have you look at Exhibit 8, please.

10:45:52   19   A.      Okay.

10:45:53   20   Q.      Have you seen this before?

10:45:54   21   A.      Yes.

10:45:54   22   Q.      And how did you receive it?

10:45:56   23   A.      By way of -- looking for my name, it looks like I

10:46:03   24   received the e-mail, but I'm not seeing my e-mail here,

10:46:07   25   unless I was -- oh, this is BCC.       I could be copied on this.
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10:46:12    1   It was -- it was an invitation to a -- an event that Matt put

10:46:16    2   together at their office, which is, like I said, it was a

10:46:20    3   historic building.

10:46:22    4   Q.       And would you consider -- looking at page 2, would

10:46:26    5   this be a VIP event?

10:46:29    6   A.       Yes.

10:46:31    7   Q.       And can you describe to us who -- who would be at this

10:46:35    8   event.

10:46:35    9   A.       I -- I -- I can, for multiple reasons.       I also recall

10:46:41   10   attending it.    Umm -- umm -- it was certainly Matt's clients

10:46:49   11   and staff, and it was quite a lot of senators and

10:46:54   12   congressmen, I would say at least eight or nine people that

10:46:57   13   were close to him, and it was a small, intimate event

10:47:02   14   that's -- that's rare to be able to get that for people that,

10:47:06   15   you know, that relish being amongst -- umm -- our

10:47:11   16   politicians.

10:47:12   17   Q.       Was this event also included in the program prepared

10:47:17   18   for Mr. Fuks?

10:47:19   19   A.       Yes.   As I recall.

10:47:27   20   Q.       Can you please review Exhibit 9.

10:47:57   21                      Have you seen Exhibit 9 before?

10:47:59   22   A.       Yes.

10:47:59   23   Q.       And when did you first see it?

10:48:01   24   A.       It's a program that Matt Keelen initially prepared as

10:48:10   25   a skeleton, and we -- we revised it until it was finalized
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10:48:14    1   into this, I believe that's the final product, and -- and we

10:48:18    2   sent it to Mr. Fuks for -- it was for two people, Vitaliy and

10:48:26    3   Svitlana.

10:48:27    4   Q.        Who prepared the actual Exhibit 9?

10:48:32    5   A.        I can't say it was one person because initially there

10:48:36    6   was a draft prepared by Matt's office, perhaps by Matt

10:48:39    7   himself, and then we would take things out and put other

10:48:43    8   things in.    So, I would say that I prepared the final

10:48:46    9   version, whatever the final product was that was sent was

10:48:49   10   finalized or reviewed or edited by me.

10:48:53   11   Q.        And who sent Exhibit 9 to Mr. Fuks?

10:48:58   12   A.        I know that I did for certain.     I believe that Oksana

10:49:04   13   probably did as well.

10:49:06   14   Q.        And how did you send it to Mr. Fuks?

10:49:08   15   A.        Via e-mail, telegram, maybe there were other -- I mean

10:49:16   16   I would -- I would send certain things to him through several

10:49:19   17   channels to create redundancy so that he would look at it and

10:49:24   18   respond because often he wouldn't or he would respond late.

10:49:29   19   So to get his attention, that's what I would do and follow up

10:49:34   20   with the call.

10:49:34   21   Q.        Okay.   And were all these events to Mr. Fuks and his

10:49:37   22   two guests to attend while they were back there?

10:49:39   23   A.        I -- I would say that they were all for his two

10:49:43   24   guests.    He kind of, you know -- he showed up with them and

10:49:48   25   said he would be attending whatever events he could attend,
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10:49:52    1   but it was really for them.

10:49:53    2   Q.      And were there any events that had been planned that

10:49:59    3   are not listed on Exhibit 9?

10:50:02    4   A.      Yes, I have a clear recollection that there were

10:50:06    5   additional events which I proposed as alternatives or as

10:50:13    6   better options that became available, and I -- I told him

10:50:16    7   that there should be some flexibility because something

10:50:20    8   interesting could come up, you know, we kind of -- we were --

10:50:23    9   it was known that we were looking for interesting

10:50:26   10   opportunities during that week.

10:50:27   11   Q.      After you sent this to Mr. Fuks, did he respond?

10:50:35   12   A.      I don't recall him responding via text, I mean he may

10:50:40   13   have acknowledged it and said okay, but he responded when I

10:50:44   14   called him, and, you know, seemed okay with the program.           He

10:50:50   15   didn't object to anything.

10:50:51   16   Q.      He acknowledged he had received the program?

10:50:56   17   A.      Yes, he acknowledged it, it was kind of:        Thanks, and

10:50:58   18   I wish I would have gotten there earlier, but thanks.

10:51:02   19   Q.      And can you give us an estimate of the date when this

10:51:06   20   conversation took place?

10:51:06   21   A.      I believe either late December, early January.

10:51:10   22   Q.      Okay.   And what day was the program supposed to start

10:51:21   23   for Mr. Fuks and his guests?

10:51:23   24   A.      It was supposed to start I think the 14th and 15th.

10:51:26   25   Q.      Okay, when was it going to end?
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10:51:27    1   A.      I think 21st -- or the 20th -- 21st -- or 20th --

10:51:34    2   perhaps there was something on the 21st.        So it was like a

10:51:34    3   five, six-day program.

10:51:37    4   Q.      Okay.   And what day did Mr. Fuks and his guests

10:51:41    5   arrived in Washington, D.C.?

10:51:43    6   A.      Well, it was -- it was -- it was strange even for me,

10:51:49    7   because they went radio silent.       At that point I had

10:51:52    8   Vitaliy's contact information as well, and his, you know, his

10:51:58    9   and Svitlana's passports.      And I reached out to them, and we

10:52:00   10   assumed, at some point, they may not be coming at all, and

10:52:04   11   I -- people were kind of nervous, and I said, you know,

10:52:08   12   it's -- it's -- it's their thing, you know, we did our part.

10:52:11   13                     And then Vitaliy was the first one that

10:52:13   14   reached out to me, and he sent me text and he said:          We're

10:52:17   15   here, we arrived.     And that was on the 19th and late

10:52:22   16   afternoon.

10:52:23   17                     And, you know, I did not know what hotel they

10:52:26   18   were at at that time.     I encouraged Fuks to get a guide and

10:52:31   19   get to their demonstrations, it's chaotic, and he said we

10:52:38   20   don't need anything.

10:52:39   21                     So, as far as I know, they arrived on the --

10:52:42   22   sometime in the afternoon on the 19th of January 2017.

10:52:46   23   Q.      Did he explain to you why he and his guests were late?

10:52:50   24   A.      No, he did not.

10:52:52   25   Q.      Did he tell you where he and his guests were staying?
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10:52:55    1   A.      No, he deliberately did not.       I asked him.    Wouldn't

10:53:00    2   tell me.

10:53:00    3   Q.      And how long, to your knowledge, did he stay in D.C.?

10:53:05    4   A.      My understanding was that he stayed in D.C. -- he

10:53:13    5   and the Khomutynniks.     They were together -- that they stayed

10:53:15    6   in D.C. the night of the 19th, the night of the 20th, and

10:53:20    7   they left the morning of the 21st.       Yes.   That is correct.

10:53:24    8   Q.      And how did you come by that knowledge?

10:53:26    9   A.      As I said, they arrived on the 19th, and they attended

10:53:31   10   the Texas Ball that Mr. Fuks emphasized.        It was outside of

10:53:36   11   D.C., I guess his point was that it's not good.

10:53:40   12                     And then in the morning they attempted to go

10:53:46   13   to the -- they missed an event in the morning, I believe, and

10:53:52   14   they attempted to go to the Carpenters' Union swearing-in

10:53:59   15   ceremony.    But the problem was that Mr. --

10:54:01   16                     And I'm digressing now.       But just very

10:54:04   17   quickly.    Mr. Fuks was very angry.     He was upset about the

10:54:07   18   Texas Ball.    And -- and then -- I'll go back to answering

10:54:11   19   your question -- and then I saw them the last night of the

10:54:14   20   20th, and that was at the Trump Hotel, and I invited them to

10:54:20   21   attend a -- a -- a party there for Kevin McCarthy who was the

10:54:27   22   minority whip, and Trump was supposed to make an appearance.

10:54:30   23   He did not, but I introduced Vitaliy to Chairman Royce, Ed

10:54:39   24   Royce was at the time chairman of the foreign affairs

10:54:39   25   committee.
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10:54:42    1                     I introduced him to Kevin McCarthy, to Greg

10:54:45    2   Gardener.   There were quite a lot of prominent politicians.

10:54:48    3   And Vitaliy, you know, chatted with them, he speaks some

10:54:52    4   English and took a lot of pictures, he and Mr. Fuks, and

10:54:54    5   there were also some famous football players.         Again, I

10:54:58    6   digress.    If I can come back to that.

10:55:02    7                     Then the next morning I received a text from

10:55:05    8   Vitaliy saying:    Thank you.    We left.

10:55:07    9                     And then from Fuks, not a "thank you" but

10:55:12   10   "we're gone."    And then he again expressed that he was very

10:55:16   11   upset with the fact that -- the day and a half that they were

10:55:17   12   in D.C. that things didn't work out the way he wanted.

10:55:21   13   Q.      Did Vitaliy or Svitlana Khomutynnik ever express

10:55:32   14   dissatisfaction with the program?       To you.

10:55:35   15   A.      No, no, they didn't.     The only subsequent --

10:55:36   16                     We had a few exchanges with Vitaliy.        He

10:55:42   17   never expressed anything.      He said at one point on the phone

10:55:43   18   that he wanted to invite McCarthy to Ukraine and discuss the

10:55:49   19   logistics of that.     And then as my conflicts with Mr. Fuks

10:55:53   20   escalated, he made a demand via text I believe through

10:55:58   21   Telegram that upset me greatly, and I contacted

10:56:05   22   Mr. Khomutynnik, and I told him that if you want more, you're

10:56:08   23   going to get it, and he called me and he said:         I have no

10:56:10   24   issues with you, and I was happy with everything, and please

10:56:13   25   keep me out of your fight with Mr. Fuks.
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10:56:18    1                      So to -- to -- to answer your question

10:56:20    2   directly -- directly, again, he never complained.          But he may

10:56:24    3   have complained to Mr. Fuks, you know, I don't know.          It --

10:56:27    4                      I don't know what Mr. Fuks promised him.        I

10:56:39    5   can guess.

10:56:40    6                MR. LOMAS:   Your Honor, move to strike the part of

10:56:42    7   the testimony that is referring to statements made by Mr. --

10:56:47    8   by Vitaliy as hearsay.     That was not part of the -- the

10:56:50    9   question.    That's why I could not object to the question.

10:57:16   10                THE COURT:   All right, any response?

10:57:17   11                MR. HAMILTON:    No, Your Honor.

10:57:18   12                THE COURT:   All right, sustained.      Motion to

10:57:20   13   strike is granted with respect to statements by Mr. Vitaliy.

10:57:30   14   BY MR. HAMILTON:

10:57:30   15   Q.       When Mr. Fuks spoke with you about his displeasure

10:57:34   16   with the events, what day did he first start?

10:57:36   17   A.       It -- it started in the morning of the 20th.

10:57:40   18   Q.       Okay, what did he specifically tell you he was upset

10:57:45   19   about?

10:57:46   20   A.       He was upset, specifically --

10:57:50   21                      I believe he was upset that the -- the first

10:57:53   22   event that he attended, although he came at the very end of

10:57:57   23   the -- this program, and it was for Vitaliy, but I guess

10:58:01   24   Vitaliy may have been also upset at the time.         He was upset

10:58:04   25   with the -- the Texas Ball.
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10:58:06    1                       And what upset him the most --

10:58:11    2                       There were two things.    One is, he said this

10:58:15    3   is not the ball that my friends attended with Trump, and two

10:58:20    4   that nobody -- I don't know who was there -- but nobody

10:58:20    5   guided him and made introductions to VIP politicians there,

10:58:24    6   and -- and there was -- you know, it's not what he expected.

10:58:38    7   Q.      At that time did he make any threats against you?

10:58:41    8   A.      Umm.    At that time, no.

10:58:42    9   Q.      And how did you respond to Mr. Fuks in that

10:58:44   10   conversation?

10:58:45   11   A.      I called him, and he wouldn't pick up the phone, and

10:58:51   12   then I talked to Vitaliy.      Vitaliy said that he's very upset,

10:58:56   13   and they don't know if they want to attend the Carpenters'

10:59:00   14   Union swearing-in in the building because Fuks believed that

10:59:07   15   this is all a scam, and he is livid, and Vitaliy was almost

10:59:14   16   apologizing for Mr. Fuks.

10:59:15   17   Q.      At that time did he attend the events, the -- the

10:59:19   18   Texas Ball?

10:59:19   19   A.      Yes.

10:59:20   20   Q.      And I believe you testified earlier that he did

10:59:23   21   eventually attend the gala in the Carpenters' Union; is that

10:59:31   22   correct?

10:59:31   23   A.      Yes, yes.    I wouldn't characterize it as a gala.        It

10:59:35   24   was probably the most unique opportunity to watch the

10:59:38   25   swearing in that I can think of, other than being next to the
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10:59:42    1   President-elect.

10:59:42    2   Q.      What was the view?     How far were you from the

10:59:46    3   inauguration?

10:59:46    4   A.      I mean, you -- you were -- it's hard to estimate, but

10:59:50    5   I would say, qualitatively speaking, you were looking right

10:59:56    6   at the -- where the President was taking the oath, and

11:00:01    7   underneath were thousands of people, you know, so, it was --

11:00:04    8   it was an awesome view.

11:00:06    9                      And you -- you weren't in the rain.       There

11:00:10   10   was great food that was catered, and there wasn't -- there

11:00:14   11   was probably less than a hundred people.        I would say maybe

11:00:16   12   even 60 or so many people.

11:00:19   13   Q.      Would you consider that a VIP event?

11:00:21   14   A.      Definitely.

11:00:21   15   Q.      And why would you consider it a VIP event?

11:00:24   16   A.      Because it's -- it's a unique opportunity, you know,

11:00:27   17   in a private setting to watch the swearing in.         Your only

11:00:33   18   real other option would be to do it with -- in the rain in

11:00:38   19   the grass with thousands of people and demonstrators.

11:00:40   20                      And I can tell from experience that elite

11:00:46   21   donor clubs, some people, you know, are passionate enough to

11:00:50   22   where they want to have the physical, the tactile experience.

11:00:53   23   But a lot of them end up watching the swearing in, like, the

11:00:57   24   Four Seasons or someplace in the ballroom, you know, drinking

11:01:00   25   mojitos and watching it on screens because, you know, for
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11:01:05    1   them it's a more comfortable experience, perhaps more sterile

11:01:09    2   but more comfortable.      So, this was truly unique, I thought.

11:01:13    3   Q.       Did you ever have any communications with Mr. Fuks

11:01:18    4   about meeting President Trump?

11:01:20    5   A.       Yes, yes.

11:01:22    6   Q.       And what did you discuss?

11:01:24    7   A.       He asked me initially what would be the possibility

11:01:29    8   for him, Vitaliy and Svitlana to meet to have a photo op, and

11:01:37    9   I told him that -- that during the inauguration is --

11:01:40   10   especially for them -- that would be the worst time to try to

11:01:44   11   do it.

11:01:45   12                        So, that was -- that's kind of what I

11:01:49   13   explained to him.      And he came back and said:     Well, what if

11:01:52   14   we really wanted to do it, and you know, asked me, you know,

11:01:55   15   how could that happen?      And -- and I remember explaining to

11:01:59   16   him that, I said, first of all, it could be extremely

11:02:04   17   expensive, even if it's possible.       Secondly, I always

11:02:06   18   emphasized to him that there were certain rules, and that

11:02:10   19   it's very hard to control, you know, when it would happen and

11:02:13   20   if it would happen.      So, I tried to discourage him, and then

11:02:18   21   it seemed like he was set on attending certain events where

11:02:18   22   somebody that he knows from New York would walk him up to the

11:02:18   23   President.

11:02:21   24                        I apologize.

11:02:25   25                        It -- it seemed like in -- in our discussions
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11:02:30    1   that I -- I sensed maybe now, in hindsight, that he became

11:02:35    2   focused, obsessed with -- uh -- attending certain events or

11:02:41    3   an event where somebody could walk him up to Trump.

11:02:46    4   Q.      Did you ever have any discussions with Mr. Fuks

11:02:50    5   regarding what events or parties he would be allowed to

11:02:54    6   attend as a foreigner?

11:02:56    7   A.      Yes.    I attempted -- uh -- multiple times, and -- and

11:03:03    8   I thought at some point to explain to him that he could not

11:03:08    9   attend the official inaugural program as a bona fide guest

11:03:13   10   because nobody would agree to be a passthrough form him.           At

11:03:18   11   least most people that I know wouldn't even consider it.           And

11:03:19   12   most people would not want to take him as a guest because

11:03:23   13   they'd rather take their spouse or -- or, you know, another

11:03:26   14   family member.    And since there would be no compensation for

11:03:30   15   that, we -- we would be out of luck.

11:03:36   16   Q.      After Mr. Fuks and his guests left Washington, D.C.,

11:03:43   17   where did he go?

11:03:44   18   A.      I can only tell you what they -- what he and Vitaliy

11:03:50   19   told me, that they went to Aspen.       Actually, several people

11:03:54   20   from Ukraine told me that, that they were in Aspen.

11:03:58   21   Q.      Did he himself tell you that?

11:04:00   22   A.      Mr. Fuks did, yes, and Vitaliy told me that via a

11:04:05   23   call or text.

11:04:05   24   Q.      And what was the purpose of the trip to Aspen?

11:04:07   25   A.      To ski.
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11:04:08    1   Q.      Do you know how long they were there?

11:04:10    2   A.      I don't.

11:04:11    3   Q.      And when Mr. Fuks and his guests left, were there any

11:04:16    4   other events still on the program for them to attend?

11:04:19    5   A.      I believe there were still at least one full day or

11:04:25    6   half a day, as I recall.      But, again, certain opportunities

11:04:28    7   would come up, and the way it was positioned, if there was

11:04:33    8   something interesting, I recall there were few opportunities

11:04:37    9   that they missed both when they left and before they arrived.

11:04:41   10   But they arrived towards the end of the program.

11:04:51   11   Q.      Did he ever explain to you why he left so soon?

11:04:55   12   A.      No.    I -- I sensed that maybe part of it was that he

11:05:03   13   was very angry, but I think he planned only being --

11:05:06   14                      Regardless, I think in his mind, for some

11:05:08   15   reason, they only planned to arrive for one day and maybe his

11:05:13   16   goals were not consistent with information I gave him.

11:05:23   17   Q.      And after he left, when was the next time you

11:05:26   18   communicated with Mr. Fuks?

11:05:29   19   A.      There were -- uh -- a number of -- uh --

11:05:37   20   communications end of January that mostly consisted of

11:05:44   21   threats of all sorts of -- from taking legal action to

11:05:48   22   violence.     And then at one point I communicated to him that

11:05:53   23   we're done talking.     I'm not going to communicate with him

11:05:57   24   anymore.

11:06:07   25   Q.      And how many times did he threaten you?
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11:06:09    1   A.       What I considered direct threats, with violence as

11:06:15    2   opposed to just expletives and emotional outburst, via text,

11:06:22    3   I would say on two occasions.

11:06:27    4   Q.       And what did he say?

11:06:28    5   A.       He said, in rough translation, will be:       I'll blow up

11:06:34    6   your face.    I'll below you up.     Shoot you in the face.

11:06:39    7                     Those were the comments and texts.

11:06:41    8   Q.       Were you concerned for your safety?

11:06:43    9   A.       Initially, no, and then yes.

11:06:46   10   Q.       And why was that?

11:06:48   11   A.       I started doing some diligence on Mr. Fuks, and I

11:06:52   12   talked to people that knew him well, and they told me that

11:06:57   13   he's capable and he's volatile, that -- they gave me a

11:07:03   14   profile of who he is, and I, you know, I blamed myself for

11:07:07   15   not looking into who he is further.

11:07:11   16                     And I have some level of tolerance for some

11:07:15   17   of these business people from Eurasia and Eastern Europe and

11:07:20   18   the Caucasus, and then I became more concerned recently when

11:07:24   19   I learned that he actually put a hit on me, and there is a

11:07:27   20   contract to kill me.     So, that's why I'm -- you know, I hire

11:07:31   21   security when I travel, and I'm very careful and always

11:07:36   22   armed.

11:07:39   23   Q.       And as we sit here today, has -- has he ever explained

11:07:45   24   to you why he was so upset about the program, to you,

11:07:48   25   personally?
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11:07:49    1   A.      Other than the reference to not being at events where

11:07:54    2   he could meet Trump, no.      But I believe the inauguration is a

11:07:59    3   red herring in -- in several ways, mainly I believe that he's

11:08:05    4   upset because he attributes his visa problems in US with me,

11:08:11    5   somehow ties it to me, and -- and I think that theory was

11:08:16    6   amplified in Ukraine, and it upset him and offended him.

11:08:30    7   Q.      And did you ever tell Mr. Fuks you would return any

11:08:33    8   part of the $200,000 BEM money paid?

11:08:37    9   A.      No.

11:08:37   10   Q.      Since the -- they left the inauguration, have you

11:08:41   11   spoken to Mr. Khomutynnik?

11:08:44   12   A.      I spoke with Khomutynnik several times since they left

11:08:50   13   the inauguration.     Once, as I pointed out, was when I

11:08:55   14   received what I considered a threat from -- from both of

11:09:00   15   them, and that's when he responded.       And I think that was

11:09:04   16   stricken, but that's when he responded to me.

11:09:08   17                     Another time was prior to that.       I think it

11:09:12   18   was immediately after the inauguration where he asked me what

11:09:15   19   would it take to arrange a Cardelle (phonetically spelled),

11:09:20   20   that's a congressional trip.      I mean he didn't ask that

11:09:22   21   question, but that's what he wanted, to Ukraine, and have it

11:09:25   22   spearheaded by Kevin McCarthy, because they had a great

11:09:30   23   conversation at the McCarthy event, and I -- I introduced

11:09:34   24   him.   And then Mr. Khomutynnik's press service immediately

11:09:38   25   put out various press releases in Ukraine.
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11:09:41    1                 MR. LOMAS:   Again, the question -- objection, and

11:09:42    2   move to strike the statements from Mr. Vitaliy.         The question

11:09:47    3   was:   Have you spoken with him?      And then he launched into,

11:09:52    4   you know, all these details that are -- comments that are of

11:09:57    5   course hearsay.

11:09:57    6                 THE COURT:   All right, so you're moving to strike

11:09:59    7   the entire answer?

11:10:00    8                 MR. LOMAS:   Well, he starts out with and said:       I

11:10:02    9   spoke with him several times since they left the

11:10:04   10   inauguration.    Do not move to strike that.       I move to strike

11:10:08   11   the remainder of the response.

11:10:09   12                 THE COURT:   All right, any response?

11:10:10   13                 MR. HAMILTON:    No, Your Honor.

11:10:11   14                 THE COURT:   All right, the motion is granted.       The

11:10:14   15   objection is sustained.       The balance of the answer after:      "I

11:10:22   16   spoke with him several times since they left the

11:10:26   17   inauguration" is stricken.

11:10:35   18   BY MR. HAMILTON:

11:10:35   19   Q.        As we sit here today, is Odyssey still owed any moneys

11:10:40   20   for the -- the Kernes project besides the -- I believe you

11:10:46   21   said 65,000 for the trip to Rome?

11:10:48   22   A.        Yes, it is.   The -- the monthly retainer indicated in

11:10:56   23   a contract, which I believe was 50,000 per month for several

11:11:02   24   months.

11:11:02   25   Q.        Do you have an estimate how much Odyssey is owed?
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11:11:06    1   A.      I would say at least four months of work and the

11:11:11    2   50,000 that was part of the initial retainer.         So, I would

11:11:18    3   say roughly about 300,000 would be my estimate.

11:11:30    4                  MR. HAMILTON:    Your Honor, I don't think I moved

11:11:32    5   into evidence Exhibit 9.       At this time I'd try to -- ask the

11:11:36    6   Court to move it into evidence.

11:11:40    7                  THE COURT:    Any objection?

11:11:41    8                  MR. LOMAS:    No objection.

11:11:42    9                  THE COURT:    Nine is admitted.

11:11:44   10                  (Exhibit No. 9 received in evidence.)

11:11:47   11   BY MR. HAMILTON:

11:11:48   12   Q.      Mr. Vanetik, I'll have you turn to Exhibit 13, please.

11:11:56   13   And I'd have you turn to page 4.       It's where you're -- it's

11:12:04   14   not the translation, it's -- it's where your texts are.

11:12:10   15   A.      Let me see, okay.

11:12:12   16   Q.      And you see there is a March 20th on it?        2016?

11:12:20   17   A.      No.

11:12:20   18   Q.      At the top of the page, it should say:        "Hello Pavlo.

11:12:27   19   Send us your e-mail.        Yuri."

11:12:32   20   A.      Oh, yes, I see it, yes, yes, I see it.

11:12:33   21   Q.      Okay, and down in the middle of the page it says:

11:12:34   22   March 20, 2016.     Do you see this?

11:12:38   23   A.      Yes.

11:12:38   24   Q.      Just looking at this page of Exhibit 13, what is this?

11:12:41   25   If you know.
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11:12:42    1   A.      Yes, it's my communication via some medium, regarding

11:12:50    2   us getting an engagement for Fuks for the Kerness human

11:12:57    3   rights project.

11:12:57    4   Q.      And can you identify the medium?

11:13:04    5   A.      I can't.    It could have been -- I believe it could

11:13:08    6   have been either through WhatsApp or Signal or Telegram.

11:13:13    7   Q.      Did you print this out yourself?

11:13:16    8   A.      Yes.

11:13:16    9   Q.      And when did you do that?

11:13:18   10   A.      I believe I did that sometime around 2017, sometime

11:13:27   11   after the inauguration fiasco.

11:13:32   12   Q.      And the -- so, the March 20, 2016 text where you say:

11:13:41   13   "Hi Pavlo.     Engagement K was e-mailed," was that exhibit 10

11:13:47   14   that we looked at earlier?

11:13:51   15   A.      Um -- I think -- I think it was the initial

11:13:54   16   engagements.     No, I think it was the initial engagement for

11:13:58   17   the 65,000.

11:13:59   18   Q.      For the Rome meeting.

11:14:00   19   A.      Yes.    Yes.   Because the -- the bigger contract came a

11:14:06   20   little bit -- a little bit down the road.

11:14:12   21                  MR. HAMILTON:   Your Honor, we request to move

11:14:15   22   Exhibit 13 into evidence.

11:14:17   23                  THE COURT:   Any objection?

11:14:18   24                  MR. LOMAS:   No objection.

11:14:19   25                  THE COURT:   Thirteen is admitted.
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11:14:20    1                 (Exhibit No. 13 received in evidence.)

11:14:28    2   BY MR. HAMILTON:

11:14:29    3   Q.        Mr. Vanetik, did you ever do anything to have Mr.

11:14:32    4   Fuks's visa canceled?

11:14:35    5   A.        Deliberately, no.

11:14:40    6                 MR. HAMILTON:   Your Honor, can I have just one

11:14:42    7   second?    I'm almost done here.

11:14:45    8                 THE COURT:   Yes.

11:15:24    9                 MR. HAMILTON:   Your Honor, I have no further

11:15:26   10   questions for this witness.

11:15:29   11                 THE COURT:   All right.     Are there any exhibits

11:15:31   12   you've marked that you wish to move into evidence or not?

11:15:38   13                 MR. HAMILTON:   No further, Your Honor.

11:15:41   14                 THE COURT:   All right, let's go ahead and take a

11:15:43   15   30-minute break, and then we'll continue with the trial,

11:15:46   16   then.

11:15:49   17                 COURT CLERK:    All rise.

11:15:55   18                 (Recess taken.)

11:59:24   19                 THE COURT:   All right, we are back on the record.

11:59:27   20   The defendant is on the witness stand, counsel are present.

11:59:34   21                      All right, go ahead, Counsel.      You may

11:59:36   22   conduct your cross-examination of Mr. Vanetik.

11:59:43   23                 MR. LOMAS:   Thank you, Your Honor.

11:59:45   24                              CROSS-EXAMINATION

11:59:45   25   BY MR. LOMAS:
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11:59:46    1   Q.      Mr. Vanetik, you are generally familiar with the

11:59:48    2   litigation process?

11:59:49    3   A.      Generally, yes.

11:59:50    4                  THE COURT:   I need you to speak into the

11:59:52    5   microphone.

11:59:53    6                  THE DEFENDANT:   Generally, yes.

11:59:54    7   BY MR. LOMAS:

11:59:54    8   Q.      And you've also been sued before, correct?

11:59:56    9   A.      Yes.

11:59:57   10   Q.      This isn't your first trial as a defendant?

12:00:01   11   A.      No.

12:00:01   12   Q.      So, you're aware that you had certain discovery

12:00:06   13   obligations during this action?

12:00:07   14   A.      Yes.

12:00:08   15   Q.      And you were asked to provide your communications with

12:00:13   16   Mr. Fuks?

12:00:13   17   A.      Yes.

12:00:14   18   Q.      You were asked to provide your communications with

12:00:18   19   anyone acting on Mr. Fuks's behalf?

12:00:21   20   A.      Yes.

12:00:21   21   Q.      You were asked to provide documents exchanged with Mr.

12:00:26   22   Fuks?

12:00:26   23   A.      Yes.

12:00:27   24   Q.      You were asked to provide documentation exchanged with

12:00:29   25   anyone acting on Mr. Fuks's behalf.
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12:00:32    1   A.      Yes.

12:00:33    2   Q.      And you provided no e-mails between you and Mr. Fuks.

12:00:38    3   A.      That's not correct.     I provided some.

12:00:40    4   Q.      You provided us --

12:00:43    5                      In this case?

12:00:43    6   A.      I believe so.

12:00:44    7   Q.      Okay.   What e-mails were those?      Because we have seen

12:00:51    8   no e-mails.

12:00:52    9   A.      E-mails between myself and Gorchinco, and there are a

12:00:57   10   few others that I recall.      But everything I had, I provided,

12:01:00   11   to answer your question more deeply.        And all the e-mails,

12:01:04   12   all the communication that I had in my possession, I

12:01:07   13   provided.

12:01:08   14   Q.      And you've -- and today, during your direct testimony,

12:01:10   15   you did not -- were not presented with any e-mails that you

12:01:14   16   had with Mr. Fuks.

12:01:15   17   A.      I was --

12:01:16   18                      I'm sorry, again?

12:01:17   19   Q.      During your direct testimony today, you presented no

12:01:20   20   e-mails between you and Mr. Fuks.

12:01:22   21   A.      I don't -- I don't think so, no.

12:01:24   22   Q.      And you -- during your testimony, you provided no

12:01:30   23   Signal messages between you and Mr. Fuks?

12:01:33   24   A.      Yes, because all that information is with the FBI.

12:01:36   25   Q.      You provided no messages or communications at all
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12:01:42    1   between you and Mr. Fuks except for that one or two pages of

12:01:48    2   WhatsApp messages from March 2016, correct?

12:01:54    3   A.       I'm not sure.   Could be -- I don't know what I

12:01:57    4   provided in discovery.

12:01:57    5   Q.       And today you were presented with no such documents?

12:02:02    6   A.       I'm not sure I even follow your question.

12:02:06    7   Q.       You saw no exhibits today that were communications

12:02:10    8   between and you Mr. Fuks other than the text messages from

12:02:13    9   March 2016; isn't that right?

12:02:14   10   A.       As far as the exhibits are concerned, yes, in the

12:02:17   11   discovery I think there were some others.        Everything I had I

12:02:22   12   provided.

12:02:22   13   Q.       Okay.   You were also asked to provide documents

12:02:25   14   concerning any events tickets you arranged to provide to Mr.

12:02:29   15   Fuks?

12:02:29   16   A.       Yes.

12:02:29   17   Q.       And then the receipts for any tickets that were

12:02:33   18   purchased?

12:02:34   19   A.       Yes.

12:02:35   20   Q.       You've provided no receipts for any ticket purchases?

12:02:39   21   A.       Actually, I provided receipts that I had, and those

12:02:43   22   were the Texas Ball, everything else I never had in my

12:02:47   23   possession.

12:02:47   24   Q.       You provided the receipts for the Texas Ball, is that

12:02:50   25   right?
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12:02:50    1   A.       That's my recollection.

12:02:51    2   Q.       And that would be the only other --

12:02:53    3                      Excuse me, you said you had no other receipts

12:02:56    4   in your possession?

12:02:57    5   A.       No.

12:02:57    6   Q.       You provided no correspondence with anyone concerning

12:03:02    7   event tickets?

12:03:05    8   A.       No.

12:03:06    9   Q.       You testified earlier about work that you say that

12:03:16   10   Odyssey Management did for Gennady Kerness.         You provided no

12:03:22   11   documents explaining that work.

12:03:23   12   A.       Actually, that's not true.     I provided various

12:03:27   13   documents.     Some were translation, some were documents -- we

12:03:32   14   have thousands of them.

12:03:33   15   Q.       You provided thousands of documents?

12:03:36   16   A.       No, no.   There were thousands of documents.       Whatever

12:03:39   17   I had.   I wasn't in charge of the documents.        That was --

12:03:41   18   that was Odyssey.      Odyssey wasn't sued.

12:03:43   19   Q.       Okay.   So, you're saying that you have no documents --

12:03:45   20   A.       Personally, in my possession, whatever I had in my

12:03:49   21   personal possession I provided.

12:03:50   22   Q.       You said --

12:03:52   23                      Earlier today you testified that you had

12:03:54   24   several communications talking with Mr. Fuks about the scope

12:03:57   25   of work for the -- concerning Mr. Kerness.         Do you recall
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                                                                                    90


12:04:02    1   that?

12:04:02    2   A.      Yes.

12:04:03    3   Q.      Okay.   And you provided no documentation of any of

12:04:05    4   those communications today.

12:04:07    5   A.      Like I said, I turned everything over to the FBI.

12:04:11    6   Q.      And you provided no -- as exhibits today, in this

12:04:15    7   trial, in this courtroom?

12:04:17    8   A.      Whatever I had, I provided.

12:04:19    9   Q.      Did you provide --

12:04:20   10                      Did you identify any such exhibits today in

12:04:23   11   this courtroom?

12:04:23   12   A.      Which exhibits?

12:04:24   13   Q.      Any exhibits of communications that you had with Mr.

12:04:28   14   Fuks concerning the scope of your work that you said you did

12:04:31   15   for Mr. Kerness?

12:04:33   16   A.      Whatever I had, I provided.

12:04:36   17   Q.      Odyssey Management you said it had its offices in

12:04:42   18   Newport Beach in California?

12:04:43   19   A.      Yes.

12:04:43   20   Q.      Odyssey Management was an LLC?

12:04:46   21   A.      I believe so.

12:04:47   22   Q.      And you say it no longer exists?

12:04:49   23   A.      That's my -- yes, that's my understanding.

12:04:50   24   Q.      And you were a member of Odyssey Management?

12:04:52   25   A.      Yes.
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                                                                                    91


12:04:52    1   Q.      As was Eric Rogers?

12:04:55    2   A.      Yes.

12:04:55    3   Q.      And Stewart Weingarten?

12:04:57    4   A.      Yes.

12:04:58    5   Q.      Odyssey Management LLC, was it formed in California?

12:05:04    6   A.      No.

12:05:04    7   Q.      What state was it formed in?

12:05:06    8   A.      I don't recall.    It could be Nevada.      I don't recall.

12:05:12    9   Q.      Mr. Rogers, is he a California resident?

12:05:16   10   A.      I believe so.

12:05:16   11   Q.      How long have you known Mr. Rogers?

12:05:20   12   A.      Probably ten years.

12:05:23   13   Q.      And when was the last time you spoke with Mr. Rogers?

12:05:27   14   A.      Earlier --

12:05:32   15                     Spoke?    Maybe a week ago.

12:05:34   16   Q.      Have you kept in regular contact with Mr. Rogers?

12:05:40   17   A.      No, not really.

12:05:41   18   Q.      When was the last time that you believe you spoke with

12:05:45   19   Mr. Rogers?

12:05:46   20   A.      Maybe a couple of weeks ago.

12:05:48   21   Q.      Did you speak or have any contact with Mr. Rogers last

12:05:52   22   year?

12:05:53   23   A.      Last year?    I don't recall.

12:05:56   24   Q.      Did you have any contact with him in the course of

12:06:01   25   this litigation, except the last few weeks?
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12:06:04    1   A.        Yes.    A few times.

12:06:07    2   Q.        Do you know where Mr. Rogers lives?

12:06:09    3   A.        I believe in Newport Beach.

12:06:14    4   Q.        You have asserted no claim against Mr. Fuks in this

12:06:19    5   case for any moneys owed, isn't that right?

12:06:21    6   A.        I sued Mr. Fuks separately in state court separately.

12:06:24    7   Q.        But in this case, you have no counterclaims against

12:06:29    8   Mr. Fuks; is that right?

12:06:30    9   A.        No.

12:06:30   10   Q.        And you've -- you provided no invoices as exhibits

12:06:35   11   that you've sent to -- that Odyssey Management had sent to

12:06:38   12   Mr. Fuks concerning the moneys you say he owes you?

12:06:41   13   A.        I provided everything that was in my possession.

12:06:45   14   Q.        Okay.   Referring earlier to Document 10 that was the

12:07:20   15   item --

12:07:21   16                        Do you recall that --

12:07:24   17                        It has the Odyssey Pavel Fuks's confidential

12:07:27   18   consulting agreement.       Do you recall seeing that exhibit?

12:07:29   19   A.        I'm sorry, which exhibit are you talking about?

12:07:32   20   Q.        10.

12:07:33   21   A.        10.    Okay.   Yes.

12:07:35   22   Q.        And you drafted this?

12:07:36   23   A.        Yes.

12:07:36   24   Q.        Okay.   And there is no mention Mr. Kerness in here?

12:07:41   25   A.        No.
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                                                                                    93


12:07:41    1   Q.      There is no mention of any work on human rights

12:07:44    2   activity in here?

12:07:45    3   A.      No.   But that was deliberately -- deliberately so.

12:07:48    4   Q.      There is no mention of anything to do with Mr. Kerness

12:07:54    5   at all in this document, correct?

12:07:55    6   A.      That's correct.

12:07:56    7   Q.      Okay.   In 1.3 -- excuse me -- actually, 1.2, duties,

12:08:19    8   it states:    Consultant shall develop a feasibility study for

12:08:32    9   client in connection with development of client's businesses.

12:08:35   10                     And here you say the client is Pavlo Fuks?

12:08:40   11   A.      The client is Genaddy Kerness.        Pavel Fuks is the one

12:08:45   12   responsible for -- for the payment in the contract.

12:08:45   13   Q.      Okay.

12:08:46   14   A.      Technically you could say that the client is Pavel

12:08:52   15   Fuks.

12:08:52   16   Q.      Which is it?    Is it Mr. Kerness or Mr. Fuks?

12:08:55   17   A.      It's Mr. Fuks since he executed the agreement and

12:09:00   18   since he was responsible for it.       Yes.

12:09:00   19   Q.      And did you do work for -- on behalf of Mr. Fuks's

12:09:03   20   business?

12:09:03   21   A.      No.

12:09:26   22   Q.      You testified earlier that there was a written

12:09:28   23   agreement concerning -- with Mr. Fuks -- concerning a trip

12:09:31   24   to -- that you took to Rome in which you say you were owed

12:09:35   25   $65,000?
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12:09:36    1   A.      Yes.

12:09:36    2   Q.      Okay.   But you have no such written agreement anymore?

12:09:41    3   A.      I couldn't locate it.

12:09:45    4   Q.      You had text messages with Mr. Fuks from March 2016 in

12:09:53    5   your possession?

12:09:53    6   A.      Text messages from March 2016?

12:09:57    7   Q.      Uh-huh.

12:09:58    8   A.      I had them at some point, yes.

12:10:01    9   Q.      Okay.   But you don't have the -- this agreement that

12:10:05   10   you say that -- for which he owes you $65,000?

12:10:09   11   A.      I didn't have it in my possession.       Probably on

12:10:13   12   Odyssey computers.

12:10:23   13   Q.      Could you describe your relationship with Meadow Wood

12:10:27   14   Management?

12:10:28   15   A.      Sure.   Meadow Wood Management is a -- was, I guess, a

12:10:35   16   public relations company, owned by somebody whom I've known

12:10:40   17   for a while, who's a good friend.       And she brought in some

12:10:44   18   clients from Eastern Europe, and I helped with some political

12:10:49   19   advocacy for those clients as an adviser, as a consultant for

12:10:54   20   Meadow Wood.    Other than that, I don't really have a

12:10:57   21   relationship with Meadow Wood.       And Meadow Wood worked on

12:11:01   22   some of the inaugural matters as well, as I testified.

12:11:07   23   Q.      Are you --

12:11:07   24                      Were you an officer of Meadow Wood

12:11:10   25   Management?
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12:11:10    1   A.      I believe at one point I was vice president for a

12:11:13    2   short time, and afterwards I was an advisor.

12:11:16    3   Q.      Okay.   So, you were --

12:11:16    4                     So you did have a relationship beyond just

12:11:18    5   doing work for them.     You were an officer, a vice president.

12:11:20    6   A.      Vice president is not technically an officer.         It was

12:11:23    7   a title.

12:11:23    8   Q.      Okay.   So, it was a title.     You weren't an officer of

12:11:26    9   the company?

12:11:26   10   A.      I don't believe so.

12:11:26   11   Q.      Okay.

12:11:29   12   A.      I don't believe so.     I mean when you have --

12:11:32   13                     There is certain fluidity when you have a

12:11:34   14   small business, but I never considered myself an officer.

12:11:34   15   Q.      Okay.

12:11:35   16   A.      I could have been for -- for some time, but -- at some

12:11:40   17   point, fundamentally, no.

12:11:42   18   Q.      Are you familiar with -- are you familiar with Foreign

12:11:56   19   Agents Registration Act?

12:11:56   20   A.      Yes.

12:11:56   21   Q.      Okay.   And what is that?

12:11:57   22   A.      It's a law that governs certain --

12:12:00   23                     It has certain reporting requirements when

12:12:03   24   there is lobbying work done.

12:12:06   25   Q.      Okay.   Did you do any lobbying work on behalf Mr.
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12:12:09    1   Kerness?

12:12:09    2   A.      No.

12:12:10    3   Q.      Did you do any lobbying work on behalf of the City of

12:12:14    4   Kharkiv?

12:12:15    5   A.      No.

12:12:39    6                 MR. LOMAS:   Your Honor, I'd like to --

12:12:46    7                      Permission to approach and provide a copy of

12:12:53    8   Plaintiff's Exhibit 22 for impeachment.        It's not in the

12:12:56    9   binder because we didn't include the impeachment -- exhibits

12:12:58   10   in the binder, so we would have to pass the copies up to you.

12:13:02   11                 THE COURT:   All right, does everyone have a copy?

12:13:04   12   Obviously I do not.

12:13:06   13                 MR. LOMAS:   We'll do it at the same time.

12:13:50   14                 THE COURT:   All right.   So, 22 is marked for

12:13:53   15   identification.

12:13:53   16                 MR. LOMAS:   Identification, yes.

12:13:54   17   BY MR. LOMAS:

12:13:56   18   Q.      Mr. Vanetik, you've been handed what's been marked for

12:14:01   19   identification as exhibit, Plaintiff Exhibit 22.          Have you --

12:14:05   20   are you familiar with this document?

12:14:06   21   A.      Yeah, it looks familiar.      It's a FERA (phonetically

12:14:08   22   spelled) registration for, yeah for Serhiy Rybalka, yeah, and

12:14:24   23   the Agrarian party of Ukraine.

12:14:26   24   Q.      Okay, and then, first box in sort of in the middle

12:14:31   25   numbered one name, that's your name, Yuri Vanetik?
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12:14:33    1   A.      Yes.

12:14:33    2   Q.      And on page 2, under the execution, you've sworn under

12:14:41    3   penalty of perjury that this is -- the contents of this is

12:14:44    4   accurate?

12:14:45    5   A.      Right.

12:14:45    6   Q.      Okay.    And then this document in numbers eight nine

12:14:47    7   you've indicated that you are an officer of Meadow Wood

12:14:51    8   Management?

12:14:51    9   A.      At that time I was.

12:14:51   10   Q.      Okay.

12:14:53   11   A.      This was when -- a couple of years ago.        Now, I must

12:14:57   12   have been an officer for a short while.

12:14:58   13   Q.      Okay.

12:15:05   14   A.      And in subsequent registrations I was not.         So, I must

12:15:08   15   have done that initially as an officer, stepped in and then

12:15:12   16   afterward I didn't want to be an officer of the company.

12:15:16   17   Q.      Mr. Vanetik, would you flip back to Exhibit No. 9?

12:15:38   18   A.      No. 9?

12:15:40   19   Q.      Uh-huh.

12:15:42   20   A.      Okay.

12:15:43   21   Q.      Okay, you testified that you sent this document to Mr.

12:15:47   22   Fuks in late December, early January; is that right?

12:15:49   23   A.      That's my recollection.

12:15:50   24   Q.      Okay, and we saw no exhibits to date and no e-mails

12:15:56   25   forwarding this to Mr. Fuks?
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12:15:59    1   A.        As I said before, I provided everything I had, and

12:16:02    2   whatever information -- I -- at one point I provided it to

12:16:08    3   our authorities, to the government.

12:16:09    4   Q.        You provided -- you've shown no documents -- no

12:16:13    5   e-mails that you've exchanged with Mr. Fuks as exhibits on

12:16:15    6   behalf of your defense in this case today?

12:16:19    7   A.        No.

12:16:26    8   Q.        And you said you obtained a draft of this from Matt

12:16:33    9   Keelen?

12:16:34   10   A.        I obtained --

12:16:35   11                       Well, what I said was that Matt Keelen and I

12:16:37   12   and Oksana worked on an inaugural program, and there was

12:16:41   13   some -- some documents that were --

12:16:42   14                       It was a document that was built.

12:16:45   15   Q.        By Mr. Keelen and yourself?

12:16:48   16   A.        By Mr. Keelen, myself, and Oksana.

12:16:53   17   Q.        Okay.   Did Mr. Keelen offer you a program to purchase

12:16:57   18   for $50,000?

12:16:59   19   A.        No.   I paid him -- I didn't pay him anything.      Odyssey

12:17:04   20   paid him 40,000.

12:17:05   21   Q.        And what did Odyssey pay him the $40,000 for?

12:17:12   22   A.        For the -- for the ceremony, for the swearing in,

12:17:17   23   for -- I think several other things like New York Republican

12:17:22   24   Party reception --

12:17:23   25                       Let me take a look.    It's been almost five
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12:17:26    1   years.   I'm sure I don't remember.      There were a few things

12:17:30    2   that were part of the package.

12:17:31    3   Q.       Okay.

12:17:32    4   A.       I think Montana also.

12:17:34    5   Q.       Okay, and how many tickets were part of this package?

12:17:37    6   A.       I think "tickets" is a misnomer.      There were

12:17:41    7   credentials or there were, you know, basically people that

12:17:44    8   were included on the list to be able to get in.         This was all

12:17:50    9   done for two people.

12:17:51   10   Q.       Okay.   Two people.

12:17:51   11   A.       Yes.

12:17:53   12   Q.       For $40,000.    For access for everything on this list?

12:17:58   13   A.       No, no.   Some of the things I brought in, not Matt, or

12:18:00   14   it -- it came in from me, and some of the things Oksana

12:18:06   15   researched and also we put together.        So, this was a -- an

12:18:08   16   amalgamation of, yeah, a number of efforts.

12:18:10   17   Q.       And which of these items did you add to this list?

12:18:16   18   A.       I may not remember.    I think -- I believe the New York

12:18:22   19   event, the luncheon -- the lunch -- the ladies lunch on the

12:18:28   20   19th.    Let me see.    Montana was Matt mostly.     NRCC, NRSC

12:18:43   21   lunch -- brunch.

12:18:46   22                      And there were a few others that weren't on

12:18:49   23   this list as well, and -- and I think, let's see, VIP brunch.

12:18:53   24   I don't recall, possibly Belfers (phonetically spelled),

12:18:53   25   those events.
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12:18:53     1    Q.        Okay.

12:18:55     2    A.        Again, that's just my recollection.      Again, this is

12:18:58     3    just my recollection.

12:19:06     4    Q.        Mr. Fuks asked you about attending the inauguration in

12:19:09     5    November of 2016.

12:19:10     6    A.        Yes.

12:19:11     7    Q.        And you told him that best VIP access would be

12:19:16     8    $100,000 per person?

12:19:18     9    A.        I don't recall telling him that.

12:19:24   10     Q.        Okay.    If you could -- if you could take a look

12:19:26   11     please, Mr. Vanetik, at Exhibit 1.

12:19:36   12     A.        Okay.

12:19:37   13     Q.        And if you could flip please to page 22.      And then if

12:19:46   14     you could look --

12:19:48   15     A.        Hold on a second.

12:19:50   16     Q.        Sure.    Okay.   Let me know when you're there.

12:19:51   17     A.        I'm on 22 now.

12:19:53   18     Q.        Okay.    And then look down for one of the entries, one

12:19:56   19     of the messages, November 18, 2016, that nineteen forty-three

12:20:02   20     thirty-six.       Do you see that?

12:20:02   21     A.        Yes, I see that.

12:20:03   22     Q.        Okay.    And here you say:   Best VIP $100,000 per

12:20:08   23     person?

12:20:09   24     A.        Um yeah, I -- I do see that.

12:20:14   25     Q.        Okay, and then later on in November, you informed Mr.
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12:20:18     1    Fuks what would be part of the program that he was interested

12:20:21     2    in?

12:20:25     3    A.      Again, I didn't follow your question.        I'm sorry.

12:20:27     4    Q.      In late November, you identified specific events for

12:20:31     5    Mr. Fuks that would be part of the program that he was

12:20:33     6    purchasing?

12:20:33     7    A.      In November -- yes.

12:20:35     8    Q.      Okay.

12:20:35     9    A.      I believe so.     Yes.   In November we sent him, I

12:20:41   10     think -- late November or early December sent him a draft of

12:20:45   11     the program.

12:20:45   12     Q.      In November --

12:20:47   13                        If you could flip to page 23, on November

12:20:50   14     30th, you identified and listed the events for which you were

12:20:58   15     going to be providing him tickets, correct?

12:21:00   16     A.      Frankly, I will say this, I have to say this.         I

12:21:04   17     cannot confirm anything in these texts because to me they're

12:21:08   18     an amalgamation of poorly sequenced texts that are either

12:21:14   19     from different medium or made up, altered texts.         So, I --

12:21:17   20     I don't know if this is accurate communication.         I don't -- I

12:21:19   21     don't see --

12:21:19   22                        It says for tickets.     I -- I -- no.

12:21:22   23     Q.      So, are you saying today, it's your testimony under

12:21:25   24     oath that you never sent this message on November 30, 2016,

12:21:29   25     identifying the VIP package that you bought for Mr. Fuks?
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12:21:35     1    A.      I'm saying under oath today that I don't have a

12:21:38     2    recollection of sending this.

12:21:40     3    Q.      Okay.    Are these -- are these VIP events that are

12:21:44     4    listed here?

12:21:46     5    A.      I'm sorry, are these VIP events?

12:21:52     6    Q.      Yes.

12:21:53     7    A.      I don't know.     I mean, it says "inaugural ball

12:21:56     8    premiere access."     It sounds like a VIP event.

12:21:59     9    Q.      How about the "Victory Reception"?

12:22:03   10     A.      The Victory Reception, I would assume so.         You know, I

12:22:07   11     think there were various victory receptions, and I think once

12:22:12   12     you were at a victory reception, it depends where you were,

12:22:17   13     you know, in most of those events there were cheers based on

12:22:20   14     donors' access, et cetera.

12:22:20   15     Q.      You're saying there were various victory receptions.

12:22:24   16     A.      Well, there were various victory receptions, but

12:22:27   17     that's not what I'm saying that is true, though.         There were

12:22:28   18     also various levels of access to most of these events.

12:22:34   19     Q.      And here you're identifying a parade for VIP tickets.

12:22:40   20     A.      I don't have a recollection of having this

12:22:42   21     communication.     I may have in some capacity, but I -- I can't

12:22:45   22     say that on this date this is what I sent, because to me all

12:22:50   23     of this is -- is compromised.

12:22:51   24     Q.      Okay.    Could you explain how it's compromised?

12:22:54   25     A.      Sure.    Happily.   When I review this, a number of texts
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12:23:02     1    across the board were out of sequence.        A number -- a

12:23:09     2    number of other -- a number of texts I never wrote.          Some

12:23:10     3    texts were from a different medium.        This was all put

12:23:14     4    together somehow, and put together as a record.

12:23:14     5    Q.      Okay.

12:23:16     6    A.      But it doesn't reflect my -- my complete record of

12:23:20     7    communication with Mr. Fuks.

12:23:21     8    Q.      Okay, please --

12:23:21     9                       Could you please identify anything that is

12:23:24   10     out of order in this Exhibit?

12:23:26   11     A.      Well, I think it would be challenging unless we go

12:23:31   12     through it.

12:23:31   13     Q.      Well, you're the one that's contending it's false,

12:23:34   14     so --

12:23:34   15     A.      Well, I'm contending that it's false because when I

12:23:37   16     look at things, things don't match my recollection and they

12:23:40   17     don't -- and they don't match the communication that we had.

12:23:45   18                        So, if you are asking me to fundamentally

12:23:47   19     identify certain things that are false, to explain what I

12:23:51   20     believe is false, I can do -- I can do it in general terms.

12:23:53   21     Q.      All right.    So, on November 18th, 2016, you sent a

12:23:59   22     message to Mr. Fuks --

12:24:00   23     A.      Hold on.    Let me find that.

12:24:02   24     Q.      Uh-huh.

12:24:02   25     A.      November 18th.
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12:24:04     1    Q.       Yep.

12:24:05     2    A.       Let's see, where is November 18?        11-18.    Hold on.

12:24:10     3    Q.       Actually, why don't --

12:24:12     4                         Strike that question, and I'll help you out

12:24:15     5    here a little bit.      Let's go to page 22.

12:24:17     6    A.       22, okay.

12:24:19     7    Q.       All right.    And then let's go to the text message that

12:24:22     8    says:    November 16, 2016; 23, 44, 29.      It's about ten rows

12:24:29     9    down.    Do you see that?

12:24:29   10     A.       Hold on one second.

12:24:30   11     Q.       Uh-huh.

12:24:32   12     A.       November 16?    What does it start with?     What are

12:24:37   13     the --

12:24:37   14     Q.       23, 44, 29, P.F.?

12:24:42   15     A.       23, 44, 29, P.F.    Okay.

12:24:46   16     Q.       Mr. Fuks says:     "Maybe we can get to jump at the

12:24:51   17     inauguration."     Do you see that?

12:24:53   18     A.       Yes, I see that.

12:24:53   19     Q.       And then you responded.      Correct?

12:24:55   20     A.       That's what it says.

12:24:57   21     Q.       Yes.   And then -- you then provided information about

12:25:01   22     inauguration tickets and VIP treatment, do you see that?

12:25:04   23     A.       Say again?    I'm sorry?

12:25:07   24     Q.       You sent a message that says:      "There are guests that

12:25:11   25     get tickets and guests that get VIP treatment.            Regular
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12:25:15     1    attendance is a joke."

12:25:16     2                       Do you see that message?

12:25:17     3    A.      Hold on one second.     Okay, okay, I do see it.

12:25:21     4    Q.      Is that a false statement?      Is that a false text, or

12:25:25     5    did you send that text?

12:25:26     6    A.      I don't recall sending that text.       It's not a false

12:25:29     7    statement for somebody who is high profile who wants a unique

12:25:33     8    experience, I -- I --

12:25:33     9                       In other words, if we discussed that right

12:25:35   10     now, I would say that's probably true.

12:25:37   11     Q.      And, again, on November 17, 16, this was about a week

12:25:40   12     or so after the election?

12:25:44   13     A.      Okay.

12:25:46   14     Q.      Correct?    Is that right?

12:25:47   15     A.      November 16th.     I assume.

12:25:49   16     Q.      Well, the presidential election was in November 2016.

12:25:55   17     A.      Right, right.     So this was afterwards.     Okay.

12:25:57   18     Q.      So, if there is a discussion on, potentially going to

12:26:00   19     an inauguration, it's not surprising that it would come

12:26:02   20     shortly after the election?

12:26:03   21     A.      No, it's not surprising.       Yeah, that's not surprising.

12:26:06   22     Q.      Okay.    And then -- if you see a few messages down,

12:26:10   23     then you say:    "Time to get tickets is next five days.        Then

12:26:16   24     they go up.     Next year they will be at least three times the

12:26:19   25     price at best."     Do you see that message?
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12:26:22     1    A.      Yes.

12:26:22     2    Q.      Again, you sent that message to Mr. Fuks, didn't you?

12:26:25     3    A.      No, I don't -- I -- I have no recollection of sending

12:26:29     4    that message to Mr. Fuks.

12:26:30     5    Q.      So where did this message come from?        Your testimony

12:26:34     6    today is that Mr. Fuks fabricated this message?

12:26:36     7    A.      Probably.

12:26:37     8    Q.      Okay.    The next -- the next sentence or response is

12:26:42     9    Mr. Fuks stating:     "How much did they cost?      I'm ready to buy

12:26:46   10     the very best."

12:26:48   11                         Do you see that?

12:26:49   12     A.      I'm sorry.    Let's see.     I don't see it.   Hold on.      I

12:27:08   13     don't see --

12:27:09   14                         Where are you?

12:27:11   15     Q.      We just went over the time.       "To get tickets is next

12:27:16   16     five days" message, right?      In the middle of the page.      Four

12:27:18   17     O three twenty-one on November 17, 2016.

12:27:20   18     A.      Hold on.    Okay.   And then I see:    "Hotels should be

12:27:23   19     booked now and payments handled as soon as possible."          And

12:27:26   20     then:   "I'll take two tickets.      When is it?    And what kind of

12:27:29   21     documents are needed from me?"

12:27:31   22     Q.      Right.    And earlier before that, do you see the

12:27:35   23     message, above the missing video links, do you see the:           "How

12:27:41   24     much do they cost?     I'm ready to buy the very best" message

12:27:45   25     from Mr. Fuks?
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12:27:46     1    A.      I don't see it.     Where is it?

12:27:49     2    Q.      Okay, hold on, Mr. Vanetik.

12:27:51     3    A.      I'm sorry, I'm just not seeing --

12:27:55     4                        It's -- it's below?    It's down or up?

12:27:58     5                   THE COURT:   Just hold on, sir.

12:29:06     6    BY MR. LOMAS:

12:29:06     7    Q.      Mr. Vanetik, do you see the screen, now the

12:29:10     8    highlighted portion?

12:29:11     9    A.      Screen?    No.   Oh, I'm sorry.    It's very small.    I

12:29:15   10     can't see it.

12:29:15   11                    MR. LOMAS:   Is there a way to blow up this?

12:29:27   12                    THE COURT:   I believe there is.    I believe the

12:29:30   13     exhibit can be magnified to full screen size.

12:29:35   14                    MR. LOMAS:   Do I do that here or --

12:29:47   15     BY MR. LOMAS:

12:29:47   16     Q.      Mr. Vanetik, earlier we talked about the text messages

12:29:50   17     that says:     "Time to get tickets is next five days."       You saw

12:29:53   18     that message, right?

12:29:54   19     A.      Yes.

12:29:55   20     Q.      Okay, all right.     The very next message, the response,

12:29:58   21     do you see that?

12:29:58   22     A.      Let me look it up on the list.

12:30:02   23                    THE COURT:   All right, Counsel, just to interrupt

12:30:03   24     for a minute.     We can magnify it to full screen, but we have

12:30:06   25     to disconnect Zoom.
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12:30:09     1                  MR. LOMAS:   Oh, I think that's fine, because it's

12:30:12     2    disconnected.

12:30:16     3                  THE COURT:   You think what's fine?     The

12:30:18     4    disconnecting of Zoom?

12:30:21     5                  MR. LOMAS:   Yes.

12:30:23     6                  THE COURT:   All right.   We'll try to make it

12:30:24     7    happen for you.

12:30:24     8                  MR. LOMAS:   Thank you.

12:30:25     9    BY MR. LOMAS:

12:30:25   10     Q.      Mr. Vanetik, do you see the line that I'm referring

12:30:28   11     to?

12:30:28   12     A.      No.   Yes.

12:30:32   13     Q.      Okay.

12:30:32   14     A.      Okay.

12:30:32   15     Q.      Okay, all right, and then you -- and then you

12:30:35   16     responded:    "Let me verify costs.     Call me, and I'll explain

12:30:39   17     several options."

12:30:43   18     A.      Okay.   I could have responded.      I don't know.

12:30:46   19     Q.      Okay.   And then later you then responded and provided

12:30:49   20     more information saying:      "Best VIP, 100,000 per person."

12:30:55   21     Correct?

12:30:55   22     A.      That's what it says.      That's correct.    That's what I'm

12:30:58   23     reading.

12:30:58   24     Q.      And that's what you said.

12:30:59   25     A.      I don't -- I don't have that recollection saying --
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12:31:04     1    saying that to Mr. Fuks.

12:31:04     2    Q.      Okay.    So, are you suggesting that this is a

12:31:07     3    fabricated message?

12:31:08     4    A.      Most likely.

12:31:09     5    Q.      Most likely?    Where is the "hundred thousand dollars

12:31:12     6    per VIP per person" is coming from?

12:31:14     7    A.      I don't -- I don't know.

12:31:16     8    Q.      Okay.

12:31:17     9    A.      Hundred thousand VIP per person, I -- well, I don't

12:31:22   10     know about the messages.      I know that we had discussions, and

12:31:25   11     I did tell him in our discussions that that could be

12:31:28   12     something adequate, you know, at some point, because he was

12:31:31   13     trying to -- he was trying to figure out what these things

12:31:35   14     cost.

12:31:35   15     Q.      Right.   And you were providing him the information

12:31:38   16     about what they cost.

12:31:39   17     A.      I -- I think at -- at some point he asked me about the

12:31:43   18     inaugural, absolutely, in November.

12:31:44   19     Q.      And he told you, and you told him that the best was

12:31:48   20     100,000 per person.

12:31:50   21     A.      I don't recall telling that specifically.

12:31:52   22     Q.      Because you're saying that this message is made up.

12:31:56   23     A.      I don't recognize that specific message, and I don't

12:31:59   24     recognize it in that context.

12:32:01   25     Q.      Okay.    If you could flip to the next page, page 23?
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12:32:07     1    A.      Okay.    It's actually just on the opposite -- it's on

12:32:11     2    opposite sides.

12:32:12     3    Q.      And then go back -- I think we were talking about this

12:32:14     4    before, the November 30, 2016 message.

12:32:17     5    A.      November 30 -- let's see -- 2016?       It says "cabinet

12:32:22     6    dinner."

12:32:22     7    Q.      Uh-huh.

12:32:25     8    A.      Okay.

12:32:26     9    Q.      And you say:    "This is the VIP package that we

12:32:29   10     bought."

12:32:32   11     A.      Okay.

12:32:32   12     Q.      And it's your testimony today under oath that you did

12:32:35   13     not send that message?

12:32:37   14     A.      I have no recollection of sending it.

12:32:38   15     Q.      Okay.    You have no recollection.

12:32:39   16     A.      Right.

12:32:40   17     Q.      Do you have any evidence that the -- or --

12:32:43   18                        Strike that.

12:32:43   19                        Are you alleging today that was a made-up

12:32:48   20     message?

12:32:49   21     A.      It could have been.     I mean, most of these messages,

12:32:49   22     don't --

12:32:50   23                        Some I don't recognize, some I don't, but the

12:32:54   24     context, the way they're built is inconsistent with what

12:33:01   25     happened.
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12:33:01     1    Q.       Okay.   The next page, Mr. -- page 24, Mr. Fuks, on

12:33:05     2    November 30, 2016, third line from the top of the page, he

12:33:09     3    says:    "They told me that we have bad seats."       Do you see

12:33:12     4    that?

12:33:12     5    A.       Yes.    Yes.

12:33:13     6    Q.       And you respond:    "Who told you that?     It makes no

12:33:17     7    sense.   At this point you're getting 250 package."

12:33:22     8    A.       Yeah, I see that as well.

12:33:23     9    Q.       What is the "250 package"?

12:33:25   10     A.       I don't know.

12:33:26   11     Q.       Okay.

12:33:37   12     A.       And these are -- these are not the texts or the

12:33:39   13     discussions that I recall having with Mr. Fuks.

12:33:42   14     Q.       All right.     So, you're saying that this is made up?

12:33:45   15     A.       The record is.

12:33:46   16     Q.       And you provided no messages with Mr. Fuks about

12:33:51   17     inauguration tickets today in an exhibit at this trial?

12:33:55   18     A.       I provided my cell phone to the government when Mr.

12:33:59   19     Fuks started threatening me.

12:34:00   20     Q.       Did you provide any communication with Mr. Fuks about

12:34:03   21     this case -- excuse me, about the acquisition of tickets at

12:34:08   22     this trial?

12:34:08   23     A.       I provided everything I had.

12:34:10   24     Q.       In November 2016, you were looking into options for

12:34:28   25     Mr. Fuks to attend the inauguration?
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12:34:32     1    A.       In November and in December.

12:34:34     2    Q.       Okay, in November and in December.       And you're

12:34:36     3    saying -- earlier your testimony was that you sent a program

12:34:39     4    in late December?

12:34:40     5    A.       I don't recall exactly.     My recollection is that we

12:34:45     6    sent a program sometime in December and in January.          We sent

12:34:48     7    him --

12:34:49     8                         I think it sent drafts in -- in December.

12:34:52     9    Q.       Okay.   Mr. Vanetik, could you please refer to Exhibit

12:36:02   10     13?

12:36:03   11     A.       Thirteen?

12:36:05   12     Q.       Yes, please.

12:36:07   13     A.       Exhibit 13.    Okay.

12:36:15   14     Q.       Okay, and at the back here, these are --

12:36:17   15                          What is this, a screenshot of messages that

12:36:20   16     you say you had with Mr. Fuks in March 2016?

12:36:24   17     A.       I believe so.

12:36:24   18     Q.       Okay.   And these messages here appear in Exhibit 1,

12:36:30   19     correct?

12:36:32   20     A.       I'll take your word for it.      I don't know.

12:36:35   21     Q.       Well, please, actually, why don't we refer back to

12:36:39   22     Exhibit 1 and you can take a look.

12:36:41   23     A.       Okay.   Where would these be?

12:36:44   24     Q.       Well, March 2016.      So, why don't we flip to page 16.

12:37:14   25     A.       Page 16?
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12:37:17     1    Q.      Uh-huh?

12:37:18     2    A.      Okay.

12:37:23     3    Q.      Okay, on page 16 of Exhibit 1, do you see the

12:37:26     4    messages --

12:37:27     5    A.      Yeah.

12:37:27     6    Q.      -- that are in Exhibit 13?

12:37:37     7    A.      Yes.    I do -- I do see them.

12:37:39     8    Q.      Okay.    So those messages are in Exhibit 1, correct?

12:37:44     9    The messages you sent on March 2016 and Exhibit 13 do appear

12:37:49   10     in Exhibit 1?

12:37:50   11     A.      Yes, they do.       And that's not inconsistent with what

12:38:02   12     I'm saying.     You --

12:38:03   13                         Some of the information is correct, some is

12:38:05   14     altered, some I don't recognize and some is from different

12:38:08   15     medium put together, mis-sequenced, but these do appear

12:38:14   16     together, yes.

12:38:15   17                    MR. LOMAS:    Your Honor, I'd like to pass up what's

12:39:08   18     been marked for identification as Plaintiff Exhibit 20.

12:39:10   19                    THE COURT:    All right.   So, you're asking for it

12:39:12   20     to be marked for identification?

12:39:14   21                    MR. LOMAS:    Well, yes, please.

12:39:17   22                    THE COURT:    All right, it is so marked.

12:39:17   23                 (Exhibit No.      20 marked for identification.)

12:40:04   24     BY MR. LOMAS:

12:40:04   25     Q.      Mr. Vanetik, you've been handed what's been marked
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12:40:09     1    Plaintiff Exhibit 20, which is entitled:        "58th Presidential

12:40:13     2    Inaugural Committee Underwriter Benefit."          Do you see that?

12:40:18     3    A.      Yes.

12:40:19     4    Q.      You've seen this document before?

12:40:20     5    A.      Yes.

12:40:21     6    Q.      Okay.   And you're familiar with what this document is

12:40:25     7    showing?

12:40:25     8    A.      Yes.

12:40:25     9    Q.      Okay.   And on page -- the third page with the blue

12:40:30   10     headings, the blue trim, do you see that page where in the

12:40:34   11     bottom it says:     "$250,000 underwriter package benefits"?

12:40:39   12     A.      Yes, I do see that.

12:40:40   13     Q.      Okay.   And these, the tickets to official inaugural

12:40:43   14     events that are listed here, those are the same that are in

12:40:47   15     the November 30, 2016 text message we were just looking at

12:40:52   16     earlier?

12:40:52   17     A.      Yes, the one that I questioned, yes.

12:40:55   18     Q.      Uh-huh.    And that there was a message from you stating

12:40:56   19     that at this point you're getting the $250,000 package.

12:41:01   20     A.      Yes.    But I never sent the message.

12:41:04   21     Q.      You never sent that message.       Okay.

12:41:06   22     A.      No.

12:41:06   23     Q.      And you added -- you stated --

12:41:12   24                        Strike that.

12:41:12   25                        On Exhibit 6 -- no, 7, excuse me, Exhibit
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12:41:33     1    7 --

12:41:33     2    A.      Exhibit 7?

12:41:35     3    Q.      Can you flip to that?      Yes.

12:41:40     4    A.      One second.    Okay, Exhibit 7.      I'm looking at it.

12:41:44     5    Q.      Okay.    And so this is an exhibit you referenced

12:41:47     6    earlier, and it talks about money that Mr. Keelen is asking

12:41:52     7    from you; is that right?

12:41:54     8    A.      Yes.

12:41:54     9    Q.      Okay.    And you testified that there was a $40,000

12:42:00   10     payment from Odyssey?

12:42:00   11     A.      Yes.

12:42:01   12     Q.      And then was there any payment from you?

12:42:03   13     A.      No.

12:42:03   14     Q.      You made no payments to Mr. Keelen?

12:42:17   15     A.      Not in connection with Mr. Fuks.

12:42:17   16     Q.      What payments did you make to Mr. Keelen?

12:42:21   17                    THE COURT:   Did we get the witness's answer to

12:42:23   18     that question?

12:42:24   19                    THE PLAINTIFF:   No, may I?

12:42:25   20                    THE COURT:   Hold on, sir.

12:42:27   21                    MR. LOMAS:   I'll ask the question again.

12:42:30   22                    THE COURT:   Go ahead.

12:42:31   23     BY MR. LOMAS:

12:42:34   24     Q.      Did you make any payments to Mr. Keelen?

12:42:37   25     A.      In my life, yes.
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12:42:47     1    Q.        What was the payment that you made that's referenced

12:42:50     2    in here:    "Going to need some money from you for last week."

12:42:54     3    In the subject line of this e-mail?

12:42:56     4    A.        I believe that it was for the inauguration week for

12:43:01     5    Vitaliy and Svitlana.

12:43:03     6    Q.        Okay.   So, you're saying that was the $40,000?

12:43:07     7    A.        I believe so.

12:43:08     8    Q.        And did you make any other payments to Mr. Keelen in

12:43:13     9    connection with the inauguration week?

12:43:14   10     A.        Not that I recall.   No, I did not, and I don't think

12:43:17   11     Odyssey did either.

12:43:18   12     Q.        You didn't make a $5,000 payment to Mr. Keelen?

12:43:23   13     A.        I may have in connection with something unrelated,

12:43:23   14     with Pata Verchulaza (phonetically spelled) or some other

12:43:29   15     projects.    Pata (phonetically spelled) is a former client

12:43:33   16     that I referred to Mr. Keelen.

12:43:35   17     Q.        In the bottom of this -- on the first page of this

12:43:41   18     e-mail, the January 22, 2017, 5:54 payment e-mail from Mr.

12:43:50   19     Keelen:    "Got a paid driver and some tickets we got."        Do you

12:43:54   20     see that?

12:43:54   21     A.        Yes.

12:43:54   22     Q.        You didn't make a payment of $5,000 to Mr. Keelen for

12:43:57   23     diver and tickets for Mr. Fuks?

12:44:00   24     A.        I don't recall.   I may have.    I don't recall.

12:44:08   25     Q.        If you could flip to Exhibit 8.
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12:44:21     1    A.      I'm there.

12:44:21     2    Q.      Okay.   You indicated before in your testimony, you

12:44:24     3    thought that this was a VIP event?

12:44:26     4    A.      Yes.

12:44:26     5    Q.      Okay.   This was an open house that was open to anyone?

12:44:30     6    A.      No.    Absolutely not.

12:44:34     7    Q.      How did you --

12:44:36     8                       Did you need tickets to access this event?

12:44:38     9    A.      You needed to know Matt Keelen and be invited by him.

12:44:44   10     Q.      And what was served at this event?        Do you know?

12:44:45   11     A.      Hors d’oeuvres, drinks.      It was almost five years ago,

12:44:51   12     I don't have a clear recollection.       But I actually attended

12:44:54   13     it.

12:44:54   14     Q.      You did attend it.

12:44:55   15     A.      Yes, I did.

12:44:56   16     Q.      And the food that was served at breakfast, it was

12:45:00   17     Chick-Fil-A breakfast biscuits, was it not?

12:45:03   18     A.      I don't have that recollection.       I don't remember

12:45:07   19     Chick-Fil-A breakfast biscuits.       I know who was there.      There

12:45:11   20     were lots of politicians and interesting people.

12:45:13   21     Q.      So was it -- that was --

12:45:15   22                        Your testimony is that it was a VIP event.

12:45:18   23     A.      Hundred percent.     VIP is not defined by food.

12:45:24   24     Q.      And it says "Open House," correct?

12:45:27   25     A.      Open house for mass VIP clients and friends, yeah.
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12:46:11     1    Q.       Okay.   There was no charge for attending the open

12:46:17     2    house?

12:46:17     3    A.       I wouldn't character it that way.      No, there was no

12:46:20     4    charge, but it meant having the right relationship.

12:46:23     5    Q.       Okay.   So one had to pay any money to go to that

12:46:26     6    event?

12:46:27     7    A.       These people were either clients or people that Matt

12:46:30     8    thought would benefit from the event, and they're people that

12:46:33     9    either would spend money with Matt or were VIPs in some ways.

12:46:37   10     It was an exclusive event.

12:46:51   11     Q.       The tickets that you say --

12:46:55   12                        Strike that.

12:46:55   13                        The $40,000 that Odyssey Management paid to

12:46:58   14     the Keelen Group, who on behalf of Odyssey Management

12:47:03   15     requested anything from the Keelen Group?

12:47:10   16     A.       Who on behalf of Odyssey Management --

12:47:12   17     Q.       Was that you?

12:47:13   18     A.       I did, I did, yes, yes.

12:47:42   19     Q.       Mr. Keelen was not responsible for organizing a

12:47:45   20     program relating to the inauguration for Mr. Fuks, was he?

12:47:49   21     A.       He was partly responsible, as I explained.

12:47:53   22     Absolutely.

12:47:53   23     Q.       He was not responsible for organizing a program of

12:47:56   24     events relating to the 2017 inauguration for you, was he?

12:48:02   25     A.       Again, please?
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12:48:03     1    Q.        Mr. Keelen was not responsible for organizing any

12:48:07     2    program of events for the inauguration for you?

12:48:15     3    A.        I don't understand the question.     I asked him to -- to

12:48:17     4    prepare program for two Ukrainian VIPs.        I explained to him

12:48:21     5    who they are and made arrangements with him.

12:48:21     6    Q.        Okay.

12:48:24     7    A.        It's almost like a semantic distinction for me, well,

12:48:28     8    I asked for that -- for that -- for the purpose that's

12:48:35     9    stated.    In fact, I wasn't even planning to be at the

12:48:37   10     inaugural.    I changed my plans because of the arrangement

12:48:40   11     that I made with Fuks for Khomutynniks.

12:48:48   12     Q.        And, again, there has been no exhibits that document

12:48:51   13     any arrangement concerning Mr. Khomutynnik today?

12:49:01   14     A.        Again, I provided everything I had, and your client

12:49:04   15     sued me.

12:49:04   16     Q.        Okay.    And today, during --

12:49:06   17                          You had an opportunity to -- to provide a

12:49:07   18     defense, and you provided no documentation on -- in support

12:49:11   19     of what you're stating about Mr. Khomutynnik?

12:49:13   20     A.        I'm providing -- I'm providing testimony.        I provided

12:49:16   21     everything I had.      Odyssey wasn't sued.    It wasn't

12:49:19   22     subpoenaed.       Meadow Wood wasn't sued, wasn't subpoenaed.

12:49:25   23     Whatever I had, I provided.

12:49:25   24     Q.        And you provided no e-mails with you and Mr. Fuks?

12:49:28   25     A.        I think the FBI has my documents and has my
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12:49:31     1    electronics.

12:49:31     2    Q.      Okay.    But the FBI didn't have your messages that you

12:49:35     3    produced for Exhibit 13?

12:49:38     4    A.      No, no, because I still had some that I found, and

12:49:42     5    that was what I found.

12:49:42     6    Q.      And the rest were made up.

12:49:44     7    A.      I didn't say that.      Some were not.    Some were not.

12:50:03     8    Q.      Mr. Vanetik, earlier you mentioned you were -- had a

12:50:09     9    stand on the California Lottery Commission.         Do you recall

12:50:11   10     that?

12:50:11   11     A.      Yes.

12:50:11   12     Q.      And do you recall being sent a warning letter because

12:50:17   13     of a failure to disclose certain information related to your

12:50:20   14     commission?

12:50:21   15     A.      Actually, no.

12:50:21   16     Q.      Okay.

12:50:42   17     A.      How is my commission related to Mr. Fuks?

12:50:45   18                    THE COURT:   Oh, no, we're not going to argue.

12:50:47   19     Counsel is going to ask questions; you're going to provide

12:50:50   20     questions.     You're not going to ask questions.      Do you

12:50:54   21     understand?

12:50:54   22                    THE DEFENDANT:   Yes.

12:50:55   23     BY MR. LOMAS:

12:50:56   24     Q.      Mr. Vanetik, the trial judge in that California case

12:51:00   25     recently described you as "an artful puppeteer who
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12:51:04     1    masterminded the scam that relieved a plaintiff of $750,000."

12:51:09     2    Do you recall that?

12:51:11     3                 MR. HAMILTON:    Objection.    Argumentative,

12:51:12     4    relevance.

12:51:15     5                 MR. LOMAS:    It's a truthfulness.     He's claiming --

12:51:15     6    you know, he's claiming -- you know, this is a --

12:51:19     7                       It's truthfulness of the witness on -- on --

12:51:22     8                 MR. HAMILTON:    Hearsay.

12:51:23     9                 MR. LOMAS:    I'm asking him a question.      He can

12:51:25   10     answer the question.

12:51:26   11                  THE COURT:    Well, there is an objection to your

12:51:28   12     question, and I'm going to rule on your question.          So --

12:51:42   13                  MR. LOMAS:    I mean, it goes to --

12:51:42   14                  THE COURT:    What is the relevance of this?

12:51:44   15                  MR. LOMAS:    Goes to the truthfulness of the

12:51:45   16     witness.    He's contesting --

12:51:47   17                  THE COURT:    How is it admissible?     Under what rule

12:51:51   18     of evidence?

12:52:05   19                  MR. LOMAS:    It's under 607 or 608.     Let me just

12:52:08   20     find the cite.

12:52:10   21                        It's Rule 608:    A witness's character for

12:52:13   22     truthfulness or untruthfulness, a reputation or opinion

12:52:16   23     evidence about a witness's credibility.

12:52:19   24                  THE COURT:    You've asked him to essentially,

12:52:25   25     substantiate or verify a statement by a trial judge.
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12:52:29     1                 MR. LOMAS:    I'm asking --

12:52:31     2                 THE COURT:    How is that reputation or opinion

12:52:33     3    evidence?

12:52:34     4                 MR. LOMAS:    Well, because the judge is giving an

12:52:36     5    opinion of his --

12:52:37     6                 THE COURT:    But the judge is not on the witness

12:52:41     7    stand.

12:52:41     8                 MR. LOMAS:    Well, no, correct.     Right.   But a

12:52:43     9    witness's credibility may be attacked or supported by a

12:52:47   10     testimony about the witness's reputation.

12:52:51   11                        And so I'm asking him about the item -- I

12:52:54   12     mean, it's --

12:52:55   13                        You can use in six O -- umm -- what is it --

12:53:05   14     is it 404?    On extrinsic evidence?

12:53:11   15                        The Court may on cross-examination allow

12:53:14   16     specific instances of a witness's conduct to -- if they are

12:53:20   17     probative of the character for truthfulness or untruthfulness

12:53:23   18     of the witness.     And so another case involving a fraud claim

12:53:27   19     I think is probative of that -- of truthfulness --

12:53:32   20                  THE COURT:    But the question you put to the

12:53:33   21     witness is as follows:      "Mr. Vanetik, the trial judge in the

12:53:37   22     California case recently described you as an artful puppeteer

12:53:43   23     who masterminded a scheme that relieved the plaintiff of

12:53:50   24     $750,000."

12:53:52   25                        So, you're saying that that's a specific
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12:53:55     1    instance of conduct?      A trial judge's statement?

12:53:58     2                 MR. LOMAS:    No, no, I mean -- okay.     I'm happy to

12:54:01     3    strike that question and just ask about the --

12:54:03     4                 THE COURT:    All right, the objection to that

12:54:04     5    question is sustained.

12:54:05     6                       Ask your next question.

12:54:07     7    BY MR. LOMAS:

12:54:08     8    Q.      Mr. Vanetik, you've been found liable for fraud in the

12:54:12     9    California court action?

12:54:15   10                  MR. HAMILTON:    Objection.    Relevance.

12:54:18   11                  MR. LOMAS:    Same -- same situation.

12:54:21   12                  THE COURT:    Sustained as to that question.      It

12:54:31   13     must be probative of character for truthfulness or

12:54:37   14     untruthfulness.     "Fraud" is very broad.     So, you must have

12:54:40   15     evidence of specific instances that bear on truthfulness or

12:54:43   16     untruthfulness.

12:54:46   17                  MR. LOMAS:    Okay.

12:55:34   18     BY MR. LOMAS:

12:55:34   19     Q.      Mr. Vanetik, a jury found that you had made a false

12:55:37   20     representation to LA authority in connection with a business

12:55:40   21     arrangement that you had with him.       Isn't that right?

12:55:46   22                  MR. HAMILTON:    Objection.    Relevance.

12:55:50   23                  MR. LOMAS:    So, it's a specific instance.      How

12:55:53   24     specific do we need to get?        May I mention the individual

12:56:04   25     the -- that there was a business dealing --
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12:56:07     1                 THE COURT:    I'm sustaining the objection to the

12:56:08     2    form of the question.      Again, the question you just asked is

12:56:13     3    what a jury found.     You can ask him about specific instances.

12:56:16     4    He's on the stand, he's being cross-examined.         You're not

12:56:19     5    doing this extrinsically through another witness.

12:56:22     6                       So, I will allow you to cross-examine him,

12:56:26     7    but it has to go to acts that you allege bear on his

12:56:30     8    truthfulness or untruthfulness, not necessarily what a jury

12:56:33     9    found or what a judge said.      It's the acts themselves.      So,

12:56:37   10     ask about the acts.

12:56:38   11     BY MR. LOMAS:

12:56:39   12     Q.      Okay, did you --

12:56:40   13                        Mr. Vanetik, you made a false representation

12:56:42   14     to Los Angeles authority in connection with a business

12:56:47   15     arrangement?

12:56:48   16     A.      You're asking me if I did that?

12:56:50   17     Q.      Uh-huh.

12:56:51   18     A.      My answer is no.

12:56:54   19     Q.      And my next question would be:       But a jury found you

12:57:03   20     liable and found that you did.

12:57:05   21                  MR. LOMAS:    So, Your Honor, I don't know if I'm

12:57:06   22     just sort of -- maybe some guidance on how to address that,

12:57:10   23     because isn't that impeachment of that item?         Of that answer?

12:57:15   24     That a jury found that he did?

12:57:17   25                  THE COURT:    Well, I guess whatever the jury found
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12:57:20     1    would be extrinsic evidence.

12:57:23     2                   MR. LOMAS:   Uh-huh.

12:57:24     3                   THE COURT:   If you have evidence of it, I may

12:57:26     4    consider admitting it for purposes of impeachment in light of

12:57:30     5    the last answer.

12:57:30     6                   MR. LOMAS:   All right.   Understood.   Thank you.

12:58:00     7                   (Discussion off the record.)

12:58:00     8                   MR. LOMAS:   Your Honor, permission to hand out

12:58:02     9    what's been marked as Exhibit 21 for identification.

12:58:05   10                    THE COURT:   All right, 21 is marked.

12:58:08   11     BY MR. LOMAS:

12:58:39   12     Q.      All right, Mr. Vanetik, I've handed you or you've been

12:58:43   13     handed what's been marked as Plaintiff Exhibit 21, which is a

12:58:46   14     document -- which is an opinion of the California Court of

12:58:50   15     Appeal, Fourth Appellate District Division 3 in a case

12:58:55   16     Farmers and Merchant's Trust Company V. Vanetik.

12:59:00   17                         Were you the defendant in this case?

12:59:03   18     A.      Yes.

12:59:03   19     Q.      Okay.    If you could flip to page 10.

12:59:15   20                         So, a moment ago you testified that you did

12:59:17   21     not make false representation to Mr. Bori (phonetically

12:59:22   22     spelled) as the Court found -- as the Court is saying here on

12:59:25   23     Paragraph 10, the jury in that case did find that you made

12:59:29   24     false representation to Mr. Bori (phonetically spelled),

12:59:34   25     correct?
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12:59:35     1    A.        That is correct.

12:59:35     2    Q.        Okay.    And that you knew it was false at the time that

12:59:38     3    it was made?

12:59:40     4    A.        I believe that -- that's what the jury could have

12:59:44     5    found.

12:59:44     6    Q.        Okay.

12:59:47     7    A.        This is from 2013 case, I believe, yeah, or 12, 2012.

12:59:52     8    Q.        And there was a judgment against you in this case for

12:59:54     9    fraud?

12:59:54   10     A.        There was.    It was reduced by two-thirds, but it

12:59:58   11     was -- yes.

12:59:58   12     Q.        And it was affirmed on appeal by the California

13:00:02   13     appellate court in this opinion?

13:00:03   14     A.        I believe so.    The monetary judgment was thrown out,

13:00:08   15     most of it.       But, yes, certain things were approved on

13:00:11   16     appeal.

13:00:11   17     Q.        All right, and the appellate court found that there

13:00:14   18     was substantial evidence to support the finding that you had

13:00:17   19     committed fraud.

13:00:18   20     A.        I don't know if appellate court looks at evidence.        I

13:00:21   21     think they look at the law, but they didn't -- apparently

13:00:24   22     they didn't find that there were problems with the procedure

13:00:27   23     of the law.

13:01:39   24     Q.        Mr. Vanetik, do you know where Mr. --

13:01:51   25                          Sorry.   I'm trying to recall --
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13:01:59     1                       Sayhan Agaevlist (phonetically spelled), the

13:01:59     2    other witness that you're planning to bring in in this case?

13:01:59     3    A.      Sayhan Agaev.

13:02:01     4    Q.      Yes, Sayhan Agaev.

13:02:03     5    A.      From what I understand, he lives in Homburg, Germany,

13:02:09     6    and in the Chechen Republic.

13:02:11     7    Q.      Okay.   And have you had any contact with Mr. Agaev

13:02:11     8    recently?

13:02:14     9    A.      Recently, solely to ask him to testify.

13:02:16   10     Q.      And did you have any contact --

13:02:17   11                        When was the last time you had contact with

13:02:23   12     him?

13:02:23   13     A.      Actually today.     I sent him a text telling him that

13:02:26   14     he's probably not going, because he's -- it's a big time

13:02:28   15     difference.

13:02:28   16     Q.      And so you had contact information for him?

13:02:32   17     A.      Yes.

13:02:32   18     Q.      And how long have you had the contact information for

13:02:35   19     Mr. Agaev?

13:02:37   20     A.      Probably for a few months, I imagine.

13:02:40   21     Q.      When did you identify Mr. Agaev as a potential witness

13:02:46   22     on your behalf?

13:02:46   23     A.      Probably quite early, I imagine a year ago.

13:02:52   24     Q.      You didn't have any contact information at that time?

13:02:55   25     A.      At that time I did not.
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13:02:56     1    Q.      How about for Mr. Rogers, did you have any contact

13:02:59     2    information for him?

13:03:00     3    A.      For Mr. Rogers, I believe I did.

13:03:02     4    Q.      Because he was your partner in Odyssey Management?

13:03:06     5    A.      Yes.    Yes.

13:03:06     6    Q.      And you've had a long relationship with him?

13:03:09     7    A.      Almost ten years, yes, give or take.

13:03:21     8    Q.      Could you, Mr. Vanetik, could you please flip to

13:03:28     9    Exhibit 4 in your binder?

13:03:30   10     A.      Exhibit 4?

13:03:31   11     Q.      Yes, please.

13:03:42   12     A.      Okay.

13:03:43   13     Q.      All right, are you familiar with responding to

13:03:48   14     interrogatories in that case, correct?

13:03:49   15     A.      Yes.

13:03:50   16     Q.      And you understand that it's your obligation to update

13:03:53   17     these interrogatories with information that you've learned

13:03:57   18     throughout the course of the case?

13:03:58   19     A.      Yes.

13:03:58   20     Q.      Okay.   If you could please flip to page 6, Paragraph

13:04:09   21     7.   Here you state in your interrogatory response that the

13:04:13   22     address and contact information for Mr. Rogers who's been --

13:04:19   23     you've had a ten-year relationship with is unknown?

13:04:22   24     A.      I believe at that time it was unknown.

13:04:25   25     Q.      You have no idea what Mr. Roger's contact information
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13:04:31     1    was at this time?

13:04:32     2    A.       Yeah.   I'm guessing.     Yes.

13:04:33     3    Q.       Okay.   And when did you learn Mr. Rogers' contact

13:04:42     4    information?

13:04:42     5    A.       I've had his contact information for a long time, but

13:04:46     6    his cell numbers have changed, and he moved.         So, I -- I'm

13:04:50     7    assuming -- as I'm recalling the response to this

13:04:53     8    interrogatory -- I'm assuming that at that time I couldn't

13:04:56     9    reach him, so -- but I wanted to make sure that we provide

13:05:01   10     his name.

13:05:01   11     Q.       And you had no idea where he lived?

13:05:05   12     A.       Well, I knew -- I believed he was in Orange County.

13:05:09   13     He had gotten divorced recently and -- as I understand, and

13:05:14   14     his -- his life changed.      But I always had a number for him,

13:05:18   15     but I believe that at that time the reason I didn't provide

13:05:20   16     it is because it didn't -- it didn't work.         And it's just a

13:05:23   17     guess.   Well, no, I -- I think, as I'm looking at this.

13:06:08   18                  MR. LOMAS:    Your Honor, at this time I'd like to

13:06:10   19     move into evidence Exhibit 20.

13:06:19   20                  THE COURT:    Any objection?

13:06:24   21                  MR. HAMILTON:    Foundation, Your Honor.

13:06:27   22                  THE COURT:    Sustained.

13:06:45   23                  MR. LOMAS:    May I respond to the objection?

13:06:47   24                  THE COURT:    Sure.

13:06:48   25                  MR. LOMAS:    Okay.    Because Mr. Vanetik testified
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13:06:50     1    that he was aware of the document and what it was and that he

13:06:54     2    had seen it before and that it's --

13:06:56     3                 THE COURT:    You asked those questions, he said

13:06:59     4    yes.   That's all that's in the record.

13:07:02     5                 MR. LOMAS:    Correct.   Well, then, I asked him

13:07:04     6    about the ticket, the information on the one page, the third

13:07:07     7    page of the document.

13:07:08     8                 THE COURT:    But in terms of foundation, all that's

13:07:10     9    in the record is that he's seen it before, and he's familiar

13:07:14   10     with it.

13:07:14   11                  MR. LOMAS:    Okay.   I thought I asked the question

13:07:16   12     about what it was.     Okay.

13:07:18   13     BY MR. LOMAS:

13:07:19   14     Q.      Mr. Vanetik, what is -- if you have Exhibit 20 in

13:07:23   15     front of you, what is Exhibit 20?

13:07:24   16     A.      I apologize, we're talking about the three pages

13:07:28   17     that's the inaugural program?

13:07:30   18     Q.      Yes, yes.

13:07:32   19     A.      It's inaugural -- official inaugural program for

13:07:37   20     sponsorship for the 58th presidential inauguration.

13:07:42   21     Q.      Okay.   And so you're familiar with this in the course

13:07:45   22     of looking into the events of the inauguration?

13:07:50   23     A.      Yes, I was familiar with it in the context you

13:07:54   24     described.

13:07:55   25     Q.      Okay.   And you had -- you obtained a copy of this at
           Case 8:19-cv-01212-FLA-JDE Document 91 Filed 11/02/21 Page 131 of 180 Page ID
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13:07:59     1    some point and reviewed it?

13:08:01     2    A.      Yes.

13:08:01     3    Q.      Move to admit Exhibit 20 into evidence.

13:08:06     4                   MR. HAMILTON:   Objection.    Foundation.

13:08:09     5                   THE COURT:   So, Counsel, what's your theory for

13:08:11     6    admitting this document?

13:08:13     7                        Well, let me step back.

13:08:14     8                        The objection is foundation?

13:08:17     9                   MR. HAMILTON:   Foundation.

13:08:18   10                    THE COURT:   I hear that, but what about the

13:08:20   11     foundation?

13:08:21   12                    MR. HAMILTON:   I mean, this is just a document

13:08:23   13     that he saw.     He didn't prepare it.      He knows -- he hadn't

13:08:28   14     asked him whether he knows anything about it that much.

13:08:37   15                    THE COURT:   Is there any other objection?     Any

13:08:39   16     other ground?

13:08:40   17                    MR. HAMILTON:   No, Your Honor.

13:08:44   18                         Relevance also.

13:08:47   19                    THE COURT:   All right, it's overruled on relevance

13:08:50   20     grounds.

13:08:52   21                         So, the objection is foundation based on the

13:08:57   22     witnesses's, I guess, lack of familiarity with the document?

13:09:01   23     Is that right, Counsel?

13:09:03   24                    MR. HAMILTON:   Yes, Your Honor.

13:09:05   25                    THE COURT:   Okay, on that ground, that objection
           Case 8:19-cv-01212-FLA-JDE Document 91 Filed 11/02/21 Page 132 of 180 Page ID
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13:09:08     1    is overruled.

13:09:20     2                       So, 20 is admitted.

13:09:22     3                 (Exhibit No. 20 received in evidence.)

13:09:26     4                 MR. ASHBY:    Your Honor, I'd like to admit Exhibit

13:09:29     5    22 into evidence.

13:09:34     6                 MR. HAMILTON:    No objection, Your Honor.

13:09:35     7                 THE COURT:    All right, 22 is admitted.

13:09:37     8                 (Exhibit No. 22 received in evidence.)

13:09:38     9                 MR. LOMAS:    And also Exhibit 21.

13:09:47   10                  MR. HAMILTON:    No objection.

13:09:49   11                  THE COURT:    21 is admitted.

13:09:50   12                  (Exhibit No. 21 received in evidence.)

13:09:54   13                  MR. LOMAS:    Let me just check.     Could we move into

13:10:12   14     evidence Exhibit 8, if it had not already been.         I think we

13:10:21   15     have it tracked as it wasn't.

13:10:23   16                  MR. HAMILTON:    No objection.

13:10:25   17                  THE COURT:    All right, 8 is admitted.

13:10:27   18                  (Exhibit No. 8 received in evidence.)

13:10:36   19                  MR. LOMAS:    And, excuse me.    Exhibit 4?

13:10:45   20                  THE COURT:    Any objection?

13:10:46   21                  MR. HAMILTON:    No objection, Your Honor.

13:10:48   22                  THE COURT:    4 is admitted.

13:10:49   23                  (Exhibit No. 4 received in evidence.)

13:10:50   24                  MR. LOMAS:    Okay.

13:11:11   25     BY MR. LOMAS:
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13:11:13     1    Q.        Mr. Vanetik, did you acknowledge that Odyssey

13:11:17     2    Management received $200,000 from that wire payment that we

13:11:21     3    referred to earlier in the case, Exhibit 3, as the wire

13:11:25     4    received?

13:11:27     5    A.        You're asking me if I acknowledged if the wire was

13:11:30     6    received?

13:11:30     7    Q.        Yes.

13:11:31     8    A.        Yes.

13:11:31     9    Q.        And has there ever been any moneys refunded to BEM

13:11:37   10     Global?

13:11:37   11     A.        No.

13:11:37   12     Q.        And has there been any money refunded to Mr. Fuks?

13:11:44   13     A.        No.

13:11:59   14                      (Discussion off the record.)

13:12:08   15                      MR. LOMAS:   All right, I have no further

13:12:10   16     questions, Your Honor.

13:12:12   17                      THE COURT:   Redirect.

13:12:13   18                      MR. HAMILTON:   Just a few, Your Honor.

13:12:16   19                      THE COURT:   Go ahead.

13:12:17   20                               REDIRECT EXAMINATION

13:12:17   21     BY MR. HAMILTON:

13:12:32   22     Q.        Mr. Vanetik, can you look at Exhibit 10, please.

13:12:40   23     A.        Yes, I'm there.

13:12:43   24     Q.        Counsel was asking you questions on this.        Why was

13:12:47   25     the -- under duties, why is Kerness's name left out?
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13:12:55     1    A.      It was -- it was deliberately left out, and it's

13:12:57     2    something that I also suggest that my clients, my advocates

13:13:02     3    or consulting clients do is because sometimes these things

13:13:06     4    get leaked to the press.       Kerness was under attack, and

13:13:09     5    someone could get into your system, your computer.          So that's

13:13:13     6    one reason.

13:13:13     7                       The second reason is Mr. Gorchinco

13:13:16     8    (phonetically spelled) and other attorneys whose names I

13:13:19     9    can't recall, the second, they -- they wanted things to be

13:13:22   10     quite broad.    And since there were several projects, there

13:13:25   11     was the immigration image project and then there was the

13:13:30   12     imminent assault on Kerness where he was facing multiple

13:13:36   13     criminal charges, and we wanted to keep it broad.          And they

13:13:41   14     approved it.    I prepared -- prepared it specifically with

13:13:45   15     that language, and no one pushed back, and in fact that's

13:13:48   16     what they -- that's what they wanted.

13:13:51   17                   MR. HAMILTON:    No further questions, Your Honor.

13:13:54   18                   THE COURT:   All right, recross?

13:13:56   19                   MR. LOMAS:   No, Your Honor.

13:13:59   20                   THE COURT:   Just a few questions, Mr. Vanetik.

13:14:02   21                        When exactly did you turn your telephone over

13:14:05   22     to the FBI?

13:14:06   23                   THE DEFENDANT:    It was -- exactly, I can't tell

13:14:08   24     you, but it was in February -- end of February 2017.

13:14:15   25                   THE COURT:   And why did you do that?
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13:14:17     1                  THE DEFENDANT:   Because I determined that the

13:14:18     2    threats on Mr. Fuks -- from Mr. Fuks were legitimate, and

13:14:23     3    then I contacted the authorities, initially obtained advice.

13:14:26     4    First I went to first responders.       Subsequently I went to the

13:14:30     5    authorities, and they wanted all my information, and they --

13:14:32     6    they were interested in Mr. Fuks --

13:14:34     7                       I can't draw any conclusions, but they -- it

13:14:36     8    appeared to me they were interested in him for many other

13:14:41     9    reasons.

13:14:42   10                   THE COURT:   Do you know what the FBI did with your

13:14:44   11     telephone?

13:14:44   12                   THE DEFENDANT:   No, I don't.    They ultimately

13:14:47   13     returned it, and I didn't use it since then.

13:14:51   14                   THE COURT:   Okay.   When was it returned to you?

13:14:53   15                   THE DEFENDANT:   Probably a few weeks or

13:15:00   16     afterwards.

13:15:00   17                   THE COURT:   And upon receiving it from the FBI,

13:15:01   18     did you turn it on, look at it, operate it?

13:15:05   19                   THE DEFENDANT:   I think I did, some of the texts

13:15:08   20     where I couldn't -- I couldn't access Signal or some of the

13:15:11   21     other apps.

13:15:17   22                   THE COURT:   Did you examine it to determine

13:15:20   23     whether anything had been modified, deleted or altered?

13:15:24   24                   THE DEFENDANT:   Not thoroughly, no.     No.

13:15:24   25                   THE COURT:   Okay.
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13:15:24     1                 THE DEFENDANT:    I just went to get a different

13:15:26     2    phone.

13:15:26     3                 THE COURT:    Okay.   Did you ever turn it over to

13:15:29     4    any, sort of any -- any IT consulting service that examines

13:15:43     5    telephones for purposes of data retrieval?

13:15:47     6                 THE DEFENDANT:    No.

13:15:47     7                 THE COURT:    On Exhibit 22, if you could just look

13:15:50     8    at that.    Is that your signature on the bottom of that

13:15:54     9    document?

13:15:54   10                  THE DEFENDANT:    I apologize, Your Honor.      Exhibit

13:15:56   11     22 is which document?

13:15:57   12                  THE COURT:    I think it's a federal form.

13:15:59   13                  THE DEFENDANT:    Oh, I see.

13:16:02   14                  THE COURT:    I think it's been referred to as the

13:16:07   15     Foreign Agent Registration Act form.

13:16:09   16                  THE DEFENDANT:    Yes, I see it.      I believe it's my

13:16:15   17     signature.

13:16:16   18                  THE COURT:    Is there any doubt?

13:16:17   19                  THE DEFENDANT:    No, no.

13:16:19   20                  THE COURT:    Okay.

13:16:20   21                  THE DEFENDANT:    No, it's my signature.      It would

13:16:25   22     only be either me or Oksana's.       So it's me.    Yeah, there is

13:16:27   23     no doubt.

13:16:43   24                  THE COURT:    Did you attend any of the inauguration

13:16:45   25     events with Mr. Fuks?
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13:16:47     1                 THE DEFENDANT:    I attended two events with

13:16:53     2    Vitaliy, Svitlana and Mr. Fuks.       They were together.

13:16:58     3                 THE COURT:    And Mr. Vitaliy's spouse was not

13:17:00     4    there?

13:17:01     5                 THE DEFENDANT:    She was there.     She was there all

13:17:03     6    the time.

13:17:04     7                 THE COURT:    So, all three of them.

13:17:05     8                 THE DEFENDANT:    Yes.

13:17:05     9                 THE COURT:    All right, which exactly?      Are the two

13:17:06   10     events you attended with the three of them?

13:17:08   11                  THE DEFENDANT:    One was the swearing in, which was

13:17:11   12     at the, I guess, the Carpenters' office, and the second one

13:17:15   13     was Kevin McCarthy's event, and the Trump Hotel the night of

13:17:22   14     the 20th, which was the eve of -- it was the night before

13:17:26   15     they left.

13:17:28   16                  THE COURT:    And what happened at that event.

13:17:35   17                  THE DEFENDANT:    You're asking me, Your Honor, to

13:17:36   18     describe it?

13:17:37   19                  THE COURT:    Yes.

13:17:37   20                  THE DEFENDANT:    It was --

13:17:37   21                  THE COURT:    I don't mean the event in general,

13:17:38   22     just what happened to you and Mr. Fuks and his guests.

13:17:41   23                  THE DEFENDANT:    They seemed quite pleased.

13:17:44   24     They -- because I introduced them to Kevin McCarthy at Royce,

13:17:50   25     and Vitaliy struck a conversation with Kevin and took
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13:17:52     1    pictures.    And they, you know, they seemed to have enjoyed

13:17:55     2    themselves.

13:17:56     3                  THE COURT:   And Mr. Royce and Mr. McCarthy,

13:17:59     4    they're both members of the House of Representatives from

13:18:02     5    State of California, correct?

13:18:03     6                  THE DEFENDANT:   Mr. Royce was at the time.      He no

13:18:06     7    longer is.    He's with an advocacy firm.      And Mr. McCarthy is

13:18:12     8    still, yes.

13:18:47     9                  THE COURT:   With respect to Exhibit 10, your

13:18:50   10     consulting agreement --

13:18:50   11                   THE DEFENDANT:   Uh-huh.

13:18:52   12                   THE COURT:   It's --

13:18:52   13                        In your mind, your client was Mr. Fuks.

13:18:58   14     Right?   That's what you testified to.

13:19:00   15                   THE DEFENDANT:   Yes, yes, yes.

13:19:02   16                   THE COURT:   But you were rendering services to the

13:19:06   17     now former mayor of -- I forget, I'm sorry.         I forget the

13:19:10   18     name of the city in Ukraine.       Is that right?

13:19:14   19                   THE DEFENDANT:   Yes.

13:19:15   20                   THE COURT:   So, you were ultimately retained by

13:19:18   21     the mayor to provide services to the mayor.         Is that right?

13:19:20   22                   THE DEFENDANT:   Yes, and paid for by Fuks.

13:19:24   23                   THE COURT:   And Mr. Fuks was paying for your fees.

13:19:28   24                   THE DEFENDANT:   Yes.

13:19:30   25                   THE COURT:   But were you actually rendering
           Case 8:19-cv-01212-FLA-JDE Document 91 Filed 11/02/21 Page 139 of 180 Page ID
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13:19:32     1    services to Mr. Fuks or just to the mayor?

13:19:34     2                 THE DEFENDANT:    It's actually a great question.

13:19:36     3    It seems simple.     Umm, I would say more for Mr. Fuks because

13:19:44     4    he controlled the purse, and he was still involved.

13:19:49     5                 THE COURT:    So, what were you doing for Mr. Fuks?

13:19:52     6                 THE DEFENDANT:    I was -- as he pointed out,

13:19:55     7    initially, I was helping his friend get out of a horrible

13:20:00     8    trouble, because -- that's how he characterized it -- because

13:20:02     9    he was indicted and charged for multiple crimes, and because

13:20:05   10     he was handicapped, they were tormenting him.         "They" meaning

13:20:12   11     his enemies, his main enemy, and this is public knowledge,

13:20:15   12     open source is former Minister Avakov.        They used to be the

13:20:19   13     closest of friends, and they became very bitter enemies, and

13:20:23   14     everyone in that world ultimately seems to get murdered.

13:20:27   15     Just dramatic.

13:20:29   16                  THE COURT:    All right.   So, the mayor was under

13:20:31   17     indictment in the Ukraine.

13:20:32   18                  THE DEFENDANT:    Yes, multiple indictments, yes.

13:20:34   19                  THE COURT:    All right.   And Mr. Fuks asked you to

13:20:36   20     help him.

13:20:36   21                  THE DEFENDANT:    Yes, yes.    And the mayor did as

13:20:39   22     well.

13:20:39   23                  THE COURT:    Right.   Okay.

13:21:03   24                        Looking at paragraph 1.2 of that agreement,

13:21:07   25     it says that you shall develop a feasibility study for the
           Case 8:19-cv-01212-FLA-JDE Document 91 Filed 11/02/21 Page 140 of 180 Page ID
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13:21:11     1    client.    Did you do that?

13:21:14     2                 THE DEFENDANT:    I believe -- umm, we developed a

13:21:19     3    draft that was not in finalized form.        That's my

13:21:24     4    recollection.

13:21:27     5                 THE COURT:    And what did you do with that draft?

13:21:29     6                 THE DEFENDANT:    Probably put it in boxes of files,

13:21:33     7    and put it in storage.

13:21:36     8                 THE COURT:    Did you give it to your client?

13:21:39     9                 THE DEFENDANT:    We e-mailed it, we e-mailed it at

13:21:42   10     some point early on to Gorchinco but not to Mr. Fuks, to --

13:21:46   11     to the team that was working with Kerness.

13:21:50   12                  THE COURT:    I'm sorry, you said you e-mailed it to

13:21:52   13     whom?

13:21:52   14                  THE DEFENDANT:    A man named Gorchinco.

13:21:55   15                  THE COURT:    Who was that?

13:21:55   16                  THE DEFENDANT:    He was the general -- the main

13:21:58   17     lawyer working with the mayor.

13:22:33   18                  THE COURT:    And you told us you were an attorney.

13:22:35   19     Are you licensed in California?

13:22:36   20                  THE DEFENDANT:    No, I'm not.

13:22:37   21                  THE COURT:    Only in Pennsylvania?

13:22:38   22                  THE DEFENDANT:    In D.C.

13:22:44   23                  THE COURT:    In D.C.

13:22:46   24                  THE DEFENDANT:    Yes.

13:22:47   25                  THE COURT:    Do you practice law?
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13:22:48     1                 THE DEFENDANT:    I try not to.

13:22:50     2                 THE COURT:    Are you active in those two

13:22:52     3    jurisdictions?

13:22:52     4                 THE DEFENDANT:    In D.C. Bar, yes, in Pennsylvania,

13:22:55     5    no, not active.

13:22:58     6                 THE COURT:    And these services that you provided

13:23:00     7    to the mayor, would you characterize any of them as legal

13:23:06     8    services?

13:23:07     9                 THE DEFENDANT:    No, no, that's why we went through

13:23:09   10     a consulting company.      No. Never.

13:23:12   11                  THE COURT:    Okay, all right.

13:23:13   12                        Any additional questions by counsel for the

13:23:17   13     defense, of the witness?

13:23:19   14                  MR. HAMILTON:    No, Your Honor.

13:23:21   15                  THE COURT:    How about for counsel for plaintiff?

13:23:22   16                  MR. LOMAS:    Just one, Your Honor.

13:23:25   17                  THE COURT:    You may go ahead.    Go to the lectern.

13:23:28   18     And You May Inquire.

13:23:31   19                               RECROSS-EXAMINATION

13:23:31   20     BY MR. LOMAS:

13:23:32   21     Q.      Mr. Vanetik, you made no objection in the course of

13:23:36   22     this litigation or -- to being unable to provide any

13:23:42   23     responsive documents or documentary requests in connection

13:23:47   24     with the fact that -- that the FBI had your phone, did you?

13:23:50   25     A.      Umm, if I understand your question correctly, no.          I
           Case 8:19-cv-01212-FLA-JDE Document 91 Filed 11/02/21 Page 142 of 180 Page ID
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13:23:55     1    said that I provided everything that I personally had in my

13:24:00     2    possession.

13:24:00     3    Q.        All right, and you did not --

13:24:00     4                         At no time did you inform the plaintiff that

13:24:05     5    you had any issue with not having access to your phone to be

13:24:09     6    able to provide documents in this case?

13:24:10     7    A.        No.   I have -- I had access to my phone when the

13:24:14     8    litigation had commenced which was two and a half years after

13:24:17     9    the alleged incident.

13:24:19   10                     MR. LOMAS:   Okay, thank you.

13:24:21   11                     THE COURT:   Anything else?

13:24:22   12                     MR. LOMAS:   Sorry, Your Honor, no.

13:24:24   13                     THE COURT:   Directed to defense counsel.

13:24:25   14                     MR. HAMILTON:    Your Honor, we have a witness, Eric

13:24:29   15     Rogers.    He's the one that's home with Covid.

13:24:32   16                     THE COURT:   All right.    So, you're done with this

13:24:34   17     witness?

13:24:34   18                     MR. HAMILTON:    Yes, I'm done with him.

13:24:36   19                     THE COURT:   All right, Mr. Vanetik, you may step

13:24:38   20     down, and you may return to counsel table.

13:24:40   21                     THE DEFENDANT:   Thank you, Your Honor.

13:24:42   22                     THE COURT:   And then --

13:24:43   23                          Are you ready to call Mr. Rogers?      He's going

13:24:46   24     to be appearing via Zoom, right?          Testifying remotely?

13:24:50   25                     MR. LOMAS:   We're going to have to go outside and
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13:24:53     1    call him at his cell phone, because he -- you know, he's at

13:24:55     2    his house, told me to call him here on Zoom.

13:25:00     3                  THE COURT:   Well, we can reestablish the Zoom

13:25:02     4    line, and he can dial into it I presume.

13:25:06     5                  MR. HAMILTON:   Yes, we've just got to alert him of

13:25:09     6    that fact, Your Honor.

13:25:18     7                  (Discussion off the record.)

13:25:26     8                  THE COURT:   We just need --

13:25:27     9                       Because we turned it off in the hopes of

13:25:29   10     getting the system to work for purposes of publishing

13:25:33   11     exhibits, we just need to restart it.

13:25:35   12                        So, I am told that it will only take a few

13:25:38   13     minutes to do that.     So we'll do that.     We've got till 2:00

13:25:42   14     o'clock.    So get your witness lined up, and as soon as we

13:25:45   15     have it started, he can dial into the Zoom line.         Okay?

13:25:45   16                   MR. HAMILTON:   Thank you, Your Honor.

13:25:49   17                   THE COURT:   All right.   So, we'll take a recess,

13:25:51   18     and as soon as everything is set up, we'll restart the trial.

13:25:54   19                        Sorry, since I have you, what's the timeframe

13:26:03   20     for tomorrow?    What's left to do after -- I don't know if

13:26:07   21     you'll be done with Mr. Rogers this afternoon, but what do

13:26:11   22     you have --

13:26:11   23                        Do you think you'll be done by the morning

13:26:13   24     with the trial?     What are your thoughts here?

13:26:16   25                   MR. HAMILTON:   Your Honor --
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13:26:19     1                  THE COURT:   I'm thinking of another early start

13:26:22     2    like today.    So, let's assume we start at 8:00 again.        What

13:26:25     3    do you think?

13:26:26     4                  MR. HAMILTON:   If we're at 8:00, we lost our

13:26:29     5    interpreter Seyhan.     He's got to call in.     He's my last

13:26:36     6    witness, he's maybe five, ten minutes, between the both of

13:26:40     7    us.   My closing would be 20 minutes, and we should be able to

13:26:45     8    get done with Mr. Rogers this afternoon.

13:26:47     9                  THE COURT:   Okay.   So, those are the last two

13:26:47   10     minutes.

13:26:50   11                        Any rebuttal that you anticipate?

13:26:53   12                   MR. LOMAS:   It's possible, but I would think it's

13:26:55   13     not going to be very long.      So I would think that if we're

13:26:59   14     starting at 8:00 or 8:30, we'd be finished by the end of the

13:27:04   15     morning.

13:27:05   16                   THE COURT:   It sounds like we'd be done well

13:27:08   17     within the morning.

13:27:08   18                   MR. LOMAS:   I think we've gone through the

13:27:11   19     substantial majority.

13:27:12   20                   THE COURT:   Okay, that's helpful.     Let's go ahead

13:27:14   21     and take our break, and get our Zoom lined up and running.

13:27:20   22                   COURT CLERK:    All rise.

13:27:21   23                   (Recess taken.)

13:41:45   24                   THE COURT:   All right, we are back on the record.

13:41:48   25     Counsel are present.
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13:41:49     1                       Looks like we've set up the Zoom link.

13:41:53     2                       So, Counsel, you may call your next witness.

13:41:56     3                 MR. HAMILTON:    Eric Rogers, Your Honor.

13:42:02     4                 THE COURT:    All right, Mr. Rogers, assuming he's

13:42:04     5    online, he's going to need to be sworn in.

13:42:08     6                 COURT CLERK:    Mr. Rogers please your right hand.

13:42:12     7                       Do you swear or affirm that the testimony

13:42:12     8    you're about to give in the case now before this Court will

13:42:12     9    be the truth, the whole truth and nothing but the truth, so

13:42:17   10     help you God?

13:42:17   11                  THE PLAINTIFF:    I do.

13:42:19   12                  COURT CLERK:    Thank you.    Please state and spell

13:42:21   13     your full name for the record.

13:42:23   14                  THE PLAINTIFF:    Eric Rogers.    E-R-I-C,

13:42:26   15     R-O-G-E-R-S.

13:42:32   16                  THE COURT:    We're going to try to raise the volume

13:42:35   17     a little bit.

13:42:45   18                        Go ahead, Counsel.

13:42:48   19                  MR. HAMILTON:    Thank you, Your Honor.

13:42:49   20                        WITNESS, ERIC ROGERS, SWORN

13:42:49   21                               DIRECT EXAMINATION

13:42:50   22     BY MR. HAMILTON:

13:42:51   23     Q.      Mr. Rogers, thank you for being with us this

13:42:54   24     afternoon.    I know you're not feeling very well.        I'm just

13:42:57   25     going to ask you a few questions.
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13:42:59     1                       Do you know a company called Odyssey

13:43:02     2    Management LLC?

13:43:03     3    A.      I do.

13:43:04     4    Q.      And can you describe to us how you know the company?

13:43:09     5    A.      Odyssey Management was a venture that was formed with

13:43:12     6    myself and Stewart.     You know, I'm a dad, I put everything

13:43:17     7    back to the year my son was born, just a marker in life.            I

13:43:21     8    want to say from the 2009 to 2012 time period.         It was also a

13:43:26     9    time that we had a real estate fund.

13:43:29   10     Q.      And when you say "Stewart," who do you mean by that?

13:43:34   11     A.      Stewart was a partner that Yuri worked with on more of

13:43:41   12     the political ventures.

13:43:43   13     Q.      Okay.    Does Stewart have a last name?

13:43:48   14     A.      I knew you were just going to ask me that.         This has

13:43:51   15     been ten years, guys.      I'm happy to pull up an old e-mail if

13:43:55   16     you'd like me to.

13:43:56   17     Q.      That's fine.    What did -- did --

13:43:59   18                        You indicated Mr. Vanetik did things for

13:44:03   19     Odyssey Management.     What did he do?

13:44:04   20     A.      You know, I would consider Yuri the main partner there

13:44:11   21     in not only procuring work but, you know, basically, he's the

13:44:15   22     president, the CEO, the leader of outside political work,

13:44:20   23     lobbying work.

13:44:22   24     Q.      What was your role there?

13:44:26   25     A.      I mainly served in a due diligence capacity.         I --
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13:44:33     1    it's -- you know, what I do professionally now and I've done

13:44:37     2    pretty much my whole career is, you know, dissect things and

13:44:41     3    try to make sense of them to -- to, you know, execute and

13:44:44     4    elevate that upper management to -- to execute plans that are

13:44:49     5    in place.    Just basically take a lot of information and

13:44:52     6    dissect it down.

13:44:53     7    Q.      Okay.   Do you know an individual named Palov Fuks?

13:45:01     8    A.      I know of him, yes.

13:45:03     9    Q.      How do you know Mr. Fuks?

13:45:05   10     A.      He was a client of Odyssey Management's, like I said,

13:45:09   11     around the 2010 to 2012 timeframe.

13:45:13   12     Q.      What services did Odyssey do for Mr. Fuks?

13:45:16   13     A.      The one that I -- and the only one that I specifically

13:45:20   14     recall is working, once again, like I said, it's been some

13:45:26   15     time.   It was a mayor out of the Ukraine.       There was human

13:45:31   16     rights violations.     I remember using some of my contacts from

13:45:34   17     school that were in positions at the UN to get some reports,

13:45:41   18     some human rights things, on behalf of -- I want to say

13:45:48   19     Kamis, Kemis (phonetically spelled), a mayor Kemis

13:45:51   20     (phonetically spelled), of a Ukrain mayor that we were

13:45:52   21     researching human rights violations, and, you know, there may

13:45:57   22     have been some other aspects going on there.

13:46:00   23     Q.      Do you remember if Odyssey ever got paid for its

13:46:04   24     services from Mr. Fuks?

13:46:07   25     A.      I know I haven't gotten paid.
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13:46:09     1    Q.      But I'm not asking you specifically, do you remember

13:46:13     2    payment from --

13:46:14     3    A.      I think there was a -- I think there was a retainer

13:46:17     4    payment made.    Like I said, my son is now 12, so we're going

13:46:22     5    back, some time and back to the last time I think there was

13:46:25     6    any discussion of this between Yuri and myself was the

13:46:29     7    election of President Trump.       Like I said, these are all

13:46:35     8    dates --

13:46:38     9                       I think there was a retainer payment.       I

13:46:41   10     remember receiving a small portion, but I do -- and I know

13:46:45   11     for a fact there was an outstanding bill.

13:46:48   12     Q.      Do you know how much the outstanding bill is?

13:46:52   13     A.      Well, I would hope interest has incurred in that.          I

13:46:58   14     know it's in the six figure range, low to mid six figures.

13:47:02   15     Q.      Did you attend the inaugural events in Washington,

13:47:07   16     D.C. in January 2017?

13:47:08   17     A.      17, yes.

13:47:10   18     Q.      Okay.   Did Mr. Vanetik attend them with you?

13:47:15   19     A.      Yes.    Well, I was -- I was there for Mr. Vanetik and

13:47:20   20     his service.

13:47:24   21     Q.      And was Mr. Fuks back there in 2017?

13:47:28   22     A.      I did see Mr. Fuks there.

13:47:30   23     Q.      And where did you see Mr. Fuks?

13:47:34   24     A.      You know, we were at a -- it was a rooftop location.

13:47:37   25     I want to think --
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13:47:40     1                       I have not been back to D.C. since '17

13:47:42     2    because the last time I was there it was so scary.          I think

13:47:46     3    they call it a Constitution Rooftop.        It's a building, it's

13:47:52     4    round out in the front.      At that point I knew, you know, I

13:47:55     5    was even questioning why Mr. Fuks was -- was there.

13:47:58     6    Q.      Why would you question why Mr. Fuks was there?

13:48:00     7    A.      We had an unpaid bill.

13:48:04     8    Q.      I'm going to show you an exhibit -- just one exhibit

13:48:14     9    and have you look at it right now.

13:48:25   10                  THE COURT:    While you're doing that, Counsel, I

13:48:28   11     just want to remind everyone telephones are supposed to be

13:48:31   12     turned off while in the courtroom.       If I hear another one go

13:48:34   13     off, it's going to be seized.

13:48:39   14                  THE DEFENDANT:    Your Honor, that was possibly

13:48:41   15     mine.   I apologize.    I will shut it off.

13:48:44   16                  THE COURT:    All right, thank you.

13:48:47   17     BY MR. HAMILTON:

13:48:48   18     Q.      Can you see the exhibit, I think it's down -- it's

13:48:50   19     right next to --

13:48:54   20                        Can you see that?    It should say --

13:48:59   21                  THE WITNESS:    Can I have a moment to blow out my

13:49:02   22     screen, please, Your Honor?

13:49:05   23                  THE COURT:    Go ahead.

13:49:06   24                  THE WITNESS:    Yes, I can see that now.

13:49:09   25     BY MR. HAMILTON:
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13:49:09     1    Q.      And can you identify that exhibit?        What is it?

13:49:15     2    A.      That was -- the invoice that we used from Odyssey

13:49:19     3    Management.     More likely I generated that invoice, and I

13:49:22     4    actually do remember BEM Global Group was who we billed, Mr.

13:49:28     5    Fuks's group, I believe.      It's who I believe the original

13:49:32     6    payment came from.

13:49:33     7    Q.      And was this work done in the Ukraine?

13:49:42     8    A.      All my work would have been US based.

13:49:45     9    Q.      Okay.

13:49:46   10                   THE COURT:   Counsel, for the record, which exhibit

13:49:49   11     is this?

13:49:50   12                   MR. HAMILTON:   Sorry about that, Your Honor.       It

13:49:52   13     is Exhibit 3.

13:49:55   14                   THE COURT:   Thank you.

13:49:59   15                   MR. HAMILTON:   Oh, 2.    Sorry, Your Honor.

13:50:03   16                   THE WITNESS:    Your Honor, would the Court be kind

13:50:05   17     enough to read me the description under "quantity"?

13:50:14   18     BY MR. HAMILTON:

13:50:15   19     Q.      I can read it for you.      "Total unit price $200,000."

13:50:20   20     A.      Thank you very much.

13:50:25   21                   THE COURT:   I think he asked for what is said

13:50:28   22     under "quantity."

13:50:29   23                   THE WITNESS:    I can read it now, thank you.

13:50:32   24                        Yes.    That's definitely our banking

13:50:38   25     information.
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13:50:43     1    BY MR. HAMILTON:

13:50:43     2    Q.        And was this for work that Odyssey did for Mr. Fuks?

13:50:51     3    A.        Yes.

13:50:54     4                     MR. HAMILTON:   Your Honor, I have no further

13:50:56     5    questions of this witness.

13:50:57     6                     THE COURT:   Cross-examination?

13:51:05     7                     (Discussion off the record.)

13:51:30     8                     THE WITNESS:    Can you scroll to the top, please?

13:51:33     9                     THE COURT:   There is no question pending.

13:51:34   10                      MR. LOMAS:   Yeah, I'd like to ask the question

13:51:38   11     first.

13:51:39   12                                   CROSS-EXAMINATION

13:51:39   13     BY MR. LOMAS:

13:51:41   14     Q.        Mr. Rogers, this invoice reflects that the amount was

13:51:44   15     due in November 19, 2012, correct?

13:51:48   16     A.        I'd like to review the top of the exhibit again,

13:51:52   17     please.

13:51:57   18                      MR. HAMILTON:   I'll bring it back up.

13:52:00   19                      THE WITNESS:    I believe you were pointing out a

13:52:04   20     clerical error on that document?

13:52:06   21     BY MR. LOMAS:

13:52:07   22     Q.        No, actually, I was asking you, wasn't the amount due

13:52:11   23     on this invoice November 19, 2012?

13:52:14   24     A.        The invoice is dated November 19, 2016.

13:52:19   25     Q.        Do you see the amount at the bottom that says "Total
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13:52:22     1    due by 11-19-2012"?

13:52:27     2    A.      It seems to be clerical error.

13:52:29     3    Q.      How do you know that's a clerical error, instead of

13:52:30     4    November 19, 2016?

13:52:31     5    A.      Because I know when my son was born, and I know when I

13:52:33     6    did this work.

13:52:34     7    Q.      Okay.    Didn't you say earlier -- didn't you testify

13:52:36     8    that you did the work ten to 12 years ago when your son was

13:52:40     9    born, which would be approximately 2011?

13:52:42   10     A.      No, Gavin was born in 2009.       I probably met Yuri in

13:52:48   11     2008.   There was many projects from approximately -- we

13:52:54   12     wrapped -- last time I really did any type of this political

13:52:57   13     work would have been -- would have been the inauguration.

13:53:00   14     Q.      And you testified earlier that you did this work

13:53:04   15     supposedly from Mr. Fuks ten to 12 years ago, around the

13:53:08   16     birth of your son?

13:53:09   17     A.      Within a three range on each side, three range on each

13:53:09   18     side.

13:53:09   19     Q.      Okay.

13:53:12   20     A.      Like I said, I'm happy to pull up documents.

13:53:14   21     Q.      Sure.    And the work that you did for Mr. Fuks, was it

13:53:19   22     related to Mr. Fuks's business?

13:53:21   23     A.      I did work with Odyssey Management, not on behalf of

13:53:28   24     Mr. Fuks.

13:53:28   25     Q.      Right.   But you said you did work for --
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13:53:32     1                       In your relationship with Odyssey Management,

13:53:35     2    you did work or consulting work for Mr. Fuks?

13:53:38     3    A.      The invoice is to BEM Global group.

13:53:45     4    Q.      Okay.   Did you have work for BEM Global Group?

13:53:47     5    A.      To the best of my knowledge, yes.

13:53:50     6    Q.      And what was the work --

13:53:50     7                       Did you do -- did you do any consulting

13:53:51     8    services that were for the benefit of Mr. Fuks's businesses?

13:53:54     9    A.      To the best of my knowledge, we were retained by Mr.

13:53:59   10     Fuks for the mayor to basically research human rights

13:54:04   11     violations and other cases and other matters going on.          So,

13:54:09   12     these clients could have a better global Outlook on the

13:54:14   13     situation at hand.

13:54:15   14     Q.      Okay.   So, it had to do --

13:54:17   15                        The work was with respect to the mayor, not

13:54:20   16     with respect to Mr. Fuks's business?

13:54:24   17     A.      I understand Mr. Fuks as the client.

13:54:30   18     Q.      Okay.   What was your role in Odyssey Management LLC?

13:54:36   19     Were you a member?

13:54:37   20     A.      I'd have to look back at taxes, but, yes, I believe I

13:54:41   21     was a member.    I don't think I was a general partner.

13:54:41   22     Q.      Okay.   And has Odyssey Management ever brought any

13:54:44   23     claims against Mr. Fuks for any money that claims is

13:54:47   24     outstanding?

13:54:48   25     A.      Legally, not that I'm aware of.       I know there has been
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13:54:52     1    an outstanding bill.     That's why I actually contacted Yuri 18

13:54:57     2    to 24 months ago.

13:54:58     3    Q.      Okay.   But to date Odyssey Management has taken no

13:55:02     4    action to proceed with that bill through a claim in court?

13:55:08     5    A.      If it has, then it hasn't been brought to my

13:55:11     6    attention.

13:55:11     7    Q.      Okay, and --

13:55:11     8    A.      Actually -- I apologize.      I was contacted regarding, I

13:55:15     9    think there was a cross-suit or something filed, and whether

13:55:19   10     I wanted to be a part of that.       I've been pretty sick for a

13:55:20   11     month while this is coming to a head.        So, to be candid with

13:55:25   12     the Court, a lot has gone unpaid attention to.

13:55:28   13     Q.      When was the last time --

13:55:30   14                        Or how often have you been in touch with Yuri

13:55:34   15     over the past years?     Excuse me, Mr. Vanetik.      Apologies.

13:55:38   16     A.      Very rarely until the last week, with just giving me,

13:55:41   17     you know, updates and kind of how we're going to get around

13:55:45   18     once I tested positive last week.

13:55:47   19     Q.      Have you changed your phone number in the last couple

13:55:50   20     of years?

13:55:50   21     A.      Many times.

13:55:51   22     Q.      Okay.   Have you changed --

13:55:53   23                        Have you moved from your location in the last

13:55:56   24     couple of years?

13:55:57   25     A.      Sorry, I wanted to make a joke there with a room full
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13:55:59     1    of attorneys.    I'm the genius that married a family law

13:56:02     2    attorney.    So that marriage didn't end too well.       Yeah.   So,

13:56:07     3    I'll -- yes, yes, I've moved many times.

13:56:10     4    Q.      And when -- I'm sorry, does Odyssey Management LLC

13:56:16     5    still exist?

13:56:16     6    A.      To the best of my knowledge, it may exist, but it's

13:56:20     7    maybe -- I don't believe it's earning any income, to the best

13:56:25     8    of my knowledge.

13:56:25     9    Q.      And do you know what state it was formed in, in terms

13:56:28   10     of legal entity?

13:56:29   11     A.      I believe that was Wyoming.       I'd have to look at past

13:56:37   12     tax records.

13:56:37   13     Q.      Okay.   And then you said you saw Mr. Fuks at an event,

13:56:41   14     an inauguration at the top of a building, at a reception on a

13:56:45   15     top of a building?

13:56:46   16     A.      Correct.

13:56:47   17     Q.      Okay, and that was after -- when you saw him, that was

13:56:49   18     after the swearing-in ceremony had already been completed and

13:56:54   19     finished?

13:56:54   20     A.      Oh, I don't know.     That was a crazy day, my friend.

13:56:57   21     Q.      Yeah.   Understood.    Well, did it rain that day?

13:57:01   22     A.      Yeah, I remember, it rained.

13:57:04   23     Q.      Okay.   All right, thank you.

13:57:05   24                  MR. LOMAS:    No further questions.

13:57:06   25                  THE COURT:    Redirect?
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13:57:07     1                  MR. HAMILTON:    No further questions, Your Honor.

13:57:09     2                  THE COURT:   Just a couple of questions,

13:57:11     3    Mr. Rogers.

13:57:12     4                       How many inauguration related events did you

13:57:15     5    attend?

13:57:17     6                  THE WITNESS:    Who's asking me this question?      I'm

13:57:19     7    sorry.

13:57:20     8                  THE COURT:   The Court is.

13:57:21     9                  THE WITNESS:    Are we just talking 2017, Your

13:57:24   10     Honor?

13:57:25   11                   THE COURT:   Yes, the January 2017 inauguration of

13:57:28   12     President Trump.

13:57:32   13                   THE WITNESS:    At least a half dozen.    Your Honor,

13:57:34   14     I don't know if you've ever attended inauguration, it's back

13:57:37   15     to back.    You could be attending an event and not even know

13:57:41   16     you're attending an event.

13:57:43   17                   THE COURT:   All right, at how many of those was

13:57:45   18     Mr. Fuks present?

13:57:46   19                   THE WITNESS:    I only saw Mr. Fuks once, possibly

13:57:52   20     twice that day, but once at the -- as I called the

13:57:56   21     constitutional rooftop.

13:57:58   22                   THE COURT:   And you said possibly another time?

13:58:02   23     When was that?

13:58:03   24                   THE WITNESS:    It would have been -- possibly been

13:58:07   25     at an event after that.       But Your Honor I am not willing to
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13:58:10     1    testify to one hundred percent if he was at that very next

13:58:14     2    event.   I even myself felt unsafe that day, and we pretty

13:58:18     3    much stayed very close to the hotels.

13:58:21     4                 THE COURT:    Was Mr. Fuks with anyone else?      Did he

13:58:26     5    have guests or company?

13:58:27     6                 THE WITNESS:    Yeah, there was two guests.      I would

13:58:29     7    have to dig back through notes.       It was a blonde woman,

13:58:35     8    another gentleman that I was -- I don't remember his name.

13:58:40     9    It was a blonde younger woman, another gentleman, but both of

13:58:47   10     either Russian or Eastern European decent.

13:58:56   11                  THE COURT:    All right, and was Mr. Vanetik present

13:58:58   12     at that rooftop event with you --

13:58:58   13                  THE WITNESS:    Absolutely.

13:58:58   14                  THE COURT:    What was your answer?

13:58:58   15                  THE WITNESS:    Absolutely.

13:59:01   16                  THE COURT:    All right, anything further from

13:59:01   17     counsel?

13:59:02   18                  MR. LOMAS:    No, Your Honor.

13:59:03   19                  MR. HAMILTON:    No, Your Honor.

13:59:04   20                  THE COURT:    All right, is the witness excused?

13:59:06   21                  MR. HAMILTON:    Yes, Your Honor.

13:59:07   22                  THE COURT:    All right, Mr. Rogers, you're excused,

13:59:09   23     thank you, sir.     You may disconnect.

13:59:12   24                  THE WITNESS:    Thanks for the Zoom capability.

13:59:16   25                  THE COURT:    You're welcome.
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13:59:17     1                 THE WITNESS:    Appreciate it.    Bye-bye.

13:59:20     2                 THE COURT:    All right, we're at the end of today's

13:59:22     3    session.    So we'll resume tomorrow at 8:00 in the morning

13:59:27     4    again and hopefully be done with the trial in the morning.

13:59:30     5                       Anything I need to address with counsel right

13:59:34     6    now?

13:59:34     7                 MR. HAMILTON:    No, Your Honor, for defense.

13:59:36     8                 MR. LOMAS:    No, Your Honor.    Thank you.

13:59:37     9                 THE COURT:    All right, we'll see you first thing

13:59:39   10     in the morning.

13:59:40   11                        Thank you.

13:59:42   12                  (Proceedings concluded.)

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  1                           C E R T I F I C A T E

  2    I hereby certify that the foregoing is a true and correct

  3    transcript of the stenographically recorded proceedings in

  4    the above matter.

  5    Fees charged for this transcript, less any circuit fee

  6    reduction and/or deposit, are in conformance with the

  7    regulations of the judicial conference of the united states.

  8

  9

10     /S/Anne Kielwasser
                                                   10/15/2021
11     Anne Kielwasser, CSR, RPR                  Date
       Official Court Reporter
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